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   Exhibit – B / Expert Reports




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Michael Mirando

From:                WarLawyer@aol.com
Sent:                Thursday, March 2, 2017 6:38 AM
To:                  mike@holterlabs.com
Cc:                  warlawyer@aol.com
Subject:             Initial expert review report
Attachments:         Arriego report.pdf


We will discuss this today. Both good and bad but a lot of work for the government to prove the case

Kevin Barry Mc Dermott, Esq,

Law Offices of Kevin Barry Mc Dermott
300 Spectrum Center Drive, Suite 1420
Irvine, California 92618


949-596-0102
949-861-3825 facsimile
WarLawyer@aol.com
WarLawyer.com

(please note – as of February 2, 2015, our building address changed from 8001 Irvine Center Drive to 300 Spectrum
Center Drive due to a local street readdressing. This is an address change only, not a physical relocation of our offices.)

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      Prepared by Michael F. Arrigo, October 9, 2017




 1    October 9, 2017
 2
 3    Mr. Ed Robinson
 4    Attorney at Law
 5    21515 Hawthorne Boulevard, Suite 730
 6    Torrance CA 90503
 7
 8    Re: US v. Mirando
 9
10    Dear Mr. Robinson:
11
12    Attached please find my report regarding loss calculations. You requested that I serve as a
13    rebuttal expert to:
14
15    I. Review the medical billing, medical and other relevant documents, facts, indictment counts,
16    summary of evidence, and provide:
17
18       1. Opinions on the validity of the Government’s methodology to prove fraud; (determine
19          which data is or is not fraudulent on a claim-by-claim basis to add it up and accurately
20          calculate total loss).
21
22       2. An overview of the types of alleged fraud and any errors in the Government’s
23          methodology to prove what amount of fraud was caused by Mr. Mirando;
24
25    II. Review the Presentence Investigation Report developed under the U.S. Sentencing Guidelines
26    (USSG) §2B1.1 standard, evaluate it using U.S. Sentencing Commission (USSC) methods and
27    my knowledge training education and experience in the healthcare insurance and provider
28    industry, and provide findings regarding loss.
29
30    I specifically reserve the right to add to, amend or subtract from the report as new evidence
31    becomes available or the opinions of other experts are reviewed and considered.
32
33    Based on the information available to me with a reasonable degree of certainty:
34
35       1. The PSR / PIR has mathematical errors of 6% to 12% in the summation of Counts 1-15
36          of fraud (see Conclusions, page 52).
37



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 1       2. There are only seven (7) patients analyzed in the indictment and four (4) in the PIR / PSR
 2          which represent 137 claims out of over 31,000 claims in the data produced by the
 3          Government (see Conclusions, page 52).
 4
 5       3. The Government’s methodologies do not form the basis for a statistically valid method to
 6          extrapolate to over $7 million in fraudulent bills and $2 million in fraudulent receipts and
 7          results in a 19% certainty level regarding total fraud rather than the industry standard of
 8          51% reasonable degree of certainty (see Conclusions, page 52).
 9
10       4. Duplicate charges are overstated. There are 90 actual duplicates which could be fraud or
11          could be simply duplicate requests for payment. There are over 31,000 claims and a
12          small percentage of these claims are ‘adjacent’ to each other by date of service (see
13          Conclusions, page 52).
14
15       5. There were no audits conducted by any insurance company that confirmed the existence
16          of fraud, and I have no data to conduct a statistically valid sample and project fraudulent
17          claims in a damages analysis, beyond $10,695.06 (see Conclusions, page 52).
18
19       6. It appears inconclusive which device was used to perform alleged fraudulent ‘unable to
20          perform’ procedures (see Conclusions, page 52).
21
22       7. Without a complete analysis of physician interviews, patient documentation and
23          diagnosis, claims data and reimbursement tied by individual medical service, it is
24          impossible to determine how much if any fraud was committed beyond seven patients
25          analyzed (see Conclusions, page 52).
26
27       8. Based on the information available to me, I do not know if Mr. Mirando or others
28          submitted the insurance claims produced by the Government, but in total Holter Lab’s
29          cannot in my opinion be held to damages or loss calculations beyond the amount of
30          $10,695.06 (see Conclusions, page 53).
31
32       9. Since the suspect and duplicate claims are unproven in my opinion to be fraud,
33          $2,587,360.23 for these amounts, minus $1,339.180.04 in unpaid claims as an offset,
34          minus $538,515.73 in unproven duplicates, minus $2,574,940 for unable to perform
35          procedures, plus the accurate fraud counts mathematical total of $10,695.06 equals a
36          negative number of ($1,854,580.95) which means that subject to further audits, the
37          payors (health insurance firms) in this case may owe Holter Labs for unpaid claims.



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1
2                         Figure 1 - Summary of Calculations, with Mathematical Corrections by Arrigo

 3
 4           In my opinion net damages are zero (mathematically a negative number which may
 5           indicate payors owe money for unpaid claims). Though in my opinion the Government
 6           methodology could have been stronger, I have left the amounts of $10,695.06 (the correct
 7           mathematical total) my calculations (see Conclusions, page 53).
 8
 9       10. I am also aware from other loss and damages calculations where I was retained by
10           counsel for the Relator in San Francisco that the ‘foreseeable’ loss in health care fraud
11           cases, is the amount billed to an insurer, if not rebutted, however, the parties may
12           introduce additional evidence to support arguments that the amount billed overestimates
13           or understates the defendant’s intent (See U.S. v Popov and U.S. v. Prakash).1 (see
14           Conclusions, page 53)
15
16       11. Therefore, in my opinion the actual, foreseeable amount of fraud is at most 31% of the
17           billed amounts based on widely known industry practices and even data published by the
18           Government itself (see Conclusions, page 54).
19
20       12. Intended fraud in this case is, at most 31% of the billed amount, and it is not reasonable
21           to add 18 points to the sentencing guideline formulas, and, based on the statistically



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 1           invalid and unreliable methodology employed by the Government the payors in this case
 2           may owe Holter Labs money (see Conclusions, page 54).
 3
 4       13. The PIR / PSR states in paragraph 37 that the unable to perform payments are
 5           $3,025,329.47 and that this is due as restitution. This is not correct (see Conclusions,
 6           page 54).
 7                       i. First as noted elsewhere in this report the sample size used by the
 8                          Government produces an unreliable 19% confidence level vs. the standard
 9                          of 51%
10                      ii. Second, even if it were accepted using appropriate sampling methods that
11                          all paid claims for ‘unable to perform’ procedures were fraudulent the
12                          correct total is $2,930,852.64 which is an error of 3.22% in the
13                          Government’s calculations.
14                     iii. Third, as noted elsewhere the Government fails to link all of the claims
15                          associated with the procedures and CPT codes in question to the exact
16                          device that was used to perform the procedure. I have no data to conclude
17                          any amount for ‘unable to perform’ codes and presume that in the absence
18                          of provable data and statistically valid methods that this is zero.
19
20       14. As noted in Exhibit F - Supplemental Illustrations (PowerPoint):
21
22               a. Of over 40,000 documents produced by the Government, a single page states that
23                  the Government interviewed a witness who stated that the Datrix 512 could not
24                  possibly perform some of the medical diagnostic procedures in question due to its
25                  frequency. FDA 510(k) filings do not confirm that this is true as other devices
26                  with the same frequency are indeed used to perform these procedures
27
28               b. According to the American Medical Association, there are 14 steps involved in
29                  delivering care which would be used to determine the veracity or fraudulent
30                  nature of any claim. The Government methodology only sheds light onto partial
31                  information for four (4) of these fourteen (14) steps.
32
33    Respectfully,
34
35
36    Michael F. Arrigo
37
38                                         MICHAEL F ARRIGO – NO WORLD BORDERS
                                 620 NEWPORT CENTER DRIVE SUITE 1100 NEWPORT BEACH CA 92660




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1




                                   United States of America, Plaintiff,
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                                     Michael Mirando, Defendant

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                                      Prepared by Michael F. Arrigo

                                                 DATE PREPARED:
                                                 OCTOBER 9, 2017




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 4      Business was in-line with Industry Averages of 30 Cents on the Dollar. ...................................... 9
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 1       I.      Opinions
 2
 3       A. Health Insurance Routinely Pays Only Thirty Percent of What is Billed; Mirando’s
 4          Business was in-line with Industry Averages of 30 Cents on the Dollar.
 5
 6   Based on a reasonable degree of certainty it is my opinion that:
 7
 8       1. Based on my knowledge, training, education, experience, industry practices and recent
 9            testimony, it is common knowledge that health care providers receive approximately 30
10            cents on the dollar of every claim they submit for payment to health insurers.
11
12               a. This ratio is sometimes called the payment to charge ratio (or alternately if
13                   numerator and denominator are reversed charge to payment ratio)2 and is a common
14                   metric used by health care providers and their billing personnel to measure their
15                   success in collecting reimbursement on health care claims.
16
17               b. In statistics released by the U.S. Department of Health and Human Services (HHS)
18                   Centers for Medicare and Medicaid (CMS) in 2013 covering 3,337 U.S. health care
19                   providers illustrate that on average, health care providers knowingly billed 3.77
20                   times what they were actually reimbursed.3, 4 Calculating the payment to charge
21                   ratio based on this data yields a percentage of 27% as follows:
22                                   CMS Data on Pay to Charge Ratio National Average
23
                                                     𝟏𝟏.𝟎𝟎𝟎𝟎
24                                                           = 𝟎𝟎. 𝟐𝟐𝟐𝟐𝟐𝟐 ~ 27%
                                                     𝟑𝟑.𝟕𝟕𝟕𝟕
25
26               c. For many health care providers, there is a wide difference between billed charges
27                   and the amounts that those providers expect to receive for services. 5, 6 Provider
28                   charges are based on a pre-determined price list where the charges for each service
29                   or product they may offer. Reimbursement rates, on the other hand, are the
30                   payments that providers are actually willing to accept for a specific service or
31                   product. 7, 8 As a result, only those who do not pay for hospital care via an
32                   intermediary payer (i.e., the uninsured) are actually subject to the listed charges. In
33                   practice, health care providers routinely accept reduced rates from the poor or
34                   uninsured. The cumulative result is that charges vary significantly and unless a
35                   Usual Customary and Reasonable (UCR) charge analysis is performed, charges are


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1                   not relevant in determining the amount individuals or insurers actually pay for
 2                  health care services. 9
 3
 4              d. In San Francisco Spine v. ClaimWorks,10, 11 I opined that based on both my
 5                  experience and the statements of SF Spine that health care providers typically
 6                  receive 25% to 30% of the dollar value of every claim submitted.
 7
 8              e. Holter Labs billed nearly $11.5 million (including both legitimate charges and those
 9                  the government all edges are fraudulent) and received $3.5 million, which is a 31%
10                  pay to charge ratio.
11
                            total payments $𝟑𝟑, 𝟓𝟓𝟓𝟓𝟓𝟓, 𝟓𝟓𝟓𝟓𝟓𝟓. 𝟐𝟐𝟐𝟐
12                                                                    = 𝟎𝟎. 𝟑𝟑𝟑𝟑𝟑𝟑𝟑𝟑 ~ 𝟑𝟑𝟑𝟑%
                            total charges $𝟏𝟏𝟏𝟏, 𝟒𝟒𝟒𝟒𝟒𝟒, 𝟔𝟔𝟔𝟔𝟔𝟔. 𝟗𝟗𝟗𝟗
13
14       B. Any Intended Loss Calculation Must Therefore Presume that Health Care Providers
15          Anticipate being Paid a Fraction of the Amount Billed in Healthcare Claims
16
17   Using Mirando’s’ business payment to charge ratio of 30.8% or ~ 31% for Holter Labs is a
18   reasonable method to determine intended loss since:
19
20       1. It is in-line with industry norms of 27% to 30%
21       2. U.S. Government published data establishes that the government and health care providers
22          all know that at most they expect to receive approximately 30% of what they bill, and
23          therefore bill 3.77 times that number (nearly four times what they expect to be paid).
24
25       C. Health Insurance Denial Rates Are Five to Twenty-Five Percent; Mirando’s
26          Business Was Below Industry Norms at 11%
27
28       Kaiser Health News’ Phil Galewitz September 2011. Denial rates for insurance policies
29       purchased in the individual market — published for the first time as a result of the provisions in
30       the Affordable Care Act — finds that insurers deny coverage at different rates depending on
31       geographical location and for almost any reason. For instance, a review of the 20 most
32       populous states find that “denial rates routinely exceed 20 percent and often are much higher”
33       and seem to contradict industry claims to the contrary.12
34

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 1       The numbers vary depending on the report. The industry average denial rate may be between
 2       five and ten percent, says the American Academy of Family Physicians (AAFP). Meanwhile, a
 3       contrasting 2011 Government Accountability Office (GAO) study maintains that up to one
 4       quarter of claims are denied.13
 5
 6   McKesson, a leading pharmaceutical supply chain company and healthcare software provider
 7   reports that medical billing denial rates range from 5-10%, with better performers averaging 4%. Some
                                                                   3                                 4




 8   organizations even see denial rates on first billing as high as 15-20%14
 9
10   The denial rate for Holter Labs is 11.2% vs. industry norms of up to 32%15
11
                          total unpaid claims $𝟏𝟏, 𝟐𝟐𝟐𝟐𝟐𝟐, 𝟓𝟓𝟓𝟓𝟓𝟓. 𝟎𝟎𝟎𝟎
12                                                                       = 𝟎𝟎. 𝟏𝟏𝟏𝟏𝟏𝟏𝟏𝟏 ~ 𝟏𝟏𝟏𝟏%
                          total charges      $𝟏𝟏𝟏𝟏, 𝟒𝟒𝟒𝟒𝟒𝟒, 𝟔𝟔𝟔𝟔𝟔𝟔. 𝟗𝟗𝟗𝟗
13
14       D. Maximizing Legitimate or Allegedly Fraudulent Claims Requires Aggressive
15          Appeal Tactics; Appealing Denials is Complex and Costly.
16
17   I question the validity of this statement because the very nature of health care billing is complex. It
18   is clear to me that Mr. Mirando was never properly trained in medical coding and billing and made
19   incorrect assumptions about proper coding and billing. Medical coding is by its very nature
20   complex and the appeals process is complex. The According to the American Health Information
21   Management Association (AHIMA) there are five levels of complexity in the appeals process and
22   at least five steps that must be taken to appeal a denied claim.16 The decision to appeal can be
23   complex, and organizations must ensure that the documentation contains solid evidence and
24   support for their appeal. There may be cases where the internal impact of the appeal process
25   outweighs the appeal itself. For example, organizations must determine if they want to use time and
26   staff to argue a random denial of $100 when it could take hundreds of dollars in staff and legal
27   resources to defend it. At times, it can be a matter of principle. Organizations may find that the
28   decision to appeal a denial may need to be made on a case-by-case basis. 17
29
30   For less efficient health care providers, one out of every five medical claims have to be reworked
31   or appealed. Rework costs average $25 per claim,18 and success rates vary from 55-98%,
32   depending on the medical denial management team’s capabilities.
33
                                                                                                          11
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1        E. Re-Billing is Common When Claims Are Denied and it Creates Duplicate Claims;
2           Mirando’s Duplicate Rate is Below Industry Norms
3
4    It has been standard industry practice to re-transmit claims to insurers every 30 to 60 days. 19
5    About a decade ago, this standard practice received significant scrutiny from the government,
6    which questioned the intent — and the fact that automatically re-billing has the potential to
7    inadvertently produce double (or more) payments for a single claim. 20 Automatic re-billing is
8    more than a compliance issue, however; it tends to produce a significant number of duplicate
 9   claims.21 Although the practice of rebilling is discouraged, it is common. 22
10
11   A duplicate claim is one that’s resubmitted for a single encounter on the same date, by the same
12   provider, for the same beneficiary, for the same service or item. It’s denied as a duplicate with error
13   code CO18. Duplicates are one of the largest reasons for Medicare Part B claim denials, According
14   Government Accountability Office (GAO) study it’s as much as 32%. CMS notes, however, that
15   claims rejected as duplicates may be valid claims for payment, if the correct condition codes
16   or modifiers are applied to demonstrate a claim isn’t really a duplicate. 23
17
18   The duplicate claim rate for Holter Labs is 5%
19
                           total unpaid claims $𝟓𝟓𝟓𝟓𝟓𝟓, 𝟓𝟓𝟓𝟓𝟓𝟓. 𝟕𝟕𝟕𝟕
20                                                                       = 𝟎𝟎. 𝟎𝟎𝟎𝟎𝟎𝟎𝟎𝟎 ~ 𝟓𝟓%
                          total charges      $𝟏𝟏𝟏𝟏, 𝟒𝟒𝟒𝟒𝟒𝟒, 𝟔𝟔𝟔𝟔𝟔𝟔. 𝟗𝟗𝟗𝟗
21
22       F. Providers Who Attempt to Perform Complex Medical Billing on Their Own Have
23          Higher Denials and More Regulatory Inquiries. Mirando Was Ill-Advised to do his
24          Own Coding and Billing.
25
26       1. The level of complexity in medical coding and billing suggests that Mirando’s decision to
27          do his own coding was neither wise nor in his best interests. Reviewing Mirando’s
28          records, denial ratios, duplicate claims ratios and other factors revealed errors on multiple
29          levels. Using a certified coder on his staff or outsourcing billing to properly use the right
30          CPT code, modifiers, supervisory guidelines, and claims scrubbers to find problematic
31          claims before they were submitted would certainly have lowered Holter Lab’s error rate and
32          decreased the probability of scrutiny regarding licensure levels, supervision inquiries, and
33          ultimately, accusations made by the Government.
34

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 1       2. The complexity of the coding and modifiers are very situational and require focus as well as
 2          expertise that in my opinion no one without medical training or a certification in coding
 3          should ever undertake without assistance. As a result, based on my analysis, Mirando’s
 4          coding practices demonstrate a lack of coding knowledge. Using methodology discussed
 5          below, the available information suggests, based on the information available to me, a
 6          certified medical coder our outsourced billing company would have been proactive in
 7          identifying issues before they became denials or red flags for audits.
 8
 9       3. I am currently retained by an Independent Diagnostic Testing Facility (IDTF) that performs
10          the same procedures as Mr. Mirando’s Holter Labs performed, and I have arrived at similar
11          conclusions when performing loss calculations for health care providers in recent retentions
12          where there is complex data.
13
14       4. Despite the fact that Mirando had no billing expertise other than Stan Crowley’s non-
15          certified coding guidance, there were not audits of any of Holter Lab’s claims. In fact,
16          Medicare which generally has the highest denial rate and most aggressive audit and anti-
17          fraud policies of any payor sent Holter Labs a letter in 2014 indicating that after an on-site
18          visit on August 15, 2014 that it met CMS requirements and no further documentation was
19          needed. See the figure below.




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 1
 2    Figure 2 - Letter from Medicare Administrative Contractor Palmetto GBA to Holter Labs - provided by counsel. Annotations added
 3                                                           by Michael Arrigo

 4
 5
 6        G. Weaknesses in the Government’s Calculations Regarding Damages
 7
 8        The Government extrapolates from only seven (7) patients to over $7 million in billed claims
 9        and $2 million in net payments received by Holter Labs in the indictment and a smaller list of
10        four patients in the fraud Counts in the PIR / PSR. However, when one looks at the specific
11        claims one can argue that many if not most of the fraudulent accusations would have to be
12        proven by much larger sample sizes. Based on an independent analysis of the Government’s
13        data and calculations and my assessment of the data produced:
14
15        1. The only way to clearly establish healthcare billing fraud or the absence of fraud is to look
16             at the patient’s medical records, what was prescribed by a physician, the coding, billing,
17             whether the claim was paid or denied, any reasons for denial, and the payor’s policies
18             compared to industry wide generally accepted best practices. The Government does not
19             produce a statistically valid sample of data to conclusively prove without reasonable doubt
20             that there is over $7 million in fraudulent billing and over $2 million in fraudulently gained
21             payments.
                                                                                                                                 14
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 1       2. There are only $1,003.52 (one thousand and three dollars and fifty-two cents) of true
 2            duplicate claims, not $1.1 million as asserted in the PIR / PSR on page 7, paragraph 34.




 3
 4       3.   Figure 3 - Independent analysis of alleged fraud by the government – uses government totals of $10.3 million, $3.5 milion
 5            but points out that true duplicate claims are only $1,003.52 from 90 claims.

 6
 7   In the data above, 7,661 in total claims had no categorization, 5,017 are alleged duplicates but only
 8   ninety (90) are true duplicates with the same date of service, which may be explained as duplicate
 9   claims inquiries, eligibility checks, or duplicates but there is insufficient data to be able to know
10   definitively. There are 17,516 claims the that match the Government’s alleged ‘unable to perform’
11   category, an additional 1,476 in claims with an unknown categorization and a total of 31,760 in
12   claims. The methods to examine these claims are detailed in the Discussion section, and Exhibit B
13   – Principles and Methods and Exhibit C – Test Results.
14
15       H. Government Sampling Method Provides 19% Confidence Level vs. 51% Minimum
16          Standard Certainty
17
18       1. There are alleged unable to perform claims of $7.3 million billed and $2.7 paid ‘suspect’
19            and ‘impossible to perform’ claims that are not beyond a reasonable doubt (95% to 99%
20            certainty) or even a lower standard of ‘reasonable degree of certainty’ (51% probability)
21            which must be excluded from my damages calculations.
22       2. The PIR / PSR states in paragraph 37 that the unable to perform payments are
23            $3,025,329.47 and that this is due as restitution. This is not correct.




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 1                    iv. First as noted elsewhere in this report the sample size used by the
 2                          Government produces an unreliable 19% confidence level vs. the standard of
 3                          51%
 4                     v. Second, even if it were accepted using appropriate sampling methods that all
 5                          paid claims for ‘unable to perform’ procedures were fraudulent the correct
 6                          total is $2,930,852.64 which is an error of 3.22%
 7                    vi. Third, as noted elsewhere the Government fails to link all of the claims
 8                          associated with the procedures and CPT codes in question to the exact
 9                          device that was used to perform the procedure. I have not data to conclude
10                          any amount for ‘unable to perform’ codes and presume that in the absence of
11                          provable data and statistically valid methods that this is zero.
12
13       I. No Offset for Unpaid Claims in Government Loss Calculations
14
15   The government excluded in its damages calculations unpaid claims which may be legitimate (i.e.
16   they are health care claims submitted by Holter Labs which are for non- ‘suspect’ CPT codes
17   totaling $ $1,339,180.04.
18
19   Of a total of $10,316,506.93 in total claims in the Government’s analysis here are my comments
20   about each category:
21
22              a. Appears to be valid - The Government admits that 7,661 individual claims totaling
23                 $1,578,367.28 in billings and $399,250.32 in receipts associated with those claims
24                 appears to be valid. This is mostly, if not all associated with Holter Labs after the
25                 business was moved to Oregon and after the two former Partners of Mirando were
26                 out of the business.
27
28              b. Duplicate date of service – The Government produced data indicating that there are
29                 5,107 claims with duplicate dates of services totaling $1,079,433.86 in billings and
30                 $369,883.36 in allegedly fraudulent gains.
31                    vii. However as detailed herein, ‘duplicates’ are considered multiple bills that
32                          may be i) adjacent dates ii) different CPT codes. As the PowerPoint analysis
33                          shows, these ‘duplicates’ do not appear (based on the Governments small
34                          sample size) to be problematic from the perspective of the National Correct
                                                                                                           16
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 1                         Coding Initiative (NCCI) standard. The combinations of codes and
 2                         procedures appear to be acceptable based on NCCI which is a nationally
 3                         accepted standard.
 4                   viii. There are only ninety (90) claims out of 31,760 that are true duplicates for
 5                         the same date of service totaling $19,889.90 in claims and a net of $1,003.52
 6                         in receipts to Holter Labs.
 7
 8              c. Unable to perform – the Government produced data includes 17,516 claims totaling
 9                  $7,369,392.69 in claims billings and net receipts associated with those claim of
10                  $2,655,446.11. “Unable to perform” means the Government believes these services
11                  will billed but the medical device could not perform that diagnostic service.
12                  However, there is no evidence available to me as to what device was used to provide
13                  these services. This device type would not be included in the claim file, not be
14                  included in the payment to Holter and not even included in the physician’s order. It
15                  would have to be determined by interviewing each physician who performed the
16                  procedure individually for 17,516 claims. To produce a statistically valid sample to
17                  even attempt to project that claims are fraudulent based on a 99% certainty with 5%
18                  error, six-hundred and forty-two claims (642) would have to be sampled to say
19                  without a reasonable doubt that these are fraudulent. The government only sampled
20                  seven (7) patients and not all of them necessarily received ‘unable to perform’
21                  categories of services. Second, based on the 510(k) FDA forms, it is not necessarily
22                  ‘impossible” for the device to perform these services. It has the same frequency and
23                  bandwidth as other devices certified to perform these services. (See Exhibit E).
24
25              d. Unknown – the Government data has 1,476 claims totaling $289,313 in billings and
26                  $80,095.37 in receipts considered “unknown.”
27
28       15. In conclusion, the largest fraud amount that could be directly proven from the Government
29          analysis is less than $17,282.




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                                                          Total Billed              Total Paid

                                   Hattrup                $    3,840.05      $              3,540.00
                                   Foster (Sixtos)        $    2,685.00      $                747.60
                                   Bennett                $    3,055.01      $              1,089.01
                                   Solmor                 $    1,115.00      $                133.75


 1                                 Total                  $ 10,695.06 $                     5,510.36
 2     Figure 4 - Independent Analysis of Government produced data – of the seven (7) patients in the indictment, four are used as the
 3                                            basis for sentencing and restitution projections

 4       Even then, the methodology behind this total has inadequacies because of the error rates and
 5       because there was no audit directly linking the duplicate billing to each Counts of fraud. Even
 6       in the Governments PSR there are errors of six to 26 percent (see figure below) and concludes
 7       that the Fraud was $9,920, an error of 8%.
              Government Fraud Counts vs. Arrigo Calculations
                                      Government                                        Arrigo Analysis
                                            No of Claims                                                                 Gov.: No of
                              Presentencing                          Governmen
                                            Analyzed for Difference               Total Billed Total Paid                 Claims by
                               Info. Report                          t Error Rate
                                            Each Insured                                                                 Analyzed by
              Hattrup          $ 3,615.00        69      -$   225.05      -6%     $ 3,840.05 $ 3,540.00                       69
              Foster (Sixtos) $ 2,135.00         12      -$   550.00     -26%     $ 2,685.00 $        747.60                  12
              Bennett         $ 3,055.00         49                       0%      $ 3,055.01 $ 1,089.01                       49
              Solmor          $ 1,115.00          7                        0%     $ 1,115.00 $        133.75                  7

              Total            $ 9,920.00          137        -$   775.06        -8%      $ 10,695.06    $   5,510.36         137


 8            Total Claims in Data Produced by Government                                                                   31,760

 9                             Figure 5 - Comparison of Government Calculations in PSR v. Arrigo Analysis

10       16. I do not believe the Government has proven that the Datrix DR512 was the device used in
11            all cases to do diagnostic procedures. (See Discussion of Gaps in the Government’s
12            Methodology to calculate damages and Exhibit E).
13
14       17. In my opinion, the Government has clearly established that the devices cannot do brain
15            scans (EEG). There is much more to discuss this is only a quick briefing for you to
16            determine next steps. Even if this were the case, many if not most of the claims in question
17            in data produced by the government are for cardiac or autonomic nerve disorders. 24 See
18            the 510k documents I am providing which do mention EKG or ECG but do not state that
19            the device cannot be used for EEGs. There are guidelines for FDA 510k devices – we need
20            to discuss. (See Discussion of Gaps in the Government’s Methodology to calculate
21            damages and Exhibit E).
                                                                                                                                     18
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 1
 2        18. Mr. Mirando’s business appears to do autonomic testing, and the Caird software apparently
 3           can perform autonomic nerve testing (Caird software capabilities, produced by
4            Government) and publicly available sources.25
5
6         19. In my opinion, the Government has not clearly established without reasonable doubt that
7            the majority of the billings are inappropriate, other than for a small sample of seven (7)
 8           patients (see test results, Exhibit C). Based on my initial test of one patient interviewed by
 9           the FBI, the patient’s physician documentation and the test report do not show any
10           irregularities when I used a National Correct Coding Initiative (NCCI) based claims
11           scrubber.
12
13        20. In my opinion, the Government has not clearly established without a reasonable doubt that
14           the insurance billings are inappropriate with respect to medical necessity because no
15           evidence of insurance denials, pended claims, or audits are provided indicating any
16           incorrect or inappropriate coding or billing. The researcher notes, “I reviewed the Medicare
17           billings data for these new entities – looks legitimate.” 26
18
19        J. The Government’s Omission of Payment to Charge Ratio, Unreliable Sampling
20           Methods, Overstated Intended Loss by Between $5.5 and $7.9 Million
21
22   Based on my testimony in several cases involving the Affordable Care Act, it is my understanding
23   that for purposes of Healthcare Fraud cases, the 2010 Patient Protection and Affordable Care Act
24   (commonly referred to as “Obamacare”) changed, quite significantly, how that calculation is made.
     27
25
26
27   Under USSG Section 2B1.1, it is my understanding that the court must determine what the “loss”
28   was related to any healthcare fraud offense. The question becomes, what counts as “loss.” Loss
29   can be “actual” – defined as “the reasonably foreseeable pecuniary harm that resulted from the
30   offense;” or it can be “intended” – defined as “pecuniary harm that was intended to result from the
31   offense.” 28
32
33   I am also aware from other loss and damages calculations where I was retained by counsel for the
34   Relator in San Francisco that the ‘foreseeable’ loss in health care fraud cases, is amount billed to an

                                                                                                          19
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 1   insurer, if not rebutted, however, the parties may introduce additional evidence to support
 2   arguments that the amount billed overestimates or understates the defendant’s intent (See U.S. v
 3   Popov and U.S. v. Prakash).29
 4
 5
 6   M. No Stated Error Rate or Sampling Methods Can be Found in Government Analysis
 7
 8   The Government fails to include any estimate of the error rate, margin of error, confidence level or
 9   response distribution in its statements of loss in U.S. v. Mirando. Error rates are, in my opinion
10   absolutely essential to provide an estimate of losses. There are standard mathematical methods for
11   calculating error rates and ensuring a reasonable sample size but these are not provided anywhere
12   in the tens of thousands of pages produced by the Government. These methods are easy for a
13   layperson or other expert to determine with a fundamental understanding of statistics and
14   probability. In my opinion, a 19% confidence level is completely unacceptable for loss
15   calculations. Any losses extrapolated from 137 data points to project to tens of thousands of
16   data points for sentencing or restitution cannot be relied upon.




17
18              Figure 6 - Error Rate in Government Loss Calculations vs. Best Practices for Minimum 51% Certainty

19   For example, Raosoft provides a calculator that allows a low standard of confidence level such as
20   51%. Many online calculators will not even allow such a low level of confidence, since it is a
21   statistically low standard and instead only provide the option to use confidence levels of 80% to

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 1   95% to 99%. However, if a layperson or other expert wishes to validate my calculations without
 2   manually performing the z-score calculations they can be checked here:
 3   http://www.raosoft.com/samplesize.html
 4
 5       K. The Government Methodology Leads to Unreliable Conclusions Based on
 6          Statistically Invalid Sample Sizes and Extrapolations that Overstate Intended and
 7          Actual Loss
 8
 9          1. The government bases its entire loss calculation and sentence in the Pre-Sentencing
10              Report (PSR) aka Pre-Sentencing Information Report (PIR) on an in-adequate
11              examination of 137 health care claims out of a total of 31,761 claims.
12          2. The Government’s result in a confidence level of 19%, far below the standard that I am
13              held to as an expert of at least 51% certainty to arrive at opinions that have a
14              ‘reasonable degree of certainty.’
15          3. Based on my knowledge training education (including University of California Irvine in
16              Statistics and Economics and Stanford Medical School in biomedical informatics and
17              statistical analysis for medicine) calculations of proper confidence levels and error rates,
18              the Government should have analyzed the underlying documentation for a minimum of
19              1,149 claims but did not to do so.
20          4. To review my detailed analysis and underlying assumptions and my basis for these
21              opinions, see Discussion section, Exhibit B – Principles and Methods and Test Results
22              in Exhibit C).
23
24       L. The Government PSR contains Mathematical Errors of between 6% and 26%
25
26       Counts 1 to 14 of the PSR under count the amount of loss by $775.06. I point this out for two
27       reasons:
28
29       1. My goal is to always serve as an unbiased expert who provides opinions based on the facts,
30          no matter which part retains me. Though this under-counting is favorable to the
31          Government I feel compelled to point it out.
32
33       2. The mathematical errors are based on an underlying flawed methodology which, while
34          undercounting the loss based on counts 1-15 in the PSR has the effect of unreasonably over


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 1          stating intended loss by $millions, overstates the actual loss by $millions, and ignores the
 2          offset of over $1 million in unpaid claims by the named insures in the indictment.
 3
 4
 5       M. Summary of Losses – 18 Level Increase for Sentencing is Not Reasonable
 6
 7       1. Paragraph 46 of the PIR / PSR states, “As the intended loss of approximately $8.4 million is
 8          greater than the actual loss of approximately $3 million, the approximately $8.4 million
 9          intended loss amount is used for guideline computation purposes. As USSG §
10          2B1.1(b)(1)(J) correlates to loss amounts between $3.5 million and $9.5 million, an 18-
11          level increase applies.” I disagree with this finding because:
12
13              a. Government data published by CMS in 2013 states that both the government and
14                  health care providers are aware that in a survey of over 3,300 hospitals and other
15                  providers, typically one knowingly acknowledges that bills in health care claims are
16                  3.77 times on average what they expect to be paid. 30, 31
17
18              b. Since it is common knowledge amount payors and providers that 3.77 (nearly four
19                  times the net paid amount) is billed, the intended loss cannot be the gross billed
20                  amount but a net amount of actual loss of $2,482,751.39. This is because when
21                  applying the 31% paid to charge ratio of Holter Labs which is commensurate with
22                  the industry standards, 31% of the billed amount is less than the actual loss. The
23                  Actual loss is slightly higher (again I disagree with the methodology and the total
24                  amounts but am stating these to illustrate) at $2,587,360.23.
25
26              c. I am also aware from other loss and damages calculations where I was retained by
27                  counsel for the Relator in San Francisco that the ‘foreseeable’ loss in health care
28                  fraud cases, is the amount billed to an insurer, if not rebutted, however, the parties
29                  may introduce additional evidence to support arguments that the amount billed
30                  overestimates or understates the defendant’s intent (See U.S. v Popov and U.S. v.
31                  Prakash).32
32




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 1
 2       N. Summary of Losses Billed as Intended vs. Paid as Actual, Foreseeable
 3
 4   As noted in the prior section regarding summary of losses:
 5              a. Government data published by CMS in 2013 states that both the government and
 6                  health care providers are aware that in a survey of over 3,300 hospitals and other
 7                  providers, typically one knowingly acknowledges that bills in health care claims are
 8                  3.77 times on average what they expect to be paid. 33, 34
 9
10              d. Since it is common knowledge amount payors and providers that 3.77 (nearly four
11                  times the net paid amount) is billed, the intended loss cannot be the gross billed
12                  amount but a net amount of actual loss of $2,482,751.39. This is because when
13                  applying the 31% paid to charge ratio of Holter Labs which is commensurate with
14                  the industry standards, 31% of the billed amount is less than the actual loss. The
15                  Actual loss is slightly higher (again I disagree with the methodology and the total
16                  amounts but am stating these to illustrate) at $2,587,360.23.
17
18              b. I am also aware from other loss and damages calculations where I was retained by
19                  counsel for the Relator in San Francisco that the ‘foreseeable’ loss in health care
20                  fraud cases, is amount billed to an insurer, if not rebutted, however, the parties may
21                  introduce additional evidence to support arguments that the amount billed
22                  overestimates or understates the defendant’s intent (See U.S. v Popov and U.S. v.
23                  Prakash).35
24   Based on an analysis of billed, intended (billed times 31% and actual paid) the maximum
25   foreseeable loss is $2,587,360.23.
26

27   H. Offset of Actual Foreseeable Loss by Unpaid Claims
28
29       My analysis (See Principles and Methods, Exhibit B and Test Results, Exhibit C) indicates:
30              c. There are $1,339,180.04 in unpaid claims in the data provided by the Government
31                  that should offset any calculation of fraud or restitution.
32              d. When this is included in the total calculations I get a negative number, meaning that
33                  the insurers potentially owe Mr. Mirando and Holter Labs funds and that there is no
34                  loss to the insurers.
                                                                                                          23
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1               e. Additional claims totaling 7% of the economic value of Holter Labs’ historical
2                  claims were never produced and contain an additional offset of $95,21.04 in unpaid
3                  claims.
4               a. The Government’s analysis is based on 31,761 claims but Holter Labs submitted
 5                 over 34,000 claims based on data from Holter Labs in total.36 Therefore, the
 6                 Government excluded 7% of all claims filed by Holter Labs. This is calculated as
 7                 follows: 34,000 claims minus the 31,760 claims in the Government’s analysis
 8                 divided by 31,760 claims equals 7%. The formula is as follows:
 9
                         34,000 − 31,761
10                                       = 2,240 ÷ 31,761 = 0.0705 𝑜𝑜𝑜𝑜 ~7%
                             31,760
11
12              b. Using the 7% and applying it to total claims submitted by Holter in the Government
13                 discovery, I concluded that the mathematical error in summing total claims
14                 submitted by Holter was also miscalculated. Holter submitted ‘gross claims’
15                 (including legitimate claims and any suspect or duplicate claims) of $11,499,638,
16                 which therefore represents 93% of all claims ever submitted by Holter Labs, or
17                 $12,365,202.15. Based on Holter Lab’s denial rate and duplicate claims rate
18                 (whether presumed to be fraud or simply a re-bill to attempt to secure payment), at
19                 least 11% (factor calculated in above opinions) 11% of the claims not produced by
20                 the Government are also unpaid which would serve as an additional offset of 11%
21                 times the difference between $12,365,201.15 and $11,499,638 = $865,564 times
22                 11% or $95,212.04
23
24              c. Therefore, the hypothetical total offset could be higher ($1,339,180.04 plus
25                 $95,21.04 which equals $1,434,392.08) but I used $1,330,180.04 in my calculations
26                 since the Government did not produce all of the data.
27
28              d. The Government did not offset any amount in its own data and calculations.
29
30       2. The government produced statistically unreliable methods to support that claims were
31          duplicated; therefore, I subtracted those duplicate claims totaling $368,880.
32


                                                                                                       24
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 1       I.      Government drew conclusions about total value of medical procedures based on
 2               allegedly ‘suspect’ CPT codes, procedures - failed to link to data to prove fraud
 3
 4               a. without auditing the underlying claims data using a statistically valid sample to
 5                    project the total number of claims that it alleges were unable to be performed
 6               b. without confirming whether the devices used for each medical claim in question to
 7                    confirm that they were fraudulent or unable to be performed,
 8               c. by instead extrapolating from seven to fifteen patient files to draw this conclusion
 9                    for thousands of claims and $millions in alleged fraud.
10               d. by relying on a single witness who stated that the device was ‘unable to perform’ the
11                    services in question when FDA 510(k) filings demonstrate that devices with the
12                    same frequency are used for exactly the same types of procedures in question in this
13                    case.
14
15            Therefore, $2,574,940 were also subtracted.
16
17       3. The Government presented evidence for counts of fraud totaling $17,282 in the indictment
18            and $9,920 in the PIR / PSR which is mathematically incorrect and based on patients who
19            served as witnesses and their physicians, though in some cases medical records
20            documenting the statements of these witnesses were not performed and only the
21            recollection of the witnesses regarding services received several years in the past was relied
22            upon.
23
24               a. Based on my knowledge training education and experience, patients do not often
25                  remember what treatments they received a few weeks ago, let alone months or years
26                  ago
27               b. similarly, physicians usually need to rely on their SOAP notes to recall what
28                  services were or were not rendered.
29
30       O. Findings of Total Loss
31
32   The $2,587,360.23 minus $1,339.180.04 minus $538,515.73 minus $2,574,940 plus the accurate
33   fraud counts mathematical total of $10,695.06 equals a negative number of ($1,854,580.95) which
34   means that subject to further audits, the payors (health insurance firms) in this case may owe Holter
35   Labs for unpaid claims.



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 1
 2                          Figure 7 - Summary of Calculations, with Mathematical Corrections by Arrigo

 3
 4       In my opinion net damages are zero (mathematically a negative number which may indicate
 5       payors owe money for unpaid claims). Though in my opinion the Government methodology
 6       could have been stronger, I have left the amounts of $10,695.06 (the correct mathematical total)
 7       my calculations.


 8       II.     Expert Qualifications, Publications, Testimony, Compensation
 9
10       A. Education

11   I earned my Bachelor of Science in Business Administration from the University of Southern
12   California, Marshall School of Business, in 1981. I studied at Stanford Medical School in
13   Biomedical Informatics and am currently studying at Harvard Law School in Bioethics.

14       B. Experience

15   I previously worked for various Silicon Valley companies, including Oracle, Hewlett Packard,
16   Symantec, Borland and Intel, with roles ranging from analyst to Product Manager, Vice President
17   of Marketing and Sales, Corporate Development and Management Consultant. I was also
18   previously the Senior Vice President of eCommerce for Fidelity and First American’s CoreLogic
19   business.

20   I am currently the Managing Partner of No World Borders. In this role, I consult with and advise
21   healthcare organizations and investors regarding healthcare-related regulations, including medical
                                                                                                      26
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 1   record and billing documentation, the International Classification of Diseases version 10 from the
 2   World Health Organization (WHO) (ICD-10) which is the new coding standard as of October 1,
 3   2015 in support of Section 1886(d) of the Social Security Act and Title 42: Public Health Part
 4   412—Prospective Payment Systems for Inpatient Hospital Services, Current Procedural
 5   Terminology (CPT) coding, compliance programs, business damages, Medicare and Medicaid
 6   insurance fraud, Workers Compensation medical bills and fraud under State Labor codes, Usual,
 7   Customary and Reasonable (UCR) medical charges (Criteria for determining reasonable charges 45
 8   CFR §405.502), the Health Insurance Portability and Accountability Act (HIPAA Privacy Rule 45
 9   CFR Part 160 and Subparts A and E of §164, and HIPAA Security Rule 45 CFR §160 and Subparts
10   A and C of §164), the Meaningful Use provisions of the American Recovery and Reinvestment
11   Act of 2009 (ARRA) specifically the Health Information Technology for Economic and Clinical
12   Health including security risk analysis (HITECH Act 45 CFR §164.308(a)(1)), Meaningful Use
13   Provisions for Electronic Health Record certification criteria (including § 170.304-§ 170.314),
14   Standards for the Electronic Health Record Technology Incentive Program (physician and hospital
15   HITECH Act Stimulus funds) 42 CFR Part 495 Subpart B—Requirements Specific to the Medicare
16   Program and Subpart D—Requirements Specific to the Medicaid Program, the Confidentiality of
17   Medical Information Act ("CMIA") California Civil Code section 56, et seq. In addition to these
18   regulations, I also consult with and advise healthcare organizations regarding health care claims
19   reimbursement, coverage determination provisions of the Patient Protection and Affordable Care
20   Act of 2010 including Prohibition of Preexisting Condition Exclusions (45 CFR § 147.108),
21   Medicare Expansion and Health Insurance Exchanges, the Office of the Inspector General (OIG)
22   self-disclosure, and HIPAA data breach response and remediation. A copy of my Curriculum
23   Vitae and listing of publications is attached hereto as Exhibit A.

24   In my role as Managing Partner of No World Borders and based on my education and experience, I
25   have knowledge regarding the industry standards and regulations, guidelines and best practices in
26   private insurance, Medicare, Medicaid, Workers Compensation, and other payors under fee for
27   service, capitated, and risk based payment methods under Medicare Part C and the Affordable Care
28   Act. By virtue of my training, education, knowledge and experience, I can fairly evaluate the
29   damages in this case.

30       C. Specialized Knowledge, Publications and Prior Testimony
31
32   My relevant experience includes management of a firm and a team of professionals that advise
33   health plans, hospitals, and health IT technology firms and health care investors. Details are
                                                                                                         27
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 1   provided in my Curriculum Vitae, Exhibit A. My litigation consulting experience includes recent
 2   retention by the U.S. Department of Justice in a False Claims Act case that resulted in a $155
 3   million settlement for the U.S. where my responsibilities included in part to perform loss
 4   calculations (see DOJ Press Release “Electronic Health Records Vendor to Pay $155 Million to
 5   Settle False Claims Act Allegations” May 31, 2017). Within the past two years, I also served in a
 6   qui tam case involving a Federally Qualified Health Center (FQHC) and its executives as
 7   Defendants. FQHCs are one of the models that the U.S. Department of Health and Human
 8   Services uses to provide care for underserved populations, and like Disproportionate Share
 9   Hospitals, both types of entities receive special incentives from the government to do so.
10
11   I have performed damages and loss calculations four times in 2017 in cases involving fraud,
12   medical coding and billing litigation (two in state court, two in federal court and one scheduled in
13   federal court in November 2017). I have been certified as an expert in 2017 by a Judge 37 in one of
14   these disputes and my testimony has never been excluded. I have provided opinions on the record
15   in 35 cases to date. I am currently retained by the U.S. Department of Justice to evaluate potential
16   losses regarding alleged fraud by a health care provider. I have studied at Stanford Medical School
17   in Biomedical informatics under Dr. Kristin Sainani PhD regarding statistics for Medicine and
18   statistics and economics at the University of California, Irvine. I have performed analysis and
19   provided opinions on the value of health care claims, loss and damages totaling over $4 billion to
20   date between my role as leader of a management consulting firm in the health care industry and my
21   litigation consulting experience.
22
23   Publications
24
25   A list of all publications I have authored in the previous 10 years is included in my Curriculum
26   Vitae, Exhibit A, including prior publications regarding medical coding and the economic value of
27   health care claims processing using such codes.
28
29   Prior Testimony
30
31   A list of all other cases in which, during the previous 4 years, I have testified as an expert at trial or
32   by deposition is provided in Exhibit G (Federal Rule 26 Required Disclosure of Prior
33   Testimony over the Past Four Years).
34

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 1    Testimony has Never Been Excluded
 2
 3   Exhibit G contains a list of over 35 cases where I have provided opinions on the record. My
 4   testimony has never been excluded. I have survived a motion to Exclude under the Daubert
 5   standard in Federal Court (confidential / sealed case before the Federal Trade Commission), a
 6   recent motion to exclude in Dallas Texas where my opinions were being offered with respect to
 7   medical coding, medical billing and the economic value of historical claims as well as future value
 8   of healthcare under the Affordable Care Act. Judge Ambler recently certified me as an expert in
 9   San Jose, CA in October 2017 where my testimony was provided under oath in a case involving
10   medical coding, medical billing and damages / loss calculations.38
11
12       D. Compensation
13
14   Between January 27, 2017 and the date of this report, I have spent 124.75 hours on this matter. My
15   billing rate is $600 per hour for expert analysis, $750 per hour for appearance at trial and
16   depositions, and $300 per hour for travel. To date, I have been paid $69,450 and am still owed
17   $5,400.


18       III.   Summary of Facts and Data Considered
19
20       A. Scope of Discovery Provided by the Government
21
22   Over 40 spreadsheets and 40,000 pages of data was produced by the Government and provided to
23   me by retaining counsel. These documents are itemized in Exhibit D, Section A – Provided by
24   Counsel.
25
26       B. Documents independently accessed and cited.
27
28   In addition, I independently accessed over 50 documents which are listed in the end notes as
29   Exhibit D, Section B – Documents independently accessed.
30
31       C. Mirando was not trained as biller and coder by Nationally Credentialed
32          Organizations
33
34   Mr. Mirando was trained by his former business partners, not by certified billing trainers. The
35   American Academy of Professional Coders (AAPC), American Health Information Management
36   Association (AHIMA) and the North American Medical Auditing Society (NAMAS) which
37   provides licensed training from AAPC are examples of those organizations.
                                                                                                       29
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 1
 2       D. Mirando was enticed to start a company and trained in billing practices by an
 3          unemployed whistle blower who was being sued for improper use and billing of
 4          medical devices.
 5
 6   Based on documents provided to me, Mr. Mirando was 26 years old and trusted an older partner
 7   Stanton Crowley. Once their relationship dissolved, Mr. Mirando prevailed in a law suit against
 8   Crowley. In April of 2015, Crowley filed for bankruptcy after Mirando's law firm filed a cross
 9   complaint against him. When he failed to answer the cross complaint, the superior court judge
10   issued a default judgment against Crowley. Crowley filed for bankruptcy protection a day before
11   his second debtor exam. He stated on record that he filed for bankruptcy in order to avoid having to
12   pay Mirando.
13
14       E. The Centers for Medicare and Medicaid Stated Holter Labs Met All Requirements
15   As noted in the opinions section and in the letter provided as an exhibit from Palmetto GBA, a
16   Medicare Administrative Contractor, sent Mirando’s company Holter Labs a letter in 2014 stating
17   that it met all requirements to be a healthcare contractor that submits claims for services provided
18   to Medicare insureds.
19
20       F. Holter Lab’s Denial Rate, Duplicate Clams Rates, and Payment to Charge Ratio vs.
21          Industry Metrics
22   As noted in the Opinions section, I compared industry averages and ratios from published sources
23   including the U.S. Government with those found in Holter Lab’s business as one component of my
24   methodology to determine whether the Government accurately and reasonable represented losses.
25
26       G. FDA Data Regarding Datrix 512 Frequencies and FDA 510(k) for Similar Devices
27
28   I reviewed the frequency and capabilities of the Datrix 512 device in comparison to FDA published
29   data for similar devices and concluded that the Datrix device operates at the same frequency as
30   other devices approved by the FDA for a broad range of medical diagnostic procedures. This data
31   is in direct conflict with the testimony of a single Government witness regarding Datrix frequencies
32   and capabilities to perform cardio diagnostic vs. neuro diagnostic procedures. I note in my CV that
33   I am currently retained by another IDTF to serve as an ongoing advisor to ensure regulatory



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 1   compliance and have served as management consultant to Abbott Laboratories in their FDA
 2   Compliance in the past.
 3
 4       H. Industry Standard Definitions of Duplicate Claim, Whether Those Claims are
 5          Payable.
 6
 7   As noted in this report, CMS published guidance acknowledges that duplicate claims may exist for
 8   good reason and may be payable and are not universally considered fraud without further
 9   examination.
10
11       I. Prior Decisions in the 9th Circuit that Indicate Intended Loss, Foreseeable Loss May
12          be Based on Factors Such as Payment to Charge Ratio
13
14   As noted in my Opinions I am familiar from other litigation consulting work with data from
15   retaining counsel where foreseeable loss includes an allowance for the amount billed being much
16   larger than what any provider anticipates being paid (See CMS published data quote in Opinions
17   section that providers knowingly bill 3.77 times what they expect to be paid).
18
19   See U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
20   http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf


21       IV. Discussion
22
23       A. Gaps in the Government’s Sampling Methodology for Damages Calculations
24
25   Unreliable Sampling Methodology and Extrapolation
26   1. The Government used a limited set of seven (7) patients out of over 31,761 billing and claims
27       that produces unreliable extrapolations and billing amounts of alleged fraud:
28
29          a) There appears to be evidence that services were provided that and no documentation is
30              provided as to whether they were requested by a clinician or not but only for selected
31              components of the billings for seven (7) patients out of 31,761 claims. To confirm that
32              there is truly fraudulent intent requires that the service requested by the clinician and the
33              intent of the clinician in ordering those tests is matched to the service provided by
34              Holter Labs LLC using a statistically valid sample size.

                                                                                                          31
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 1
 2          b) There is evidence that multiple service encounters for the same type of service were
 3              provided in relatively short time frame but only for selected components of the billings
 4              for seven (7) patients out of 31,751 claims. To confirm that there is truly fraudulent
 5              intent requires that the service requested by the clinician and the intent of the clinician
 6              in ordering those tests is matched to the service provided by Holter Labs LLC using a
 7              statistically valid sample size.

 8       B. Failure to Link of Claims to Supporting Documentation and Physician’s Records
 9
10   1. The calculation of the amount would require additional linkage of provider ordering
11       documentation and billing linked to the relevant Holter Lab LLC billing for claims in question
12       as to billing for services not ordered or for excessive service billing unsupported by new service
13       requests.
14
15   2. Proving that services were provided when not ordered will require more complete data for
16       claims and documentation from both the client and Holter Labs LLC. To provide a statistically
17       valid projection of fraud with a 99% confidence level and a margin of error of 5%:
18         A. The complete data would need to be analyzed by in a random sample of at least 652 of the
19            31,761 claims, or a sample of 2.05% (z score of 1.96 or nearly two standard deviations
20            from the mean) 39 which is sometimes called a ‘normal’ distribution of data.




21
22                             Figure 8 - Population size = N, margin of error = e, z score = z.


23




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 1
 2                           Figure 9 - Standardizing z scores for normal distribution. (See Cite)40


 3
 4   Limited Degree of Certainty and High Margin of Error in Government Methods
 5   3. Similarly, to conclude with 95% certainty and a 5% margin of error that specific claims such as
 6       the 3,171 claims denoted with CPT code 93025 are fraudulent, at least 343 claims would have
 7       to be completely analyzed.
 8   4. I also calculated the ‘reasonable degree of certainty’ or what in my opinion is generally
 9       considered to be a 51% certainty with low error rate and concluded that the Government should
10       have analyzed at least 1,149 records. A complete analysis would require determining whether
11       the procedure was performed as described “Microvolt T-wave alternans testing is performed to
12       assess patients who are at risk for sudden cardiac arrest due to previous heart attack, heart
13       failure, left ventricular dysfunction, unexplained syncope, or family history of sudden cardiac
14       arrest. A set of 14 electrodes are distributed on the torso and attached to the ECG machine.
15       Seven are standard electrodes while the other seven are special microvolt T-wave alternans
16       sensors. ECG recordings are obtained while the patient walks on a treadmill while slowly
17       increasing treadmill speed to increase the heart rate gradually. Alternatively, heart rate may be
18       increased pharmacologically or using a pacer. The special microvolt T-wave alternans sensors
19       are able to detect extremely small changes in the T-wave portion of the ECG that are not visible
20       to the naked eye on the ECG recording. The test continues until T-wave changes are detected or
21       until the patient achieves the desired heart rate without evidence of T-wave changes. The
22       physician reviews the ECG and provides an interpretation of findings with a written report.
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 1       including viewing the patient chart, the physician’s order, the actual service provided, evidence
 2       of what device was used which is not contained in the insurance claim, the insurance claim
 3       submitted, the amount paid, and whether the insurance company denied the claim, audited the
 4       records or provided a reason for not paying the claim to determine whether it is true that
 5       $1,106,777.76 was fraudulently billed and $314,153.63 was fraudulently received.
 6                  o According to the information made available to me, Government data made
 7                      available to me by counsel, payments were made by the following payors, each
 8                      of which would have to be verified:
 9                          §   Aetna
10                          §   Anthem
11                          §   BCBS of Alabama
12                          §   BCBS of Florida
13                          §   BCBS of Minnesota
14                          §   BCBS of New Jersey
15                          §   BCBS of Rhode Island
16                          §   BCBS of South Carolina
17                          §   Cigna
18                          §   Emblem Health
19                          §   GEHA
20                          §   Healthfirst
21                          §   Humana
22                          §   Independence Blue Cross
23                          §   Independent Health
24                          §   Premera
25                          §   Tricare
26                          §   United Health Group
27                          §   XL Health
28
29   5. Similarly, to conclude with 95% certainty and a 5% margin of error that 4,967 claims denoted
30       with CPT code 93226 are fraudulent, at least 357 claims would have to be completely analyzed.
31       A complete analysis would include confirming whether these steps were completed:
32



                                                                                                        34
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 1                 o Electrocardiographic (ECG) rhythm-derived data is gathered for up to 48 hours
 2                    of monitoring as the patient goes about regular daily activity while wearing an
 3                    external ECG recording device, also called a Holter monitor. Electrodes or leads
 4                    are placed on the patient's chest, and the patient is instructed on the use of the
 5                    monitor. The recording device makes continuous, original ECG wave recordings
 6                    for a 12 to 48-hour period. The recordings are captured on magnetic tape or
 7                    digitized medium to be reviewed later. At the end of the recording period, the
 8                    patient returns to the office with the device. Stored data derived from the
 9                    continuous recordings of the electrical activity of the heart include heart rhythm
10                    and rate, ST analysis, variability in heart rate and T-wave alternans. Visual
11                    superimposition scanning is done to give a 'page review' of the entire recording,
12                    identifying different ECG waveforms with selective samples of rhythm strips. A
13                    report is made after analysis of the scanning, and the physician or other qualified
14                    health care professional reviews and interprets the data for heart arrhythmias.
15                    connection, recording, and disconnection.
16
17                 o Each claim would need to be verified including viewing the patient chart, the
18                    physician’s order, the actual service provided, evidence of what device was used
19                    (and since this is an alleged duplicate claim whether the claim was duplicated
20                    for fraud, duplicated as an additional request for payment, duplicated because
21                    the date is in close proximity to another date of service for legitimate reasons or
22                    fraudulent reasons) which is not contained in the insurance claim, the insurance
23                    claim submitted, the amount paid, and whether the insurance company denied
24                    the claim, audited the records or provided a reason for not paying the claim to
25                    determine whether it is true that $297,808.86 was fraudulently billed and
26                    $90,669.54 was fraudulently received. As noted in the detailed Methodology
27                    and Findings / Test Results sections of this report, the Government produced
28                    data indicating that there are 5,107 claims with duplicate dates of services
29                    totaling $1,079,433.86 in billings and $369,883.36 in allegedly fraudulent gains.
30                    However as detailed herein, ‘duplicates’ are considered multiple bills that may
31                    be i) adjacent dates ii) different CPT codes. As the PowerPoint analysis shows,
32                    these ‘duplicates’ do not appear (based on the Governments small sample size)
33                    to be problematic from the perspective of the National Correct Coding Initiative

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 1                      (NCCI) standard. The combinations of codes and procedures appear to be
 2                      acceptable based on NCCI which is a nationally accepted standard. There are
 3                      only ninety (90) claims out of 31,760 that are true duplicates for the same
 4                      date of service totaling $19,889.90 in claims and a net of $1,003.52 in
 5                      receipts to Holter Labs.
 6
 7                  o According to the information made available to me, Government data made
 8                      available to me by counsel, payments were made by the following payors, each
 9                      of which would have to be verified:
10                          §   Aetna
11                          §   Anthem
12                          §   BCBS of Alabama
13                          §   BCBS of Florida
14                          §   BCBS of Minnesota
15                          §   BCBS of New Jersey
16                          §   BCBS of Rhode Island
17                          §   BCBS of South Carolina
18                          §   Cigna
19                          §   Emblem Health
20                          §   GEHA
21                          §   Healthfirst
22                          §   Humana
23                          §   Independence Blue Cross
24                          §   Independent Health
25                          §   Premera
26                          §   Tricare
27                          §   United Health Group
28                          §   XL Health

29

30   6. In my opinion, if and only if it is determined using methods above including a statistically valid
31       sample size that it was not possible for Holter Labs to provide the services billed consistent
32       with the standard of practice for these studies, each of those service claims could be considered


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 1       fraudulent. In that case, the calculation of the amount of fraudulent billing could be based on
 2       billed claims with those service codes.
 3
 4   7. I am aware that experts are often held to a much lower standard, “reasonable degree of
 5       certainty” which I understand to mean more likely than not or in statistical terms 51%
 6       confidence level.

 7   Even if Lower Standard of Reasonable Degree of Certainty is Used, Government Sampling is
 8   Unreliable
 9   8. Even at the ‘reasonable degree of certainty’ level of confidence for damages calculations, and a
10       population of 31,761 claims, a random sample of 1,201records (meaning BOTH the patient
11       record and physicians order AND the associated claim(s)) must be reviewed.
12
13   9. I calculated the random sample size of 1,201 by using a 52% confidence level with a 1%
14       margin of error (52% minus 1% = 51%). Again, this can be checked using the Z score
15       calculations above. A lay person can easily check this and my calculations using a number of
16       online calculators.41 This illustrated in the figure below. Population is entered totaling 31,761
17       and a confidence level of 52% since a 1% error sometimes notated as (+/-) could result in 53%
18       or 51% net confidence level. Next a response distribution of 50% is used.42
19

20   Data is Unavailable to Prove that “Unable to Perform” and Suspect Codes are Damages
21   10. Although experts in damages calculation work may state opinions, to the best of my
22       knowledge, at the ‘reasonable degree of certainty’ level, it seems impossible to be 51% certain
23       of a total damage amount without being 99% certain that the underlying data is ‘suspect,’
24       ‘unable to perform,’ or ‘impossible to perform’ or ‘fraudulent’ as the Government alleges.
25       Much of the Government’s presumption that certain procedures fall in the ‘suspect,’
26       ‘impossible’ or ‘unable to perform’ category are based on the statements that a specific Holter
27       device could not perform a certain Neurodiagnostics (EEG) or cardio diagnostic (ECG)
28       procedures. (See Exhibit E for a discussion and diagrams based on FDA form filings for
29       medical devices and notices of intent to market (510(k)) which directly contradict these
30       statements according to the official FDA filings. In my opinion, the FDA data does indicate
31       that it is ‘possible’ based on the frequency data in the filings. Even if this possibility is
32       dismissed and one assumes that the Datrix 512 device cannot perform a procedure, another
33       device could have performed the procedure. I saw no facts in this case that conclusively show

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 1       that ONLY the Datrix 512 was used and that no other device was ever used. Therefore, in my
 2       opinion, to prove that a claim was filed for reimbursement with an insurance company where a
 3       specific device was used, a physical audit of every single physician’s office for the claim in
 4       question would be required again pointing to the Government’s lack of data and extremely low
 5       and unreliable sample size. This is because the health care claim itself does not contain any
 6       data that provides without a reasonable doubt that the Datrix 512 device was used instead of
 7       another device. Even at the lower standard of ‘reasonable degree of certainty’ one is again
 8       confronted with the statistical mandate to review over one thousand claims including the
 9       underlying data that supports or does not support its viability. Even in the Government’s
10       indictment, they point out that the DEVICE used in a medical procedure in the Holter Labs
11       business is not captured in the claims data.




12
13         Figure 10 - Grand Jury Indictment Annotation from Arrigo Exhibit E of this report has no linkage to the device used


14   11. Therefore, my opinion the Government’s limited set of seven (7) patients out of over 31,761
15       billing and claims that produces unreliable extrapolations and billing amounts of alleged fraud
16       for damages calculations.




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 1   Unbiased Method to Calculate Damages Must Consider all Possible Outcomes – Favorable and
 2   Unfavorable
 3   12. In my opinion, a reliable method to calculate damages must, upon concluding without a
 4       reasonable doubt that Holter Labs submitted fraudulent claims, perform a calculation of
 5       damages or loss to insurers that must include:
 6                  o Total loss alleged by Government
 7                  o MINUS The sum of all claims not paid by the insurers (representing the possible
 8                      ‘loss’ to Holter Labs
 9                  o MINUS the value of those claims for ‘suspect’ or ‘impossible to perform’ claims
10                      that are unproven to be fraudulent.
11                  o MINUS duplicate claims.

12
13   Determining Medical necessity as a basis for paying or denying insurance claims
14
15   Federal guidelines and statutes and payor policies are used as factors in determining whether a
16   medical procedure is medically necessary but the final determination is usually made by examining
17   a patient’s chart as documented by a physician.
18
19   Federal Government Guidelines
20
21   The Medicaid Act does not define the term “medical necessity.” Over the years, recipients have
22   relied on regulatory and decisional principles to define the scope of coverage. 43 According to the
23   U.S. Government’s Medicare.gov official U.S. Government site for Medicare, “Medicare Part B
24   covers 2 types of services: a) Medically necessary services: Services or supplies that are needed
25   to diagnose or treat your medical condition and that meet accepted standards of medical practice,
26   and b) Preventive services: Health care to prevent illness (like the flu) or detect it at an early stage,
27   when treatment is most likely to work best.”
28
29   Statutes and best practice guidelines include:
30
31   CMS Coverage Policy - Title XVIII of the Social Security Act, Section 1862(a)(1)(A) states that no
32   Medicare payment shall be made for items or services which are not reasonable and necessary for
33   the diagnosis or treatment of illness or injury.
34
35   Title XVIII of the Social Security Act, Section 1862(a)(7). This section excludes routine physical

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 1   examinations.
 2
 3   Title XVIII of the Social Security Act, Section 1833(e) states that no payment shall be made to any
 4   provider for any claim that lacks the necessary information to process the claim.
 5
 6   CMS Manual System, Pub 100-02, Medicare Benefit Policy Manual, Chapter 15, Sections 60 and
 7   80
 8
 9   CMS Manual System, Pub. 100-03, Medicare National Coverage Determinations Manual, Chapter
10   1, Section 240.4
11
12   CMS Manual System, Pub 100-04, Medicare Claims Processing Manual, Chapter 1, Sections 10
13   and 30.2 and Chapter 35
14
15   CMS Manual System, Pub. 100-08, Medicare Program Integrity Manual, Chapter 3, Section
16   3.4.1.2, Chapter 10, Chapter 13, Section 13.5.142
17
18   Code of Federal Regulations, 410.32 and 410.33
19
20   Payor Policies for Specific Types of Diagnostic Facilities and Procedures
21
22   Medicare, Private Payors, Independent Diagnostic Testing Facilities (IDTFs)
23
24        •   Medicare will cover diagnostic tests performed by an IDTF when the procedures are
25            medically necessary and the criteria in this LCD are met. The procedures in this document
26            are also subject to applicable National and Local Coverage Determinations (LCDs).44
27        •   IDTFs are required to report the exact CPT/HCPCS codes/procedures they intend to
28            perform when enrolling with the CMS-855B form. If an IDTF which is already enrolled
29            wants to perform additional CPT or HCPCS code tests that were not originally specified on
30            its CMS-855B and that are for procedure types and supervision levels similar to its
31            previously allowed codes, the contractor shall have the IDTF amend its CMS-855B to add
32            the additional codes and equipment listing. A new site visit is not required. However, if the
33            enrolled IDTF will be performing CPT or HCPCS codes for different types of procedures,
34            or with different supervision levels, a new site visit is required. Claims submitted with
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 1           procedure codes not reported on the CMS-855B form and reviewed by the contractor will
 2           be denied.
 3   Physician Documentation Trumps Payor Policy and Government Guidelines
 4
 5   Case law supports the idea that the ultimate test of whether a medical diagnostic procedure is
 6   ‘medically necessary’ is the patient’s physician. Without knowing the physician’s opinion which is
 7   documented in progress notes and the referral or primary care physician’s order one cannot truly
 8   know if a procedure is medically necessary.
 9
10   Even when controversial topics are challenged in court, based on my knowledge training education
11   and experience, the physician’s decision is key. Case law has also indicated that the patient’s
12   treatment and the medical necessity of that treatment is best determined by a physician. In my
13   work as an expert, retaining attorneys have sometimes cited case law in their instructions to me
14   (see Pinneke v. Pressier). 45
15
16
17   Senate Report No. 404, 89th Congress, 1st session, U.S. Code Cong. & Admin. News 1965, p.
18   1986, states in part:
19           “3(a) Conditions and limitations on payment for services.
20                   (1) Physicians' role
21                   The committee's bill provides that the physician is to be the key figure in
22                   determining utilization of health services and provides that it is a physician who is
23                   to decide upon admission to a hospital, order tests, drugs and treatments, and
24                   determine the length of stay. For this reason, the bill would require that payment
25                   could be made only if a physician certifies to the medical necessity of the services
26                   furnished.”
27
28   Medicare, Private Payors, ECG or EKG
29
30   Payors such as Medicare and Private Payors may make specific requirements for Coverage
31   Determination and Medical Necessity Determinations. Here is an example:46
32
33       1. Long-Term ECG Monitoring is defined as a diagnostic procedure, which can provide
34           continuous recording capabilities of ECG activities of the patient's heart while the patient is
35           engaged in daily activities. These can include continuous, patient-activated or patient-
                                                                                                             41
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 1          demand monitoring. The purpose of these tests is to provide information about rhythm
 2          disturbances and waveform abnormalities and to note the frequency of their occurrence.
 3
 4       2. List the appropriate procedure code.
 5
 6              a. If billing for 48 hours for codes 93224-93237, indicate this by placing each
 7                 date of service on a separate line with a 1 in the units box (e.g., 010).
 8
 9              b. When billing for a service of greater than 48 hours and less than 30 days, use the
10                 appropriate 30-day monitoring code with the -52 modifier, to indicate a reduced
11                 service. The documentation in the progress notes must reflect medical necessity for
12                 the service. The fee billed for the service must be appropriately reduced to reflect
13                 the time the patient required the service.
14
15              c. List the ICD-9 code(s) (or after 10/1/15 ICD-10 code(s)) indicating the reason for
16                 the test.
17
18              d. The physician ordering the test must be identified on the claim form in Boxes 17
19                 and 17a with his/her UPIN number. For EMC, NSF fields FB1 - 10, 11, 12 (name)
20                 and FB1 - 13 (UPIN #) or ANSI - 837 NM1 - 03, 04, 05 (name) and NM1 - 09
21                 (UPIN #).
22
23              e. The physician interpreting the test must be identified on the claim form with his/her
24                 sequence number in Box 24K. For EMC, use NSF format field FA0 - 23, or ANSI -
25                 837 or NM1 - 09 (loop 2310).
26
27              f. The codes describing technical work may be billed by an independent physiological
28                 laboratory if they meet all requirements listed in the code descriptions and coverage
29                 requirements. They may bill the total component only if the physician interpreting
30                 the test is employed by the laboratory and is not billing for the interpretation
31                 separately. The physician's name and address must be on record with our MPCU
32                 department. A letter should be sent by the physician assigning all monies collected
33                 by the laboratory for the professional codes to the billing laboratory. If a letter is not

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 1                    on file, professional services billed by the physiological laboratories will be denied.
 2
 3              g. The physician may bill the technical and professional codes if all the criteria listed
 4                    are met.
 5
 6              h. Site-of-service reductions apply to these codes, i.e., if the technical component is
 7                    performed in the out-patient setting, it is considered a Part A service.
 8
 9              i. Do not use the "TC" or "26" modifier with these codes.
10
11              j. Either the patient-activated monitor or the 24-hour monitor will be covered (not
12                    both).” 47
13
14
15   Medicare, Private Payors, EEG
16
17   Medicare and Private Payors typically itemize specific CPT procedure codes that are permissible to
18   bill for EEGs:
19
20          95812 - Electroencephalogram (EEG) extended monitoring; 41-60 minutes -average fee
21          payment- $350 - $360
22
23          95813 - Electroencephalogram (EEG) extended monitoring; greater than 1 hour
24
25          95816 - Electroencephalogram (EEG); including recording awake and drowsy
26
27          95819 - Electroencephalogram (EEG); including recording awake and asleep
28
29          95822 - Electroencephalogram (EEG); recording in coma or sleep only
30
31          95827 - Electroencephalogram (EEG); all night recording
32
33          95950 - Monitoring for identification and lateralization of cerebral seizure focus,
34          electroencephalographic (e.g., 8 channel EEG) recording and interpretation, each 24 hours

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 1
 2          95951 - Monitoring for localization of cerebral seizure focus by cable or radio, 16 or more
 3          channel telemetry, combined electroencephalographic (EEG) and video recording and
 4          interpretation (e.g., for presurgical localization), each 24 hours
 5
 6          95953 - Monitoring for localization of cerebral seizure focus by computerized portable 16
 7          or more channel EEG, electroencephalographic (EEG) recording and interpretation, each 24
 8          hours, unattended
 9
10
11   Diagnosis Codes that Support Medical Necessity
12
13   Payors typically list those diagnosis which support whether a treatment is medically necessary.
14   However, again the Government’s policy defers to the physician to decide: 48
15
16             “ICD-10-CM Codes that support Medical Necessity:
17             It is the provider’s responsibility to select codes carried out to the highest level of
               specificity and selected from the ICD-10-CM code book appropriate to the year in
               which the service is rendered for the claim(s) submitted.”


18   National Coverage Determinations and Local Coverage Determinations
19
20   National Coverage Determinations (NCDs) and Local Coverage Determinations (LCDs) are used
21   to determine when the procedures above described by CPT code will be paid.
22
23   Clinical Documentation as Basis for Diagnosis
24
25   NCDs and LCDs rely principally on specific patient conditions which must be documented by the
26   physician to support a specific diagnosis. The presence of a diagnosis is the key indicator of
27   whether a procedure is medically necessary. For example,
28
29   Prior Tests to Establish Medical Necessity for Additional Tests or Procedures
30
31   Medicare and other payors may require that prior conditions be met before allowing or covering
32   payment for an additional procedure. For example, “Ambulatory EEG should always be preceded



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 1   by a routine EEG. A routine EEG is described by CPT codes 95812, 95813, 95816, 95819, 95822
 2   or 95827 and refers to a routine EEG recording of less than a 24-hour continuous duration.” 49
 3
 4
 5   Payor Denials
 6
 7   If a payor (whether a government payor such as Medicare or Medicaid or private insurer such as
 8   Aetna, Cigna, Blue Cross or others) questions whether a procedure is medically necessary they
 9   have several tools at their disposal to examine a healthcare claim:
10
11       1. Pending claims and requesting more information, in which case the provider may be
12          required to provide substantiation for medical necessity in the form of the patient’s chart
13          (including progress notes). Usually the payor will provide an explanation in the form of
14          reason codes when pending a claim to provide specific information on what data they feel
15          is missing. If the provider supplies the missing information when appealing the decision,
16          the claim may be paid.
17
18       2. Denial of a claim, which can be appealed by a health care provider. Usually the payor will
19          provide an explanation in the form of reason codes when pending a claim to provide
20          specific information on what data they feel is missing. If the provider supplies the missing
21          information when appealing the decision, the claim may be paid.
22       3. Audits – if the payor determines in its opinion that there is a pattern of pended or denied
23          claims or unusual patterns of claims such as multiple claims on the same date of service
24          (DOS) for the same patient it may request an audit of the healthcare provider’s records. If
25          the provider supplies the missing information in an audit, the current claims in question and
26          any future similar claims are more likely to be paid.
27
28   Incomplete or Inconclusive Analysis by FBI
29
30   Failure to Prove Lack of Medical Necessity – No Issues with Clinical Documentation, Coding
31   Based on the documents available to me, the government has not examined or has not produced
32   evidence that it has examined any patient’s medical records which would include the progress
33   notes of the patient’s primary care physician, the primary care physician’s order for a test such as
34   an ECG, EKG or EEG, the diagnosis and diagnosis codes for the patient, or the final report


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 1   generated from the test by the software. In the Grand Jury Indictment dated January 2016, the
 2   Government states that those claims that were paid must be medically necessary:
 3




 4
 5                               Figure 11 - Grand Jury Indictment January 2016 page 4

 6
 7   Failure to Prove Lack of Medical Necessity - No Evidence of Insurance Audits
 8
 9   Based on the information available to me, there is no evidence that any payor routinely denied
10   claims.
11
12   Failure to Prove That a Datrix DR512 Was Used – No Final Reports Indicating DR512
13
14   Generally, a Final Report would include the listing of which medical device was used in the
15   procedure. Based on the information available to me, there were no final reports provided.
16
17   Failure to Prove That a Datrix DR512 Was Used – No Form 855B
18
19   Independent Diagnostic Testing Facilities (IDTFs) such as Mr. Mirando’s business are required to
20   submit a form 855B to Medicare indicating which devices will be used in testing, the serial
21   numbers of those devices50, and which CPT codes will be billed. Based on the information
22   available to me, there is no form 855B documenting whether only a Datrix DF512 was used or if
23   other devices were used. I have found mention of other devices in document production and
24   correspondence.
25




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 1
 2   Failure to Prove That a Datrix DR512 Was Used – No Audit Trail
 3
 4   For the government to prove without a reasonable doubt that DR512 units were used, they would
 5   have to match each patient with that patient’s progress notes, attending physician, the organization
 6   the physician uses to bill a payor by national provider ID (NPI), the diagnosis of the patient, the
 7   physician’s order, the final report clearly showing the device used, the claim, and (if the coding or
 8   billing were in any way inappropriate) a pended or denied claim, or an audit by a payor which
 9   concluded that these items are not present. Based on the documents available to me, the
10   Government has not provided such information. Without such information, the government cannot
11   say that a provider billed inappropriately.
12
13   Patient Interview with Belen Perazzo Barber
14
15   There are several patient interviews that I have reviewed. I used patient Barber as a test and
16   conducted an audit trail of his statements back to anything that corroborates his statements about
17   medical documentation and found none.
18
19   I searched Aetna records produced by the FBI and found a spreadsheet but nothing that states that
20   Aetna produced it.
21
22   According to Barber she had one cardiac test but there is no documentation from a physician or
23   provider of any kind corroborating this. Patients in my experience can forget their treatment
24   regimen and appointments which is why providers do reminders. The Interview was conducted
25   around the date of entry by the FBI of the report, April 9, 2014.
26
27   Cross Check with Aetna Records for Patient Belen Perazzo Barber
28
29   I checked the Aetna claims report and I do find claims for this patient but they are over four years
30   prior (see below).
31
             1/19/10
             1/12/10
             1/16/10
             1/19/10



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             1/12/10
             1/16/10
             1/19/10
             1/16/10


             1/13/10

 1
 2   Medical Necessity of Treatment Frequency for Patient Belen Perazzo Barber
 3
 4   Based on nationally accepted standards such as the National Correct Coding Initiative (NCCI) I
 5   find no irregularities with respect to codes used, diagnosis used, or patterns that indicate problems
 6   with medical necessity. This could indicate coding errors or other errors but the source
 7   documentation would be important to view to make that determination.
 8
 9   It may be possible that a cardiologist would prescribe this regimen, though no physician’s medical
10   opinion has been secured to opine on whether more than one 24-hour monitoring within a few
11   weeks of the initial date of service appears to be medically appropriate or not.
12
13   FBI Interview with Jon Barron, Founder of Datrix
14
15   Much of the case hinges on whether EEG and ECG may be performed with the same device and
16   what determines whether that is possible to do with one device. Of the 60,126 pages in this case
17   that I can review, one phrase here is all the FBI appears to have and it does not appear to be a
18   certainty that the device cannot do both EEG (brain) and ECG (cardiac / heart) related monitoring.
19   If this is the case (see next section regarding FDA 510K), then in my opinion the government
20   would need to tie this device to claims where the device was used for non-permitted procedures. I
21   propose we develop a time line to show if and when non-permitted procedures were performed.
22   My review indicates that there are no non-permitted procedures during the second (Oregon based)
23   phase of business.
24
25   Device Frequency and Bandwidth
26
27   This statement to me does not satisfy the ‘reasonable degree of certainty test’ and certainly not
28   ‘without a reasonable doubt’:
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1           “BARRON believes that the DR512 model's sampling frequency rate is not sufficiently high
2           enough to be used for an EEG. An EEG generally requires a higher sampling frequency rate
3           than the model is capable of performing. Datrix also did not put in its FDA filing that
4           performing an EEG was an intended use of the device. BARRON noted that the software used
5           on the data collected from the DR512 would make no difference in whether an EEG could be
6           conducted, since the device itself isn't able to sample data sufficiently for the test1.”
7
 8   FDA 510(K) Pre-Market Notifications
 9
10   Please see separate 510(k) forms indicating that Datrix 512 and other FDA approved devices for
11   brain diagnostic EEGs have the same frequency range and bandwidth as ECG and EKG for cardiac
12   diagnostics. In fact, the frequency rate of the DR512 is the same as these devices.




     1 In fact, FDA 510(K) forms indicate that there are devices with exactly the same bandwidth and


     frequency that do perform both brain (EEG) and cardiac (ECG) and are approved by FDA to do so.
     See PowerPoint.
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1
2   Figure 12 - Datrix Devices use sample rate of 128 to 512 per channel/sec

3




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1
2   Figure 13 - EEG Software LLC FDA 510K with same sampling rate ranges from 64 to 512 Hz as Datrix Devices


3




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 1       V.      Conclusions
 2
 3   Based on the information available to me with a reasonable degree of certainty:
 4
 5
 6       1. The PSR / PIR has mathematical errors of 6% to 12% in the summation of Counts 1-15 of
 7            fraud.
 8
 9       2. There are only seven (7) patients analyzed in the indictment and four (4) in the PIR / PSR
10            which represent 137 claims out of over 31,000 claims in the data produced by the
11            Government.
12
13       3. The Government’s methodologies do not form the basis for a statistically valid method to
14            extrapolate to over $7 million in fraudulent bills and $2 million in fraudulent receipts and
15            results in a 19% certainty level regarding total fraud rather than the industry standard of
16            51% reasonable degree of certainty.
17
18       4. Duplicate charges are overstated. There are 90 actual duplicates which could be fraud or
19            could be simply duplicate requests for payment. There are over 31,000 claims and a small
20            percentage of these claims are ‘adjacent’ to each other by date of service.
21
22       5. There were no audits conducted by any insurance company that confirmed the existence of
23            fraud, and I have no data to conduct a statistically valid sample and project fraudulent
24            claims in a damages analysis, beyond $10,695.06.
25
26       6. It appears inconclusive which device was used to perform alleged fraudulent ‘unable to
27            perform’ procedures.
28
29       7. Without a complete analysis of physician interviews, patient documentation and diagnosis,
30            claims data and reimbursement tied by individual medical service, it is impossible to
31            determine how much if any fraud was committed beyond seven patients analyzed.
32




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 1       8. Based on the information available to me, I do not know if Mr. Mirando or others submitted
 2          the insurance claims produced by the Government, but in total Holter Lab’s cannot in my
 3          opinion be held to damages or loss calculations beyond the amount of $10,695.06.
 4
 5       9. Since the suspect and duplicate claims are unproven in my opinion to be fraud,
 6          $2,587,360.23 for these amounts, minus $1,339.180.04 in unpaid claims as an offset, minus
 7          $538,515.73 in unproven duplicates, minus $2,574,940 for unable to perform procedures,
 8          plus the accurate fraud counts mathematical total of $10,695.06 equals a negative number
 9          of ($1,854,580.95) which means that subject to further audits, the payors (health insurance
10          firms) in this case may owe Holter Labs for unpaid claims.




11
12                       Figure 14 - Summary of Calculations, with Mathematical Corrections by Arrigo

13
14       In my opinion net damages are zero (mathematically a negative number which may indicate
15       payors owe money for unpaid claims). Though in my opinion the Government methodology
16       could have been stronger, I have left the amounts of $10,695.06 (the correct mathematical total)
17       my calculations.
18
19       10. I am also aware from other loss and damages calculations where I was retained by counsel
20          for the Relator in San Francisco that the ‘foreseeable’ loss in health care fraud cases, is the
21          amount billed to an insurer, if not rebutted, however, the parties may introduce additional



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 1          evidence to support arguments that the amount billed overestimates or understates the
 2          defendant’s intent (See U.S. v Popov and U.S. v. Prakash).51
 3       11. Therefore, in my opinion the actual, foreseeable amount of fraud is at most 31% of the
 4          billed amounts based on widely known industry practices and even data published by the
 5          Government itself.
 6
 7       12. Intended fraud in this case is, at most 31% of the billed amount, and it is not reasonable to
 8          add 18 points to the sentencing guideline formulas, and, based on the statistically invalid
 9          and unreliable methodology employed by the Government the payors in this case may owe
10          Holter Labs money.
11
12       13. The PIR / PSR states in paragraph 37 that the unable to perform payments are
13          $3,025,329.47 and that this is due as restitution. This is not correct.
14                     ix. First as noted elsewhere in this report the sample size used by the
15                          Government produces an unreliable 19% confidence level vs. the standard of
16                          51%
17                       x. Second, even if it were accepted using appropriate sampling methods that all
18                          paid claims for ‘unable to perform’ procedures were fraudulent the correct
19                          total is $2,930,852.64 which is an error of 3.22% in the Government’s
20                          calculations.
21                     xi. Third, as noted elsewhere the Government fails to link all of the claims
22                          associated with the procedures and CPT codes in question to the exact
23                          device that was used to perform the procedure. I have not data to conclude
24                          any amount for ‘unable to perform’ codes and presume that in the absence of
25                          provable data and statistically valid methods that this is zero.
26
27   I specifically reserve the right to add to, amend or subtract from the report as new evidence
28   becomes available or the opinions of other experts are reviewed and considered.

29   Signed,
30
31
32   Michael F. Arrigo


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1   Exhibit A – Curriculum Vitae
2
3   See separate document with CV.
4




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 1   Exhibit B – Principles and Methods
 2
 3   Data and Methods for Calculating Charges v. Payments
 4
 5   Data from the Health Affairs analysis, CMS, and American Hospital Association was used to
 6   collect health care provider characteristics. Data was obtained from the 2011 American
 7   Hospital Association annual survey, which provides demographic and structural information
 8   about American providers, and matched to CMS data using the Medicare Provider number or
 9   the name of the provider. Health care provider financial information was obtained from 2011
10   Medicare Cost Reports.52 Information on whether the provider is currently participating in an
11   accountable care organization (ACO) was obtained from Leavitt Partners’ database of
12   ACOs. Location information is based on the United States Office of Management and Budget-
13   designated statistical areas using a zip code to statistical area crosswalk. Full data for all
14   specifications of the analysis were available for 2,925 (87.7 percent) of the CMS providers
15   which includes inpatient and outpatient data.

16   Provider characteristics that were evaluated include those associated with provider size
17   (determined by bed size); affiliation with a system; ownership (not-for-profit, government
18   owned or investor owned); academic status (determined by whether the provider is accredited to
19   offer a residency program); whether the provider offered an insurance product (health
20   maintenance organization, preferred provider organization or indemnity insurance plan);
21   whether the provider participated in a joint venture with physicians; location (metropolitan,
22   micropolitan or rural area); the percent of total payments the provider received through capitated
23   payments; the percent of provider discharges that are covered by Medicare and Medicaid; the
24   provider operating margin (calculated by dividing net operating income by net operating
25   revenue which is total patient revenue less contractual allowances and patient discounts); and
26   whether the provider participated in an ACO.

27   The unit of analysis is the ratio of charges billed to Medicare to the amount reimbursed by
28   Medicare. Providers that receive Medicare payments are required to accept them for the full
29   value of the care and cannot bill the patients for the difference between Medicare’s
30   reimbursement and the billed charges, meaning that the providers are implicitly willing to
31   accept the amount paid by Medicare for the services rendered. Higher ratio values indicate
32   higher charges compared to the reimbursement level they are willing to accept for the services
33   rendered. The provider characteristics’ association with the charge-to-reimbursement ratio was

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 1   calculated with ordinary least squares linear regression using discharge-adjusted average
 2   provider ratios across all DRGs.

 3   Results

 4   There is significant variation of charge-to-reimbursement ratios. Across all providers and all
 5   DRGs, charges were 3.77 (standard deviation=1.83) times as high as Medicare reimbursements
 6   (range .19 to 23.6, median=3.337). Provider ratios (combining all DRGs at the provider level)
 7   ranged from 0.42 to 16.23.

 8   Exhibit 1 below contains the coefficients of the regression analysis of the association of
 9   provider characteristics and the charge-to-reimbursement ratio. Of the evaluated characteristics,
10   12 of 14 were significantly associated with either an increase or decrease in the charge-to-
11   reimbursement ratio (p<.05). The factors associated with a substantial increase in the charge-to-
12   reimbursement ratio include being an investor-owned provider (compared to being a not-for-
13   profit provider), being part of a provider system, participating in a joint venture with physicians
14   and being larger in terms of bed size. Accepting a higher percentage of care through capitated
15   payments and having a higher operating margin were significantly associated with higher
16   charge-to-reimbursement ratios, but the magnitudes of both associations were trivial. Large,
17   investor owned providers that are part of provider systems and located in metropolitan areas
18   thus tend to have the largest charge-to-reimbursement ratio.

19   The factors associated with substantial decreases in the charge-to-reimbursement ratio include
20   the location (either being in a rural or micropolitan area as opposed to a metropolitan area),
21   being an academic medical center, offering an insurance product, and being government owned
22   (as opposed to not-for-profit). A higher percent of Medicaid patients is associated with a
23   significant, but minor, decrease in the ratio. Small, unaffiliated, government-owned providers
24   located in rural areas tend to have the lowest ratio.

25   Several factors were not significantly associated with the charge-to-reimbursement ratio. These
26   include the percentage of provider discharges that are reimbursed by Medicare and whether the
27   provider participates in an ACO.

28   Conclusion

29   It is not surprising that there is variability in charge-to-reimbursement ratios among providers,
30   but the degree of that variability is substantial. Some providers’ (35 out of 3337) average

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 1   Medicare charge was for less than they were actually reimbursed, while others billed, on
2    average, as much as 16 times what they were paid by Medicare. The average degree of the
 3   charge-to-reimbursement ratio is also surprising, with providers charging nearly four times, on
 4   average, what they accept as reimbursement.

 5   From a consumer’s perspective, the disadvantages of higher charges that are not strongly
6    correlated with actual reimbursement rates are real. Specifically, charges uncorrelated with
 7   actual reimbursements make it difficult, if not impossible, for patients to compare providers,
8    eliminating any potential financial benefit of consumer-directed choice of providers. A
 9   movement toward more transparent pricing may enable patients to become more involved in the
10   cost of their care.




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1
2   ………………………Data from CMS, AHA, and author’s analysis.
3




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 1
 2
 3   Clinician’s Medical Documentation and Medical Coding Review, Where Applicable
 4
 5   Medical Coding
 6
 7   Medical coding and billing is a complex and regulated function that is part of the process of
 8   transforming a patient’s medical record into financial reimbursement for services provided by
 9   health care providers. Medical coding does not stand alone however in securing reimbursement
10   for billable health care procedures, services or equipment provided. Clinical documentation
11   provided by licensed professionals supports the use of medical codes (see next section).

12   Fundamental Purpose of Clinical Documentation
13
14   The American Health Lawyers explained the importance the linkage between Medical Coding,
15   Medical Necessity and Clinical Documentation. (See AHLA - Timothy P. Blanchard and Joan
16   Ragsdale – Clinical Documentation) stating,
17
18       “Clinical documentation serves several important purposes in healthcare, including:
19       1. Facilitating efficient and effective delivery of high quality health care services.
20       2. Satisfying Conditions of Participation (COP) in Medicare (and other payers) 53
21       3. Satisfying Conditions of Payment, 54 including, but not limited to the reasonableness and
22          medical necessity of items and services (or that this standard is not applicable to the
23          particular services in question).
24       4. Complying with state licensing and professional practice laws and regulations.
25       5. Demonstrating satisfaction of performance metrics and targets.
26       6. Defending allegations of failure to comply with or satisfy any of the above and/or false
27          claims and health care fraud.”
28
29   Most importantly, clinical documentation in the medical record for each individual patient is
30   required by applicable state and federal statutes and regulations, including facility-licensing rules
31   and medical/professional practice acts. While the language and details of state statutes and
32   regulations vary somewhat, all states essentially require providers to “maintain adequate and
33   accurate records relating to the provision of services to their patients.” The adequacy of clinical
34   documentation may depend on the intended use of the information by the reader (the physician, a
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 1   covering or co-treating physician, consulting specialists, hospitalists, nurses, therapists, and other
 2   provider or nursing facility personnel, medical reviewers, medical staff peer review, payer
 3   reviewers, program integrity and law enforcement personnel, administrative law judges and courts,
 4   and increasingly patients and family members). Providers must recognize that any or all of these
 5   persons may have occasion to review and evaluate (or seek to understand) the medical record
 6   entries made by the provider.”
 7
 8   Documentation of Medical Necessity Required for Medical Coding and Payment
 9
10   Under the Medicare statute55, no Medicare payment shall be made for items or services that are not
11   reasonable and necessary for the diagnosis or treatment of illness or injury. 56 Although these
12   statutes were originally established for Medicare they have been adopted nationwide as the
13   standard payors use to determine if a medical procedure is medically necessary. Clinical
14   documentation is necessary to establish that services provided were reasonable and necessary. It is
15   important to recognize, moreover, that adequate clinical documentation is a condition of payment
16   distinct from the requirement of medical necessity itself. 57 It has been held that Medicare claim
17   form certifications (whether submitted on paper or electronically) are representations “that the
18   person signing the claim has acquired sufficient information and made the requisite
19   documentation to prove that the services were provided as claimed." 58
20
21   Failure to provide required documentation to support Medicare and Medicaid claims is a basis for
22   exclusion from the programs, 59 and clinical documentation is required to satisfy requirements for
23   QIO reviews. 60
24
25   In a well-documented medical record, there will frequently be several types and sources of
26   documentation supporting the necessity of the services provided, but the primary objective in
27   preparing clinical documentation should be to assure that a qualified reviewer can easily determine
28   what was done for the patient and the clinical rationale for the services provided.
29
30   The Medical Necessity Documentation Requirements vary with type of items and services
31   involved. In some cases, specific forms of orders are required. In others, additional specific types
32   of documentation must be prepared (e.g., certifications of medical necessity). In general, however,
33   orders and other specific documentation must be backed up by entries in the medical record

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 1   demonstrating the ordering physician’s involvement in the case and medical decision making
 2   or rationale for the services ordered.
 3
 4   One component in determining medical costs is accomplished by reviewing medical codes
 5   provided in patient documentation. Medical diagnosis codes (usually ICD-9 or ICD-10) are
 6   entered by coders at health care providers as a result of a licensed physician’s diagnosis at a health
 7   care provider. Procedure codes (usually CPT or HCPCS) are used to describe billable medical
 8   procedures that are translated into economic value for health care claims. I am relying on the
 9   diagnosis and the codes that exist in the documentation and I review the documentation and coding
10   for the way they are used to derive medical costs.
11
12   Patient Condition and Diagnosis
13
14   Since a licensed clinician must determine when a medical procedure is appropriate (See Code of
15   Federal Regulations 42 CFR §410.32 61), the patient's medical records must clearly document the
16   medical necessity for the test (See Title XVIII of the Social Security Act, §1833(e), which prohibits
17   Medicare or other payor’s payment for any claim lacking the necessary documentation to process
18   the claim.)
19
20   If the physician does not indicate a diagnosis, then a medical procedure may be determined by an
21   insurance company (whether private payor or Medicare and Medicaid) to be non-medically
22   necessary and therefore a claim for reimbursement of this procedure may be denied.
23

24   Billing, Claims Denials and Medical Review
25
26   If a claim for reimbursement of any medical procedures submitted to a payor results in denial, it is
27   appropriate to ask for a review. During a review, BOTH the patient’s condition and diagnosis
28   codes as well as the data collected during the medical assessment, medical procedure or diagnostic
29   test may be required. The responsibility to provide this information falls to the medical professional
30   (health care provider) not to the billing and coding function.
31
32   Payors must decide whether to take one of three actions when presented with a claim for payment
33   for services:

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 1       •   Pay - When the claim is received the service is paid at some defined level assuming
 2           appropriate conditions are met.

 3       •   Pend – Hold payment of the claim for some level of review or request for additional
 4           information

 5       •   Deny – Disallow payment of the claim for any number of reasons that may be related to
 6           benefits, coverage limits, medical necessity, evidence of medical effectiveness, medical
 7           appropriateness or any number of other reasons that may or may not have to do with
 8           medical reasons. 62


 9           Medical Policy and Coverage Determinations from the Payor
10
11   If maximum out of pocket exceeds the cost of a treatment plan under the ACA, then the value of
12   the cost of the treatment is used. If the maximum out of pocket is less than the treatment cost, then
13   maximum lifetime out of pocket value is used for those procedures deemed medically necessary in
14   the opinion of insurance companies based on my knowledge of industry best practices and
15   guidelines and applicable statutes.
16
17   I may consider Medical Policies and guidelines of payors applicable in the geography where
18   medical procedures are rendered may provide claims payment determination for procedures
19   identified by CPT, HCPCS and ICD-92, ICD-10 CM or ICD-10 PCS coding. Reimbursement
20   guidelines are developed by clinical staff that work with payors and include yearly coding updates,
21   periodic reviews of specialty areas based on input from specialty societies and physician
22   committees and updated logic based on current coding conventions.
23
24   Out of network "non-par" payments are made by payors to providers who are not in the payor’s
25   contracted provider network. These providers’ payments may be subject to delays. Furthermore,
26   out of network payments may be subject to higher special investigation unit (SIU) examinations.
27
28   Therefore, as a solution to delayed payments, some Providers are willing to accept
29   reimbursement via a discount settlement network by signing an agreement in perpetuity that
30   they will accept a lower reimbursement for all future procedures of the same type (usually


     2 ICD-9 coding standard in effect until October 1, 2015 and replaced by ICD-10

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 1   described by CPT code or ICD-9 or ICD-10 code) when the claim is submitted for a specific payor
 2   in lieu of delays for pended claims. Only claims that are adjudicated by the payor and meet the
 3   initial policy plan design are forwarded for discount settlement so the payor is ensured that the
 4   procedure meets initial UM, COB, Case Management and medical necessity review.
 5
 6   So called “out of network” discount settlement payments provide data points to help determine
 7   what the free market value of a procedure are because the provider has a choice to wait or accept
 8   reimbursement quickly at a discount.
 9
10   ICD-9 or ICD-10 Diagnosis and Procedure Codes - Medical patient records in this case may
11   contain ICD-9 diagnosis codes which are used for both inpatient and outpatient diagnosis, and
12   ICD-9 procedure codes which are used exclusively for inpatient procedures. (ICD-9 stands for the
13   International Classification of Diseases, 9th edition from the World Health Organization3, localized
14   for the U.S. market). The U.S. developed its own procedure coding system (ICD-9-CM, Volume 3)
15   for inpatient hospital services in the late 1970’s to use with ICD-9-CM, Volumes 1 and 2 for
16   diagnoses. Since 1979, procedures performed in hospitals have been coded for hospital statistics
17   and on hospital claims, using ICD-9-CM, Vol. 3 and the ICD-9 standard is managed under the
18   authority of the NCVHS. NCVHS is authorized under Section 306(k) of the Public Health Service
19   Act, as amended, and codified at Title 42, Chapter 6A, Subchapter II, Part A, § 242k. The
20   Committee is governed by provisions of Public Law 92-463, as amended, (5 U.S.C. App. 2), which
21   sets forth standards for the formation and use of advisory committees. I cross-referenced the
22   numeric references to codes found in documents provided by counsel and compared them with
23   corresponding descriptive references to confirm descriptions of a medical procedure performed in
24   the inpatient setting and the cost of those procedures locally and nationally, the coverage
25   determinations and reimbursement rates under the patient’s health plan, and Medicare
26   reimbursement rates. The ICD-9 diagnosis code(s) and correlated ICD-9 procedure codes are


     3 The World Health Organization (WHO) is the authoritative body that directs and coordinates


     international health within the United Nations’ system. The World Health Assembly is the
     supreme decision-making body for WHO. WHO generally meets in Geneva in May each year, and
     is attended by delegations from all 194 Member States including the United States. Source:
     http://www.who.int/governance/en/


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 1   examined for reasonableness and peer-reviewed by an AHIMA4 certified coder under my direction
 2   and control. Any procedures rendered after October 1, 2015 may contain ICD-10 diagnosis codes
 3   and ICD-10 PCS procedure codes for inpatient procedures only.
 4
 5       Current Procedural Terminology (“CPT”) codes for outpatient procedures and professional
 6       fees charged by physicians - Some outpatient medical patient records if applicable, contain
7        CPT procedure codes, (Current Procedural Terminology or CPT®5 codes and descriptions).
8        The ICD-9 (see below) diagnosis code(s) correlated with the CPT-4 procedure codes are
 9       examined for reasonableness and peer-reviewed by an AAPC63 certified coder under my
10       direction and control.
11

12   Outpatient Prospective Payment System (OPPS), Medicare GAF
13
14       Some types of procedures are adjusted geographically for local markets using U.S. Office of
15       Management and Budget (OMB) statistical data adjusted annually for wage indices using
16       Medicare Geographic Adjustment Factors (MGAF). In 2007, payment for the technical
17       component (TC) portion of a radiology service was limited to the lesser of the Medicare
18       Physician Fee Schedule (MPFS) amount or the Outpatient Prospective Payment System (OPPS)
19       amount. Effective January 1, 2012, CMS applied a 25 percent payment reduction for the
20       professional component (PC) of second and subsequent imaging services furnished by the same
21       provider including physicians in a group practice to the same patient in the same session on the
22       same day. The basis for MPFS in determining the value of work is 42 CFR Parts 405, 410,
23       411, 414, 423, and 425.
24

25   National Percentile Levels to Establish Customary Medical Charges
26
27   In order to adjust the national average to specific geographic areas, geographic adjustment factors
28   have been calculated by taking the difference from the national average for each service area across


     4 AHIMA – The American Health Information Management Association is an accepted standards


     education and certification organization for medical coder certification, especially for inpatient
     coding.

     5 CPT is a registered trademark of the American Medical Association (AMA)

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 1   all service areas for each geographic area. Averages of charges were then taken across the service
 2   areas and percentiles (50th, 75th and 90th) to create one overall difference from the national average.
 3   This amount is an aggregated estimate and individual procedure codes may not reflect this
 4   difference from the national average. These GAFs were developed by Optum using FAIR Health,
 5   Inc. data.
 6
 7   I used charges at the 50th percentile, (50% of charges are below this rate; 50% of charges are at or
 8   above this rate) and 75th percentile (75% of charges are below this rate; 25% of charges are at or
 9   above this rate). The reason for the 50th percentile level is that it is a relatively low amount
10   matching Medicaid pricing for contracted providers. In my opinion this Plaintiff, if a U.S. citizen
11   current house hold income would potentially be a Medicaid insured. If the Plaintiff was insured by
12   other sources, then the percentile charges would be higher at a maximum amount in my opinion of
13   75th percentile. Texas Medicaid rates include a broad spectrum of the population with household
14   incomes from zero to 133% of the Federal Poverty Level (FPL) calculated as Modified Adjusted
15   Gross income (MAGI). 64
16
17   Medi-Cal rates at the 50th percentile lag substantially behind commercial payor rates. 65
18
19   Ambulatory Patient Classification (APC)
20
21   APCs are an outpatient prospective payment system applicable only to ambulatory surgery centers
22   (ASCs). To be deemed an ASC the center must operate,
23
24       “...independently or as hospitals, and have no impact on physician payments under the
25       Medicare Physician Fee Schedule.” Additionally, according to the U.S. HHS Centers for
26       Medicare and Medicaid, “… an ASC is a distinct entity that operates exclusively for the
27       purpose of furnishing surgical services to patients who do not require hospitalization and in
28       which the expected duration of services does not exceed 24 hours following admission. This
29       definition applies to the ASC no matter who the payor is for the ASC’s services. Additionally,
30       services to Medicare patients are not expected to require active medical monitoring at midnight
31       when furnished in an ASC (see discussion in the ASC Payment section on pages 2 through 4).
32       You must be certified as meeting the requirements for an ASC and enter into an agreement with
33       the Centers for Medicare & Medicaid Services (CMS) to be eligible for Medicare payment. An
34       ASC can be either:
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 1       •   Independent (not part of a provider of services or any other facility); or
 2       •   Operated by a hospital (under the common ownership, licensure, or control of a
 3       hospital). An ASC operated by a hospital must meet additional criteria (See ICN 006819
 4       December 2015 on the CMS website) 66 including Ambulatory Surgical Center Conditions for
 5       Coverage and Associated Interpretive Guidelines for Medicare Certification.
 6
 7   ... If the patient is admitted from a hospital clinic or ED, then there is no APC payment, and
 8   Medicare will pay the hospital under inpatient DRG methodology.
 9   In most cases, the unit of payment under the OPPS is the APC. CMS assigns individual services
10   (Healthcare Common Procedure Coding System [HCPCS] codes) to APCs based on similar clinical
11   characteristics and similar costs. The payment rate and copayment calculated for an APC apply to
12   each service within the APC. Sometimes new services are assigned to New Technology APCs,
13   which are based on similarity of resource use only, until cost data are available to permit
14   assignment to a clinical APC. The payment rate for a New Technology APC is set at the midpoint
15   of the applicable New Technology APC’s cost range. Some services are paid separately, including
16   but not limited to:
17              o   Many surgical, diagnostic, and nonsurgical therapeutic procedures;
18              o   Blood and blood products;
19              o   Most clinic and emergency department visits;
20              o   Some drugs, biologicals, and radiopharmaceuticals;
21              o   Brachytherapy sources;
22              o   Corneal tissue acquisition costs; and
23              o   Certain preventive services.
24   Partial hospitalization is paid on a per diem basis, with payment rates dependent on the number of
25   individual services provided to the patient in one day67.
26
27   Professional Components, Technical Components, Relative Value Units

28       Where applicable for imaging services, charges are split into technical and professional
29       components (the TC and PC), each separately billable68.

30       A relative value is a numeric ranking assigned to a procedure relating it to other procedures in
31       terms of the time, work and costs associated with the procedure. The Medicare relative value
32       units are based on the Resource Based Relative Value Scale (RBRVS) update and published

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 1       yearly by CMS. The total value is the sum of three components: a work value, a practice
 2       expense (PE) value, and a malpractice (MP) expense value. The PE value has been further
 3       subdivided into a facility value and a non-facility value. The basis for RVUs in determining the
 4       value of work is 42 CFR Parts 405, 410, 411, 414, 423, and 425.

 5       The RVU ratio between TC and PC can vary by type of diagnostic image, and the ratios are
 6       published by the Centers for Medicare and Medicaid.

 7       The PC is indicated in claims using a “Modifier 26.” Certain procedures are a combination of a
 8       physician or other qualified health care professional component and a technical component.
 9       When the physician or other qualified health care professional component is reported
10       separately, the service may be identified by adding modifier 26 to the usual procedure number
11       or CPT code69.
12
13   Authoritative Economic, Scientific and Standards Organizations for CPT, ICD
14

15   Current Procedural Terminology or CPT Codes for Outpatient Procedures
16
17   Current Procedural Terminology or CPT® codes and descriptions, are copyrights of the American
18   Medical Association Current Procedural Terminology (CPT®), Fourth Edition, is a standardized
19   listing of descriptive terms and identifying codes for reporting medical services and procedures.
20   The purpose of CPT is to provide a uniform language that accurately describes medical, surgical,
21   and diagnostic services, and thereby serves as an effective means for reliable nationwide
22   communication among physicians and other healthcare providers, patients, and third parties70.
23
24   CPT was first developed by the AMA in 1966 and is used for the billing of physician services and
25   non-inpatient medical procedures in the U.S. The current version, CPT-4 is maintained by the
26   AMA and is an accepted standard by the National Committee on Vital Statistics or NCVHS71.
27   NCVHS is authorized under Section 306(k) of the Public Health Service Act, as amended, and
28   codified at Title 42, Chapter 6A, Subchapter II, Part A, § 242k. The Committee is governed by
29   provisions of Public Law 92-463, as amended, (5 U.S.C. App. 2), which sets forth standards for the
30   formation and use of advisory committees. I cross-referenced the numeric references to codes
31   found in documents provided by counsel and compared them with corresponding AMA references
32   to confirm descriptions of a medical procedure performed in the outpatient setting and the cost of

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 1   those procedures locally and nationally, the coverage determinations and reimbursement rates
 2   under the patient’s health plan, and Medicare reimbursement rates.
 3
 4   The CPT Editorial Panel is tasked with ensuring that CPT codes remain up to date and reflect the
 5   latest medical care provided to patients. In order to do this, the Panel maintains an open process
 6   and convenes meetings three times per year to solicit the direct input of practicing physicians,
 7   medical device manufacturers, developers of the latest diagnostic tests, and advisors from over 100
 8   societies representing physicians and other qualified healthcare professionals.

 9   International Classification of Diseases (ICD) for all diagnoses and inpatient procedures
10
11   Methodology for Analysis of Duplicate Claims
12
13   The Claim files were first analyzed for what the Government alleges are “suspect” procedures
14   designated by CPT codes as delineated in the Government’s indictment.
15
16   Although in my opinion there are mitigating circumstances as to whether these are all suspect
17   procedures, I checked the Government’s methodology and calculations first.
18
19   Therefore, any claim that contained CPT codes below were flagged as “Suspect” CPT codes:
20
21       1. 93025 - Microvolt T-wave alternans for assessment of ventricular arrhythmias
22
23       2. 93229 - External mobile cardiovascular telemetry with electrocardiographic recording,
24          concurrent computerized real time data analysis and greater than 24 hours of accessible
25          ECG data storage (retrievable with query) with ECG triggered and patient selected events
26          transmitted to a remote attended surveillance center for up to 30 days; technical support for
27          connection and patient instructions for use, attended surveillance, analysis and transmission
28          of daily and emergent data reports as prescribed by a physician or other qualified health
29          care professional 72
30
31       3. 93271 - External patient and, when performed, auto activated electrocardiographic rhythm
32          derived event recording with symptom-related memory loop with remote download
33          capability up to 30 days, 24-hour attended monitoring; transmission and analysis

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 1
 2       4. 95806 - Sleep study, unattended, simultaneous recording of, heart rate, oxygen saturation,
 3          respiratory airflow, and respiratory effort (e.g., thoracoabdominal movement
 4
 5       5. 95827 - Electroencephalogram (EEG); all night recording
 6
 7   The totals were obtained for the amount billed and paid for these Claims flagged as “suspect”.
 8
 9   The Claims were then analyzed for Duplicate Claims. All “Suspect” Claims were excluded to
10   avoid counting these claims twice. Any claim that had the same Patient ID, date of service and
11   CPT codes were identified as a duplicate Claim. The totals were obtained for the Amount Billed
12   and Amount Paid for the Duplicates.
13
14   The Unpaid Claims were identified by first excluding all “Suspect” Claims and Duplicate Claims.
15   The remaining claims were investigated for claims that were submitted but not paid (the paid
16   amount = 0). These claims were summed to find the total of Unpaid Claims.
17
18




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 1   Methodology for Unpaid Claims Analysis
 2
 3
 4       1. Overview of Claims date reviewed
 5          Claims data was provided by the Government to counsel for Mirando who provided them
 6          for the analysis.
 7          Claims data was received for the following payors:
 8              •   Aetna,
 9              •   Anthem,
10              •   BCBS,
11              •   Blue Choice,
12              •   Cigna,
13              •   Coventry,
14              •   Emblem,
15              •   GEHA,
16              •   HealthFirst,
17              •   Highmark,
18              •   Humana,
19              •   IHC Health Solutions,
20              •   Independent Blue Cross,
21              •   Independent Health,
22              •   Kaiser,
23              •   Medicare,
24              •   Premera Blue Cross,
25              •   TriCare,
26              •   United Health Care,
27              •   Wellcare Health
28              •   XL Health
29              •   Medicare.
30
31




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1
2        2. The following table lists the total amount billed and total amount paid for each health
3             insurer, including valid claims.
4
                                                          Total Claims
       Insurance Company                                  Billed                  Paid
       Aetna Life Insurance Company                               $1,792,645.32           $462,666.82
       Anthem Inc/ Anthem Blue Cross/WellPoint                    $1,725,696.00           $403,490.05
       BCBS 2005 -2008                                                $9,253.00             $4,222.84
       Blue Choice                                                   $26,778.00            $12,195.85
       Blue Cross Blue Shield of Alabama                            $227,549.00           $125,054.87
       BCBS of Arkansas (Claim file Password Protected)
       Blue Cross Blue Shield of Florida                            $39,862.85              $8,908.92
       Blue Cross Blue Shield of Hawaii                              $3,642.00              $1,723.00
       Blue Cross Blue Shield of Minnesota                          $30,162.00             $14,825.49
       Blue Cross Blue Shield of New Jersey                         $33,162.00             $10,847.90
       Blue Cross & Blue Shield of Rhode Island                     $24,909.00             $11,989.48
       Blue Cross Blue Shield of South Carolina                     $98,818.00             $38,667.13
       Cigna                                                       $872,327.36            $285,388.72
       Coventry Health Care                                         $74,263.00             $26,692.50
       Emblem Health                                                $52,730.84              $9,235.84
       GEHA                                                         $37,682.00             $15,138.21
       Healthfirst                                                  $18,695.00                 $83.84
       Highmark Blue Cross                                         $391,777.00            $185,592.49
       Humana                                                    $1,598,745.03            $389,215.50
       IHC Health Solutions                                          $2,710.00                $427.00
       Independence Blue Cross                                     $193,696.00             $82,103.25
       Independent Health                                          $175,400.00            $123,659.32
       Kaiser Permanente                                             $7,792.00              $5,432.59
       Medicare thru 4/17/2016)                                    $983,390.00            $352,300.34
       Premera Blue Cross                                           $28,030.00              $8,343.73
       Tricare (Claim file Password Protected)
       United Health Group (Optum)                               $4,039,106.06           $1,322,595.28
       WellCare Health Plans, Inc.                                  $14,285.00               $6,231.34
       XL Health                                                    $15,953.50               $8,191.94

                               Total                            $12,519,059.96           $3,915,224.24
5
6    Findings:
 7                a. The Government data that was produced does not represent all claims submitted by
 8                   Holter Labs, only those claims for that period that the Government determined
 9                   relevant for its investigation and Indictment.
10
11                b. The Government’s determination of total claims by payor from January 4, 2005
12                   through March 2016 are:73
13


                                                                                                         72
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                                                          Sum of Billed    Sum of Paid
                         Insurance Company                    Amount          Amount
                         AETNA                            $1,681,855.44     $437,492.41
                         Anthem Blue Cross/WellPoint      $1,260,463.00     $326,071.53
                         BCBS of Alabama                   $227,504.00      $124,913.29
                         BCBS of Arkansas                     $7,090.00       $3,034.60
                         BCBS of Florida                    $34,155.90        $8,822.97
                         BCBS of Hawaii                       $3,926.00       $2,021.07
                         BCBS of Minnesota                  $24,347.00       $12,984.33
                         BCBS of New Jersey                 $33,162.00       $10,847.90
                         BCBS of Rhode Island               $22,644.00       $11,989.48
                         BCBS of South Carolina             $98,818.00       $38,667.13
                         Cigna                             $920,076.62      $300,576.52
                         Coventry Health                    $46,906.00       $19,876.51
                         Emblem Health                      $44,710.84        $9,113.12
                         GEHA                               $37,682.00       $15,138.21
                         Healthfirst                        $18,075.00        $6,322.26
                         Highmark Blue Cross               $391,777.00      $185,267.49
                         Humana                           $1,031,990.95     $284,422.29
                         IHC Health Solutions                 $8,980.00       $1,666.11
                         Independence Blue Cross           $186,588.00       $83,388.42
                         Independent Health                $237,068.00      $161,428.50
                         Kaiser Permanente                  $19,501.00       $11,302.93
                         Premera Blue Cross                 $28,030.00        $8,343.73
                         Tricare                           $289,901.00      $112,230.68
                         United Health Group              $3,631,111.68   $1,314,383.06
                         Wellcare                           $14,285.00        $6,231.34
                         XL Health                          $15,858.50        $8,139.29
                         (blank)
                         Grand Total                     $10,316,506.93   $3,504,675.17
1
2




                                                                                            73
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 1
 2       3. The five CPT codes considered to be potential fraud by the US will be referred to as
 3          “suspect” CPT codes:
 4
 5          93025 Microvolt T-wave alternans for assessment of ventricular arrhythmias
 6
 7          93229 External mobile cardiovascular telemetry with ECG recording, technical support for
 8                  connection and patient instruction for use, attended surveillance, analysis and
 9                  physician prescribed transmission of daily and emergent data reports.
10
11          93271 External patient and, when performed, auto activation ECG rhythm derived event
12                  recording with symptom related memory loop with remote download capability up
13                  to 30 da. 24-hour attended monitoring, includes transmission and analysis
14
15          95806 Sleep study, unattended, simultaneous recording of heart rate, oxygen saturation,
16                  respiratory airflow, and respiratory effort
17
18          95827 Electoencephalogram, all night recording
19




                                                                                                      74
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 1
 2
 3       4. Summary of Claims by CPT Code
 4
 5             For each health insurer, the claims data was further analyzed by looking at the CPT codes
 6             for the claims listed.
 7             For example, the Anthem the total claims for each CPT are listed below:
 8
                          CPT                 Amount Billed    Amount Paid
       Anthem                    93025            $5,774.00         $685.07
                                 93271          $206,715.00      $58,417.86
                                 95806            $5,675.00       $2,043.03
                                 95827           $94,375.00      $28,806.72


       Total                                    $312,539.00      $89,952.68
 9
10             Some Claim Files obtained contained only the CPT codes considered suspect and exclude
11             appropriately billed claims.
12
13       5. The Claims files were analyzed for total of “suspect” CPT codes. For each claim file the
14             total amount billed and paid from the “suspect” CPT codes was calculated. The totals for all
15             claims data of “suspect” CPT codes:
16
17             Total Amount Billed “suspect’ CPT Codes             $8,254,859.72
18             Total Amount Paid “suspect’ CPT Codes               $2,930,852.64
19




                                                                                                           75
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 1       6. Claims were analyzed for Duplicate Claims. A claim is considered a duplicate claim if the
 2          date of service and CPT code for the patient are the same. This excludes the “suspect”
 3          CPT Codes. The total duplicate claims for all files:
 4          Total Amount Duplicates Billed                            $835,865.73
 5          Total Amount Duplicates Paid                                $12,419.76
 6




 7
 8                                       Figure 15 - Unpaid claims analysis

 9       7. Unpaid Claims were identified in the Claims data. After excluding the CPT codes
10          considered “suspect” and excluding Duplicate Claims, Claims that were submitted but not
11          paid were identified. For all Claims files the total amount of unpaid Claims is
12          $1,339,180.04. This total is the sum obtained from all insurers. Each claim file was
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      Rebuttal
     Case
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 1          examined and claims with non-suspect” CPT codes were identified.         Any duplicate claims
 2          were eliminated. A total of unpaid claims for each insurer was found by identifying the
 3          remaining claims that were billed but not paid.
 4          The Unpaid Claims by insurer:
 5
 6          As previously noted some claims files only contain the CPT codes under investigation,
 7          these files do not contain the correctly billed data from that insurer. There may be unpaid
 8          claims that have been excluded by not including all CPT codes in the claims data. The
 9          Unpaid claims total is underestimated because of the omission of correctly billed claims.
10
11       8. Detailed claim analysis was performed on four individuals.
12
13          a. The patient J. Hattrup was interviewed on 4/11/14 regarding his heart monitoring in
14              2011. He remembers wearing a heart monitor. He also remembers visiting a
15              neurologist for testing at some point in time which was not specified.
16
17          The United Health Care claims for the patient Hattrup were identified. The dates of Service
18          listed on the claims are 4/11/11, 4/12/11, 4/15/11, 4/18/11 and 4/21/11.
19




20
21                                  Figure 16 - Summary of Hattrup Claims Analysis

22

                                                                                                          77
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      Rebuttal
     Case
       Case    Expert Report Regarding
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 1
 2
 3          b. The patient S.R. Foster (Sixtos) was interviewed on 4/14/14 regarding her heart
 4              monitoring. She remembers wearing a cardiac monitor for approximately two weeks
 5              during her pregnancy in 2008/2009. She could not recall wearing a cardiac monitor in
 6              2011. The Cigna claims for Foster include 4 dates of service: 8/10/11, 8/11/11, 8/18/11
 7              and 8/24/11.
 8




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10




                                                                                                     78
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1
2          c. The patient M. Bennett was interviewed on 4/14/14 regarding her cardiac monitoring.
3              She remembered wearing a cardiac monitor but could not recall the date. It was placed
4              on at her physician’s office on a Friday and she took it off on Sunday and returned it to
5              her physician’s office on Monday. She recalls wearing the device while she slept.
6          The United Health Care claims for M. Bennett include four dates of service: 12/2/12,
7          12/4/12, 12/6/12 and 12/10/12.




8
9




                                                                                                      79
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      Rebuttal
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 1
 2          d. The patient L Solmor was interviewed on 4/14/14 regarding her cardiac monitoring.
 3              She recalled wearing the monitor and estimated the date to be around June 2013. She
 4              stated she wore it for 24 hours and followed up with a cardiologist 6 months later. The
 5              Aetna claims for L Solmor include two dates of service: 5/29/13 and 5/30/13.
 6
 7




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 9
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12                                      CONTINUED NEXT PAGE

13




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      Rebuttal
     Case
       Case    Expert Report Regarding
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 1   Exhibit C – Test Results
 2
 3   Mathematical Errors in Government Presentencing Information Report
 4
 5   The government presented a list of Counts 1- 14 for fraud. I analyzed the counts, added up the
 6   totals and compared them to my own calculations which included a review of each and every
 7   claim. The presentencing report appears to rely on other calculations I do not have that may have
 8   been performed by the FBI or others and then given to the author of the PIR / PSR. Paragraph 20
 9   of the PSR states, “
10   Information pertaining to the offense was obtained from the Indictment, the trial memoranda, and
11   materials provided by the United States Attorney’s office.” The government’s error rate was 6% to
12   26% as follows:
13
14
15
16
17
18                                      CONTINUED NEXT PAGE




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            Count 1 charges that on April 18, 2011, Mirando caused a $325 false claim to be submitted to                  $   325.00
            UnitedHealthcare (United) for services purportedly provided to beneficiary J.H. on April 11, 2011, in
            violation of 18 U.S.C. §§ 1347, 2(b).
            Count 2 charges that on May 16, 2011, Mirando caused a $695 false claim to be submitted to United for         $   695.00
            services purportedly provided to beneficiary J.H. on April 12, 2011, in violation of 18 U.S.C. §§ 1347, 2(b).
            Count 3 charges that on June 13, 2011, Mirando caused a $695 false claim to be submitted to United for        $   695.00
            services purportedly provided to beneficiary J.H. on April 15, 2011, in violation of 18 U.S.C. §§ 1347, 2(b).
            Count 4 charges that on July 18, 2011, Mirando caused a $950 false claim to be submitted to United for        $   950.00
            services purportedly provided to beneficiary J.H. on April 18, 2011, in violation of 18 U.S.C. §§ 1347, 2(b).
            Count 5 charges that on July 18, 2011, Mirando caused a $950 false claim to be submitted to United for        $   950.00
            services purportedly provided to beneficiary J.H. on April 21, 2011, in violation of 18 U.S.C. §§ 1347, 2(b).
                                                      Subtotal Beneficiary J.H.                                                        $ 3,615.00

            Count 7 charges that on November 22, 2011, Mirando caused a $695 false claim to be submitted to Cigna        $    695.00
            for services purportedly provided to beneficiary S.F. on August 11, 2011, in violation of 18 U.S.C. §§ 1347,
            2(b).
            Count 8 charges that on November 22, 2011, Mirando caused a $595 false claim to be submitted to Cigna        $    595.00
            for services purportedly provided to beneficiary S.F. on August 18, 2011, in violation of 18 U.S.C. §§ 1347,
            2(b).
            Count 9 charges that on December 15, 2011, Mirando caused an $845 false claim to be submitted to Cigna $          845.00
            for services purportedly provided to beneficiary S.F. on August 24, 2011, in violation of 18 U.S.C. §§ 1347,
            2(b).
                                                     Subtotal Beneficiary S.F.                                                         $ 2,135.00
            Count 10 charges that on December 10, 2012, Mirando caused a $325 false claim to be submitted to United       $   325.00
            for services purportedly provided to beneficiary M.B. on December 3, 2012, in violation of 18 U.S.C. §§
            1347, 2(b).
            Count 11 charges that on January 11, 2013, Mirando caused a $990 false claim to be submitted to United for    $   990.00
            services purportedly provided to beneficiary M.B. on December 4, 2012, in violation of 18 U.S.C. §§ 1347,
            2(b).
            Count 12 charges that on January 11, 2013, Mirando caused an $845 false claim to be submitted to United       $   845.00
            for services purportedly provided to beneficiary M.B. on December 6, 2012, in violation of 18 U.S.C. §§
            1347, 2(b).
            Count 13 charges that on February 6, 2013, Mirando caused an $895 false claim to be submitted to United       $   895.00
            for services purportedly provided to beneficiary M.B. on December 10, 2012, in violation of 18 U.S.C. §§
            1347, 2(b).
                                                     Subtotal Beneficiary M.B.                                                         $ 3,055.00
            Count 14 charges that on June 6, 2013, Mirando caused a $325 false claim to be submitted to Aetna for         $   325.00
            services purportedly provided to beneficiary L.S. on May 29, 2013, in violation of 18 U.S.C. §§ 1347, 2(b).
            Count 15 charges that on July 9, 2013, Mirando caused a $790 false claim to be submitted to Aetna for         $   790.00
            services purportedly provided to beneficiary L.S. on May 30, 2013, in violation of 18 U.S.C. §§ 1347, 2(b).
1                                                    Subtotal Beneficiary L.S.                                                         $ 1,115.00
2                                        Figure 17 - Analysis of PSR / PIR Counts 1-15 of Fraud

3   Next I compared the totals with those from my independent analysis:
4




                                                                                                                                         82
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      Government Fraud Counts vs. Arrigo Calculations
                              Government                                        Arrigo Analysis
                                    No of Claims                                                            Gov.: No of
                      Presentencing                          Governmen
                                    Analyzed for Difference               Total Billed Total Paid            Claims by
                       Info. Report                          t Error Rate
                                    Each Insured                                                            Analyzed by
      Hattrup          $ 3,615.00        69      -$   225.05      -6%     $ 3,840.05 $ 3,540.00                  69
      Foster (Sixtos) $ 2,135.00         12      -$   550.00     -26%     $ 2,685.00 $        747.60             12
      Bennett         $ 3,055.00         49                       0%      $ 3,055.01 $ 1,089.01                  49
      Solmor          $ 1,115.00          7                        0%     $ 1,115.00 $        133.75             7

      Total          $ 9,920.00        137       -$    775.06        -8%       $ 10,695.06 $     5,510.36      137


 1    Total Claims in Data Produced by Government                                                             31,760
 2                           Figure 18 - Comparison of Government Fraud Counts vs. Arrigo Analysis.

 3
 4   This analysis with respect to “Arrigo Analysis” columns was developed by evaluating each of the
 5   137 claims as follows:
 6
 7   Claims were evaluated based on the Government’s criteria of ‘suspect,’ unable to perform and
 8   duplicate and checked for assumptions.
 9
10   Insured Hattrup’s data is as follows which ties to my analysis and differs from the Government’s
11   analysis:
12
13
14
15
16                                           CONTINUED NEXT PAGE
17




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      Claim History from United Health Group for J.Hattrup
     PAT_L_NAME PAT_F_NAME DOS_BEGIN CLAIM                     LINE       DX1         DX1_DESCR        CPT CPT_DESCR                        UNITS      AMTCHG        AMTPAID      Valid Per US
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               -1 -$   325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    325.00   $   325.00       Yes
     HATTRUP       JOHN              4/11/11    283578669201          3         78650 CHEST PAIN U   93799 CARDIOVASCULAR PROCEDURE                  1 $    325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          3         78650 CHEST PAIN U   93799 CARDIOVASCULAR PROCEDURE                 -1 -$   325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          3         78650 CHEST PAIN U   93799 CARDIOVASCULAR PROCEDURE                  1 $    325.00   $   325.00       Yes
     HATTRUP       JOHN              4/11/11    283578669201          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 -1 -$   325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $      -
     HATTRUP       JOHN              4/11/11    283578669201          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $   325.00
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT              1 $      0.01   $      -
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   93271 ECG/MONITORING AND ANALYSIS               1 $    695.00   $      -
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   93271 ECG/MONITORING AND ANALYSIS              -1 -$   695.00   $      -
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   93271 ECG/MONITORING AND ANALYSIS               1 $    695.00   $   695.00
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT              1 $      0.01   $      -
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               -1 -$   295.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    295.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    295.00   $   295.00
     HATTRUP       JOHN              4/15/11    288563029501          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    400.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 -1 -$   400.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    400.00   $   400.00
     HATTRUP       JOHN              4/15/11    288563029501          3         78650 CHEST PAIN U   95921 AUTONOMIC NERV FUNCTION TEST              1 $    225.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          3         78650 CHEST PAIN U   95921 AUTONOMIC NERV FUNCTION TEST             -1 -$   225.00   $      -
     HATTRUP       JOHN              4/15/11    288563029501          3         78650 CHEST PAIN U   95921 AUTONOMIC NERV FUNCTION TEST              1 $    225.00   $   225.00
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT              1 $      0.01   $      -
     HATTRUP       JOHN               4/18/11   291903650901          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                  -1 -$   325.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                   1 $    325.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                   1 $    325.00   $   325.00
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               -1 -$   300.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    300.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    300.00   $   300.00
     HATTRUP       JOHN               4/18/11   291903650901          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 -1 -$   325.00   $      -
     HATTRUP       JOHN               4/18/11   291903650901          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $   325.00
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT              1 $      0.01   $      -
     HATTRUP       JOHN              4/21/11    291903650801          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                   1 $    325.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                  -1 -$   325.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                   1 $    325.00   $   325.00
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               -1 -$   300.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    300.00   $   300.00
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS                1 $    300.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 -1 -$   325.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                  1 $    325.00   $   325.00
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT              1 $      0.01   $      -

                                                                                                                                                       $ 4,490.05 $ 4,490.00

      Claim History from United Health Group for J.Hattrup
     PAT_L_NAME PAT_F_NAME DOS_BEGIN CLAIM                     LINE       DX1         DX1_DESCR        CPT CPT_DESCR                        UNITS      AMTCHG        AMTPAID      Valid Per US
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               1 $     325.00   $   325.00       Yes
     HATTRUP       JOHN              4/11/11    283578669201          3         78650 CHEST PAIN U   93799 CARDIOVASCULAR PROCEDURE                 1 $     325.00   $   325.00       Yes
     HATTRUP       JOHN              4/11/11    283578669201          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 1 $     325.00   $   325.00
     HATTRUP       JOHN              4/11/11    283578669201          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT             1 $       0.01   $      -
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   93271 ECG/MONITORING AND ANALYSIS              1 $     695.00   $   695.00
     HATTRUP       JOHN               4/12/11   285937578601          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT             1 $       0.01   $      -
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               1 $     295.00   $   295.00
     HATTRUP       JOHN              4/15/11    288563029501          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 1 $     400.00   $   400.00
     HATTRUP       JOHN              4/15/11    288563029501          3         78650 CHEST PAIN U   95921 AUTONOMIC NERV FUNCTION TEST             1 $     225.00   $   225.00
     HATTRUP       JOHN              4/15/11    288563029501          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT             1 $       0.01   $      -
     HATTRUP       JOHN               4/18/11   291903650901          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                  1 $     325.00   $   325.00
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               1 $     300.00   $   300.00
     HATTRUP       JOHN               4/18/11   291903650901          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 1 $     325.00   $   325.00
     HATTRUP       JOHN               4/18/11   291903650901          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT             1 $       0.01   $      -
     HATTRUP       JOHN              4/21/11    291903650801          3         78650 CHEST PAIN U   93025 MICROVOLT T-WAVE ASSESS                  1 $     325.00   $   325.00
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   93226 ECG MONITOR/REPORT, 24 HRS               1 $     300.00   $      -
     HATTRUP       JOHN              4/21/11    291903650801          2         78650 CHEST PAIN U   95827 EEG, ALL NIGHT RECORDING                 1 $     325.00   $   325.00
     HATTRUP       JOHN              4/21/11    291903650801          1         78650 CHEST PAIN U   J8499 PRSC RX ORAL NONCHEMOTHAPEUT             1 $       0.01   $      -

                                                                                                                                                       $ 4,490.05 $ 4,190.00

1                                                                                                         Alleged Fraud ( Total - Valid )              $ 3,840.05 $ 3,540.00
2                                        Figure 19 - Supporting detail of Hattrup claims analysis (L.H.) vs. PSR Count analysis

3
4




                                                                                                                                                                                            84
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      Rebuttal
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 1
 2   I performed the same analysis for patient / insured Foster (Sixtos)
 3
      Member Last Member FirstMember NumFirst Service DProcedure Code DESCRIPTION                            Charge Amo Eligible Char Paid AmountValid per US
      FOSTER      STACEY      56991508601    8/10/11 93226            "ECG MONITOR/REPORT, 24 HRS"           $ 100.00 $       60.00 $        -        Yes
      FOSTER      STACEY      56991508601    8/10/11 93799            CARDIOVASCULAR PROCEDURE               $ 325.00 $ 325.00 $             -        Yes
      FOSTER      STACEY      56991508601    8/10/11 95827            NIGHT ELECTROENCEPHALOGRAM             $ 325.00 $ 195.00 $             -
      FOSTER      STACEY      56991508601    8/11/11 93271            ECG/MONITORING AND ANALYSIS            $ 695.00 $ 417.00 $ 250.20
      FOSTER      STACEY      56991508601    8/18/11 93226            "ECG MONITOR/REPORT, 24 HRS"           $ 195.00 $ 117.00 $             -
      FOSTER      STACEY      56991508601    8/18/11 95827            NIGHT ELECTROENCEPHALOGRAM             $ 400.00 $ 240.00 $ 112.20
      FOSTER      STACEY      56991508601    8/18/11 95921            AUTONOMIC NERV FUNCTION TEST           $ 225.00 $ 135.00 $           81.00
      FOSTER      STACEY      56991508601    8/24/11 93025            MICROVOLT T-WAVE ASSESS                $ 325.00 $ 195.00 $ 117.00
      FOSTER      STACEY      56991508601    8/24/11 93226            "ECG MONITOR/REPORT, 24 HRS"           $ 195.00 $ 117.00 $           70.20
      FOSTER      STACEY      56991508601    8/24/11 95827            NIGHT ELECTROENCEPHALOGRAM             $ 325.00 $ 195.00 $ 117.00

                                                                       Totals                                $ 3,110.00                    $    747.60


 4                                                                     Alleged Fraud ( Total - Valid )       $ 2,685.00                    $    747.60
 5   Figure 20 - Supporting detail of analysis of claims for Foster (Sixtos)

 6   Next, I performed the same analysis for patient / insured Bennett
 7
      DX1         DX1_DESCR      DX2         CPT            CPT_DESCR                                    UNITS       AMTCHG            AMTPAID           Valid Per US
             7851 PALPITATION                      93226 ECG MONITOR/REPORT, 24 HRS                               1 $     195.00       $        96.53        Yes
             7851 PALPITATION                      93799 CARDIOVASCULAR PROCEDURE                                 1 $     195.00       $        96.53        Yes
             7851 PALPITATION                      95827 EEG, ALL NIGHT RECORDING                                 1 $     325.00       $       160.88
             7851 PALPITATION                      J8499 PRSC RX ORAL NONCHEMOTHAPEUTIC N                         1 $       0.01       $          -
             7851 PALPITATION                      93025 MICROVOLT T-WAVE ASSESS                                  1 $     395.00       $       213.30
             7851 PALPITATION                      93271 ECG/MONITORING AND ANALYSIS                              1 $     595.00       $       321.30
             7851 PALPITATION                      93025 MICROVOLT T-WAVE ASSESS                                  1 $     325.00       $          -
             7851 PALPITATION                      93226 ECG MONITOR/REPORT, 24 HRS                               1 $     195.00       $          -
             7851 PALPITATION                      95827 EEG, ALL NIGHT RECORDING                                 1 $     325.00       $          -
             7851 PALPITATION                      93226 ECG MONITOR/REPORT, 24 HRS                               1 $     100.00       $          -
             7851 PALPITATION                      95806 SLEEP STUDY UNATT&RESP EFFT                              1 $     395.00       $       195.53
             7851 PALPITATION                      95827 EEG, ALL NIGHT RECORDING                                 1 $     400.00       $       198.00

                                                            Total                                                    $ 3,445.01 $ 1,282.07

 8                                                          Alleged Fraud ( Total - Valid )                          $ 3,055.01 $ 1,089.01
 9   Figure 21 - Supporting detail of Bennett claims analysis vs. PSR Count analysis

10   Finally I performed the same analysis for patient / insured Solmor:
11
      Claim History from Aetna
      LAST_NM      FIRST_NM        SERVICE_DT    PRCDR_CD       MOD     PRCDR_CD_TEXT                            BILLED AMT      PAID AMT                Valid Per US

      SOLMOR       LISA                5/29/13        93226              ECG MONIT/REPRT UP TO 48 HRS $                 100.00     $        55.00            Yes
      SOLMOR       LISA                5/29/13        93799 TC           CARDIOVASCULAR PROCEDURE     $                 195.00     $       107.25            Yes
      SOLMOR       LISA                5/29/13        95827              NIGHT ELECTROENCEPHALOGRAM $                   325.00     $       133.75
      SOLMOR       LISA                5/30/13        93025              MICROVOLT T-WAVE ASSESS      $                 395.00     $          -
      SOLMOR       LISA                5/30/13        93271              ECG/MONITORING AND ANALYSIS $                  395.00     $          -

                                                                         Total                                    $ 1,410.00 $             296.00

                                                                         Alleged Fraud ( Total - Valid )          $ 1,115.00 $             133.75
12
13   Figure 22 - Supporting detail of patient Solmor vs. PSR Count analysis

14
15   Billed vs. Intended vs. Actual / Foreseeable Loss for “unable to perform” procedures
16

                                                                                                                                                                   85
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      Rebuttal
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 1   As noted earlier I found flaws and statistically invalid methods in the governments methodologies
 2   regarding ‘unable to perform’ for reasons:
 3
 4       1. The presumption that all procedures were performed with a device that was unable to
 5          perform the procedure based on the frequency as attested by a government witness was
 6          wrong when compared to FDA filings.
 7       2. The presumption that all procedures billed in the classification of ‘unable to perform’ were
 8          actually provided using the Datrix device in question, without any documentation proving
 9          conclusively that this device as used
10       3. A high error rate statistically invalid method yielding only 19% confidence based on a
11          limited sample size.
12       4. In addition, there were mathematical errors in the totals even if one accepts the
13          Governments logic in items 1-3 above. I determined arithmetic errors by dong the
14          following:
15   All codes from all payors were analyzed and summed to arrive at the following findings:
16
17       5. Of the accurately totaled $7.470 million in billings, the intended loss is $2.3 million using
18          the Governments’ methodology, times the payment to charge ratio for Holter Labs business
19          of 31%. Actual loss is $2.575 million using correct totals for the actual amount paid.
20       6. Because of a below industry standard 19% level of certainty it cannot be concluded what
21          the intended loss or actual loss are.
22




                                                                                                        86
      App. 256
      Rebuttal
     Case
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1
2    Figure 23 - Billed vs. Intended vs. Paid

3
4    Billed vs. Intended vs. Actual / Foreseeable Loss for “Duplicates”
5
6    As noted earlier I found flaws in the assumptions regarding what constitutes a fraudulent duplicate
7    vs. a re-billed claim or a duplicate of a portion of a claim that may be payable. Evaluating the
8    Government’s methodology to determine the mathematically correct value for ‘duplicates” I
9    evaluated every claim for all payors. The results were as follows:
10
11
12
13
                                                                                                        87
      App. 257
      Rebuttal
     Case
       Case    Expert Report Regarding
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 1   Observations:
 2       •   Mr. Mirando does not determine the clinical necessity of the services he provides, it is the
 3           responsibility of the physician to decide what specific study or studies are needed for the
 4           patient’s specific condition. In other words, Holter Labs is in the business of providing
 5           services that are ordered by physicians.
 6       •   Mr. Mirando should not bill for any studies other than those requested by the clinician. It is
 7           up to the clinician to document the evidence for the medical necessity of the study. It is not
 8           up to Mr. Mirando to determine the medical necessity of the study performed assuming it
 9           was requested by the clinician.
10       •   To prove fraud, records would need to be provided showing that services were performed
11           that were either:
12              o Not ordered by a physician
13              o Ordered by a physician but not medically necessary. In this case, the fraud would be
14                  committed by the physician who ordered the services that Holter Labs provides. Of
15                  approximately 150,000 dates of service over several years I was provided with less
16                  than ten (10) complete records of physician orders for specific patients. Even in
17                  those cases is not clear what device was used to perform the procedure.
18       •   Mr. Mirando is not a clinician and not trained to clinically interpret measures of cardiac
19           electrical activity, EEGs, vagal responses, sleep disorders or other interpretations of the
20           reports generated for clinicians who use his services.
21       •   Mr. Mirando provides his clients (generally primary care physicians) with cardiac monitor
22           devices that are used by the client as part of cardiac related evaluations that are deemed
23           medically necessary by the physician.
24       •   Mr. Mirando does not provide diagnostic interpretation but only the equipment and reported
25           data derived from the equipment.
26       •   Mr. Mirando does not provide any physical testing or evaluation of the patient directly.
27       •   Non-coverage of services various greatly from one payer to the next. Non-coverage or
28           denial does not imply fraud. Submission of a duplicate claim also does not imply fraud in
29           and of itself unless there is evidence that multiple claims with different IDs where
30           submitted for the same type of services and different dates of services that would be
31           inconsistent with the type of service rendered.

32


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      Rebuttal
     Case
       Case    Expert Report Regarding
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 1   Analysis of Alleged Fraud Proof Points from the Government
 2       1. Although there are over $7 million in fraudulent billings and over $2 million in alleged
 3          payments that were obtained fraudulently in the government’s data, the Government only
 4          provides complete detail on patient records and doctors’ orders for seven (7) patients.
 5          Based on the information available to me provided by counsel, the data is available for
 6          these patients and the respective alleged fraudulent amounts:




 7
 8       2. Of the approximate 31,761 separate billings produced by the Government, these seven (7)
 9          patients are the only ones where an audit trail is provided, and it omits all clinical records.
10          Holter Labs billed services since 2005 for 18,791 patients.74
11
12       3. This is equivalent to a sample size of (7 patients divided by 31,761 claims or 7/31761)
13          which equals two tenths of one percent of the data (0.02204%). This sample size would not
14          in my opinion be able to extrapolate to fraud for the majority of these claims, and would not
15          meet the test of ‘reasonable degree of certainty’ to which one would be held as an expert in
16          a civil trial (“…in a civil trial, a party may prevail with as little as 51 percent probability (a
17          preponderance))75 and certainly not meet the standard “beyond a reasonable doubt” in a
18          criminal trial. 76
19       4. It is not clear if the clinician requested additional services beyond the basic cardiac
20          monitoring or that any such studies in the evaluation and treatment of the patient. While
21          there appears to be a single order for 24-hour monitoring, multiple days of service with
22          different claims ids where billed for a variety of services. I do not have the documentation
23          to show whether the multiple 24-hour monitoring events were ordered or not ordered.
                                                                                                            89
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      Rebuttal
     Case
       Case    Expert Report Regarding
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 1          These orders occur within the space of 1 to 2 weeks’ time. I defer to a physician’s
 2          judgement as to whether it would be medically necessary to order multiple 24-hour
 3          monitoring in one to two weeks’ time.

 4          Assessment: A case could be made that the additional services beyond the standard ECG
 5          monitoring codes 93226 and 93232 where neither requested nor needed by the ordering
 6          clinician. Based on existing information it appears that multiple monitoring services where
 7          done on multiple days in a short period of time. This would not seem reasonable and there
 8          is no evidence that I can see that these services where ordered.

 9       5. The government states that it appears that the device(s) used did not have the ability to
10          provide remote access to data and nor the ability to provide patient externally activated
11          recordings over 30 days. My understanding is that the device stores data in a static
12          memory system and can be downloaded by the physician and sent to Holter Labs, therefore
13          both the remove capability and the capability to record data for over 30 days are possible.

14          Assessment: Government’s alleged fraud for the following services would be consider
15          cannot be considered inappropriate without more information which has not been provided,
16          specifically

17                  a. the physician’s order,
18                  b. the documentation of which device was used,
19                  c. the diagnostic report.

                93229      REMOTE 30-DAY ECG TECH SUPP
                           XTRNL PT ACTIVATED ECG REC DWNLD 30
                93271      DAYS

20       6. The Government states that equipment used does not appear to be able to provide EEG
21          capability required for a standard EEG assessment and patient interviewed reported there
22          were no cranial leads.

23          Assessment: If this is true, billing for the following service would be considered
24          inappropriate and could be considered fraudulently billed for all claims. However, I have no
25          data proving what device was used. Patients often do not remember what services were
26          performed a few weeks after receiving medical care. It is possible that given there were
27          four years elapsed time between these service dates and the patient interviews that they may
28          have forgotten, particularly if they had chronic (ongoing) symptoms and treatments. Again,

                                                                                                          90
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      Rebuttal
     Case      Expert Report Regarding
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 1           we have a sample size of only seven patients for 31,000 plus in medical claims, which is not
 2           a statistically valid sample.

                 95827     NIGHT EEG

 3       7. The equipment allegedly used allegedly does not appear to support the various respiratory
 4           and other component of a sleep study.

 5       Assessment: If this is true, billing for the following service would be consider inappropriate
 6       and could be considered fraudulently billed for all claims. However, I have no data proving
 7       what device was used.

 8

                 95806     SLEEP STUDY UNATT&RESP EFFT

 9

10       8. The equipment available does not appear to support micro T-wave assessment.

11       Assessment: If this is true, billing for the following service would be consider inappropriate
12       and could be considered fraudulently billed for all claims. However, I have no data proving
13       what device was used.

14

                 93025     MICROVOLT T-WAVE ASSESS

15

16       1. Cardiac autonomic testing requires a correlation between a physical maneuver observed by
17           the physician and a correlated ECG to determine the result. It allegedly does not appear the
18           current offering can provide this correlation. Assessment: If this is true, billing for the
19           following service would be consider inappropriate and could be considered fraudulently
20           billed for all claims. However, I have no data proving what device was used.
21

                 95921     AUTONOMIC NERVE FUNCT TEST
22
23
24    Summary of Gaps in the Government’s Sampling Methodology
25
26    13. The Government used a limited set of seven (7) patients out of over 31,761 claims transactions
27       that produced unreliable extrapolated amounts of alleged fraud.
                                                                                                           91
       App. 261
      Rebuttal
     Case      Expert Report Regarding
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 1    14. For this limited set of seven (7) patients:
 2           c) There appears to be evidence that services were provided and that no supporting clinical
 3               documentation is available as to whether those services were requested by a clinician or
 4               not.
 5           d) There is evidence that multiple service encounters for the same type of service were
 6               provided in relatively short time frame. This may be a reason to audit Holter Lab’s
 7               claims, but no audits were performed by any health plan.
 8           e) Typically, such audits are conducted by the payor who received the claim. Based on the
 9               documents available to me, there are nineteen (19) health plans that received claims,
10               and then either denied claims or paid claims for services billed by Holter Labs. Each
11               health plan would have the discretion to audit those claims.
12           f) To confirm that there is truly fraudulent intent requires that the service requested by the
13               clinician and the intent of the clinician in ordering those tests is matched to the service
14               provided by Holter Labs LLC using a statistically valid sample size.
15           g) To achieve an audit of a statistically valid sample and evaluate whether these claims are
16               valid or fraudulent, one would need to either look at a statistically valid sample across
17               all nineteen payors, or have a very large sample size of claims that had been previously
18               evaluated by at least one payor. Neither of these are available.
19    15. Once the sample size has been secured, a calculation of the actual fraudulent amount, if any,
20       would require linkage of provider ordering documentation and billing linked to the relevant
21       Holter Lab LLC billing for claims in question as to billing for services not ordered, the report to
22       the physician, and for those claims the government has categorized as “unable to perform” due
23       to alleged use of a device that is incapable of performing a specific procedure, proof of which
24       device was used. The only way to prove which device was used is to contact the physician who
25       used the device, because this data is not present on the health care claim, the order by the
26       physician, or the report that is provided from the device by Holter Labs back to the physician.
27
28    16. Proving that services were provided when not ordered will require more complete data for
29       claims and documentation from both the client and Holter Labs LLC. To provide a statistically
30       valid projection of fraud with a 99% confidence level and a margin of error of 5%:
31         B. The complete data would need to be analyzed by at least 652 of the 31,761 claims, or a
32             sample of 2.05% (z score of 1.96 or nearly two standard deviations from the mean).



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 1
 2                              Figure 24 - Population size = N, margin of error = e, z score = z.

 3    17. Similarly, to conclude with 95% certainty and a 5% margin of error that specific claims such as
 4       the 3,171 claims denoted with CPT code 93025 are fraudulent, at least 343 claims would have
 5       to be completely analyzed. A complete analysis would require determining whether the
 6       procedure was performed as described “Microvolt T-wave alternans testing is performed to
 7       assess patients who are at risk for sudden cardiac arrest due to previous heart attack, heart
 8       failure, left ventricular dysfunction, unexplained syncope, or family history of sudden cardiac
 9       arrest. A set of 14 electrodes are distributed on the torso and attached to the ECG machine.
10       Seven are standard electrodes while the other seven are special microvolt T-wave alternans
11       sensors. ECG recordings are obtained while the patient walks on a treadmill while slowly
12       increasing treadmill speed to increase the heart rate gradually. Alternatively, heart rate may be
13       increased pharmacologically or using a pacer. The special microvolt T-wave alternans sensors
14       are able to detect extremely small changes in the T-wave portion of the ECG that are not visible
15       to the naked eye on the ECG recording. The test continues until T-wave changes are detected or
16       until the patient achieves the desired heart rate without evidence of T-wave changes. The
17       physician reviews the ECG and provides an interpretation of findings with a written report.
18       including viewing the patient chart, the physician’s order, the actual service provided, evidence
19       of what device was used which is not contained in the insurance claim, the insurance claim
20       submitted, the amount paid, and whether the insurance company denied the claim, audited the
21       records or provided a reason for not paying the claim to determine whether it is true that
22       $1,106,777.76 was fraudulently billed and $314,153.63 was fraudulently received.
23                  o According to the information made available to me, Government data made
24                      available to me by counsel, payments were made by the following payors, each
25                      of which would have to be verified:
26                          §    Aetna
27                          §    Anthem

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 1                          §   BCBS of Alabama
 2                          §   BCBS of Florida
 3                          §   BCBS of Minnesota
 4                          §   BCBS of New Jersey
 5                          §   BCBS of Rhode Island
 6                          §   BCBS of South Carolina
 7                          §   Cigna
 8                          §   Emblem Health
 9                          §   GEHA
10                          §   Healthfirst
11                          §   Humana
12                          §   Independence Blue Cross
13                          §   Independent Health
14                          §   Premera
15                          §   Tricare
16                          §   United Health Group
17                          §   XL Health
18
19    18. Similarly, to conclude with 95% certainty and a 5% margin of error that 4,967 claims denoted
20       with CPT code 93226 are fraudulent, at least 357 claims would have to be completely analyzed.
21       A complete analysis would include confirming whether these steps were completed:
22                  o Electrocardiographic (ECG) rhythm-derived data is gathered for up to 48 hours
23                      of monitoring as the patient goes about regular daily activity while wearing an
24                      external ECG recording device, also called a Holter monitor. Electrodes or leads
25                      are placed on the patient's chest, and the patient is instructed on the use of the
26                      monitor. The recording device makes continuous, original ECG wave recordings
27                      for a 12 to 48-hour period. The recordings are captured on magnetic tape or
28                      digitized medium to be reviewed later. At the end of the recording period, the
29                      patient returns to the office with the device. Stored data derived from the
30                      continuous recordings of the electrical activity of the heart include heart rhythm
31                      and rate, ST analysis, variability in heart rate and T-wave alternans. Visual
32                      superimposition scanning is done to give a 'page review' of the entire recording,
33                      identifying different ECG waveforms with selective samples of rhythm strips. A
34                      report is made after analysis of the scanning, and the physician or other qualified
35                      health care professional reviews and interprets the data for heart arrhythmias.
36                      connection, recording, and disconnection.



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 1                   o Each claim would need to be verified including viewing the patient chart, the
 2                       physician’s order, the actual service provided, evidence of what device was used
 3                       (and since this is an alleged duplicate claim whether the claim was duplicated
 4                       for fraud, duplicated as an additional request for payment, duplicated because
 5                       the date is in close proximity to another date of service for legitimate reasons or
 6                       fraudulent reasons) which is not contained in the insurance claim, the insurance
 7                       claim submitted, the amount paid, and whether the insurance company denied
 8                       the claim, audited the records or provided a reason for not paying the claim to
 9                       determine whether it is true that $297,808.86 was fraudulently billed and
10                       $90,669.54 was fraudulently received.
11                   o According to the information made available to me, Government data made
12                       available to me by counsel, payments were made by the following payors, each
13                       of which would have to be verified:
14                           §   Aetna
15                           §   Anthem
16                           §   BCBS of Alabama
17                           §   BCBS of Florida
18                           §   BCBS of Minnesota
19                           §   BCBS of New Jersey
20                           §   BCBS of Rhode Island
21                           §   BCBS of South Carolina
22                           §   Cigna
23                           §   Emblem Health
24                           §   GEHA
25                           §   Healthfirst
26                           §   Humana
27                           §   Independence Blue Cross
28                           §   Independent Health
29                           §   Premera
30                           §   Tricare
31                           §   United Health Group
32                           §   XL Health
33
34    19. In my opinion, if and only if it is determined using methods above including a statistically valid
35       sample size that it was not possible for Holter Labs to provide the services billed consistent
36       with the standard of practice for these studies, each of those service claims could be considered



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1        fraudulent. In that case, the calculation of the amount of fraudulent billing could be based on
2        billed claims with those service codes.


3     Exhibit D – Materials Reviewed
4
5        A. Provided by Counsel
6
7     Section 3
8      3      Client outline prepared by counsel
 9     3a 1   Crowley debtor exam, March 19 2015, Judgement Debtor Examination
10            Table of Contents
11            Client case outline
12     3a 2   Verified Complaint Cast v. Holter filed October 24, 2012
13     3a 3   Verified Cross-Complaint Cast v. Holter filed November 18, 2013
14     3a 4   Default Judgement Request filed April 10, 2014
15     3a 5   Holter Requsets for Production to Plaintiff James Cast, Set One
16     3a 6   Cast Response to Requests for Production Set One
17     3a 7   Declaration in Support of Attorney’s Motion to be Relieved as Counsel Civil for Cast and
18            Crowley. Attorney Benjamin Flint III - July 28, 2014
19     3a 8   Declaration in Support of Attorney’s Motion to be Relieved as Counsel – Civil for Cast 2
20            Attorney Kevin Day – May 12, 2014
21     3a 9   Declaration in Support of Attorney’s Motion to be Relieved as Counsel – Civil for
22            Crowley Attorney Kevin Day - May 12, 2014
23     3a 10 Minute Order Re Relief of Counsel September 4, 2014
24     3a 11 Defendants Holter Labs and Michael Mirando’s reply in support of their motion to
25            require plaintiff to furnish a security pursuant to Corp. Code 17501
26     3a 12 Miscellaneous Emails Between Holter Counsel and BK Lawyer
27     3a 13 Emails Between Jim Cast and Michael Mirando
28     3a 14 Emails from Jim Cast to Mirando/ Holter Labs
29     3a 15 Miscellaneous emails between Crowley and Mirando
30     3a 16 Defense Holter Labs, LLC’s requests for admission to Plaintiff James Cast, Set One
31            April 4, 2014
32     3a 17 Cast’s Supplemental Response to Request for Admission Set no. One
33     3a 18 Deposition of Olena Burns August 11, 2014
                                                                                                           96
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1      3a 19 JP Morgan Chase Account Records for Holter Labs, LLC
2      3a 20 Cast Medical Services, LLC corporate filings
3      3a 21 Civil Docket for case USA ex Rel Jamse Case, et al v. National Cardio Labs, LLC, et. al.
4             filed 1-16-04
5

6      3a 22 First Superseding Information re USA v. Parsons filed January 24, 2007
7      3a 23 Miscellaneous emails between Mirando and Counsel
8      3a 24 Holter Labs Inc Medicare approval for IDTF September 19, 2014
9      3a 25 Specialized Medical, LLC corporate filing February 27, 2012
10     3a     Defense Discovery Disclosure Table of Contents December 13, 2016
11
12    Section 4 Production 1
13     2. Cast v. Mirando
14            Cast v. Mirando Holter Labs, LLC’s answer to the verified first amended Complaint filed
15     November 18, 2013
16            Cast v. Mirando, Answer of Stanton Crowley to Verified Cross- Complaint - 1 filed
17            November 25, 2014
18            Cast v. Mirando Case Summary
19            Cast v. Mirando Verified Cross-Complaint Filed November 18, 2013
20            Cast v. Mirando Default Judgement filed August 12, 2014
21            Cast v. Mirando Verified First amended shareholder derivative complaint filed March 15,
22            2013
23            Cast v. Mirando Michael - Mirando’s answer to the verified first amended complaint filed
24            November 18, 2013
25            Cast v. Mirando – Notice of Change of Address filed January 30, 2015
26            Cast v. Mirando – Register of Actions
27            Cast v. Mirando – Request for Dismissal filed December 2, 2014
28            Cast v. Mirando Verified Complaint filed October 24, 2012
29            Cast v. Mirando FBI electronic communication – obtained some court documents 3/18/15
30            Cast v. Mirando – Holter Labs, LLC notice of motion and motion to require plaintiffs to
31            furnish a security pursuant to corporate code section 17501
32     3. Websites



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 1            http://holterlabs.com/faq.php FAQ’s

 2            http://holterlabs.com/ How to Start

 3            http://holterlabs.com/services.php Services

 4            http://holterlabs.com/ What we do

 5            http://holterlabs.com/ Your benefit

 6     4. Database Queries
 7            Clear searches; NCIC checks September 23, 2013 FBI Electronic Communication
 8
 9
10            Holter Labs LLC California Secretary of State Business Entity Detail
11            Holter Labs California CLEAR Business Report
12            Holter Labs Oregon CLEAR Business Report
13            Michael Mirando CLEAR National Comprehensive Report
14            Mirando NCIC
15            Mirando DMV Image Record
16            Mirando, Finzer, West Coast
17                     CLEAR.4 Companies November 4, 2014
18                     CLEAR Michael Mirando
19                     CLETS Oregon + DMV
20                     D&B Global Reference Solution – Report Page: Pelagic
21                     D&B Global Reference Solution – Report Page: Finzer Properties, LLC
22                     Business Registry Business Name Search Finzer LLC, Oregon
23                     ACCURINT Michael J Mirando Properties
24                     ACCURINT Mirando
25                     ACCURINT Mirando + OR
26                     Business Registry Business Name Search Pelagic Properties LLC, Oregon
27                     FBI Electronic Communications – Results of database searches for Michael
28                     Mirando and four identified companies November 7, 2014
29                     Business Registry Business Name Search West Coast Home Solutions LLC
30                     Business Registry Business Name Search West Coast Real Estate Holdings LLC
31                     Spreadsheet ACCURINT Finzer, Pelagic, West Coast Home Solutions, West
32                     Coast Real Estate Holdings
33            Request to run Mirando in TECHs

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      Rebuttal
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1             Holter Labs Amended Annual Report efiled December 1, 2014 Oregon Secretary of State
2             Holter Labs Articles of Organization efiled November 14, 2012
3             Holter Labs Articles of Conversion filed March 16, 2013
4             WHOis.net lookup holterlab.com

 5
 6     5. Holterlabs.com Screenshots
 7            Holterlabs.com.FAQ.2.screen shot.03.30.2016.pdf
8             Holterlabs.com.FAQ.screen shot.03.30.2016.pdf
 9            Holterlabs.com.Home page.screen shot.03.30.2016.pdf
10
11
12            Holterlabs.com.Home.how to start.screen shot.03.30.2016.pdf
13            Holterlabs.com.Home.your benefit.screen shot.03.30.2016.pdf
14            Holterlabs.com.pdf
15            Holterlabs.com.Request Supplies.Contact Us.screen…ot.03.30.2016.pdf
16            Holterlabs.com.Services.screen shot.03.30.2016.pdf
17            FBI Electronic Communication: Screenshots taken on Holterlabs.com
18     6. Godaddy.com
19            Contact Info for Shopper ID 5980856 -holterlabinc Domain Information, Audit Histroy
20            GoDaddy Response to Court Order
21            GoDaddy Correspondence with FBI
22            GoDaddy Declaration of Custodian Certifying Business Record
23            GoDaddy Service of Court Order
24            Import Form – WHOis search for domain registrar for Holterlabs.com March 29, 2016
25            WHOis.net lookup holterlabs.com
26     7. Health Markets
27            Health Markets correspondence with FBI September 30, 2013
28     8. Holter Labs Inventory
29            IntriConDatrix Records
30                   Barbara Streagle, technician, Intricon Datrix, interviewed 4/1/16
31                   Interview with Jon Barron
32                          Address for Caird Technology (Software Company)
33                          Flyer for Datrix VX3
34                          Interview of Jon Barron General Manager of Datrix on 3/19/14
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 1                           Lynn Medical Invoices
 2                           Sample Device Label
 3                   Response to Federal Grand Jury Subpoena
 4                           Intricon Datrix Declaration of Custodian
 5                           Intricon Datrix Subpoena to Testify April 4, 2016
 6                           Intricon Datrix Invoice 5/18/2011
 7                           Intricon Datrix Response to Subpoena April 5, 2016
 8                           Official Record of Intricon Datrix response to subpoena April 8, 2016
 9                   Response to HIPAA subpoena
10                           FBI Import Form: IntriCon Datrix HIPAA subpoena November 15, 2013
11
12                      IntriCon Datrix Response to HIPAA subpoena
13                      IntriCon Datrix Subpoena to appear
14                      Repair Invoices IntriCon Datrix
15        Lead-Lok Records
16               Lead-Lok Response March 30, 2016
17                      Invoice Number 0100882-IN
18                      Invoice Number 0101234-IN
19                      Invoice Number 0101677-IN
20                      Invoice Number 0102195-IN
21                      Invoice Number 0102668-IN
22                      Invoice Number 0103150-IN
23                      Invoice Number 103290-IN
24                      Invoice Number 103818-IN
25                      Invoice Number 0104323-IN
26                      Invoice Number 0104757-IN
27                      Invoice Number 0105080-IN
28                      Lead-Lok Response to FGJ subpoena April 5, 2016
29                      Email response to FBI from Lead-Lok
30                      Lead-Lok FGJ subpoena with proof of service March 30, 2016
31                      Screen shot of Invoices from Lead-Lok
32               Lead-Lok Response September 28, 2015 Email
33                      from Lead-Lok to FBI 9-28-15
34                      Interview with Chris Healy, VP of Lead-Lok
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 1                      Customer Contact Information
 2                      Customer Credit Card Maintenance AMEX
 3                      Holter Labs Transactions with Lead-Lok 12-4-12 to 3-25-14
 4                      Invoices 1-25-2005 to 11-29-12
 5                      FGJ subpoena with return of service August 18, 2015
 6                      Invoice 0095045-IN
 7                      Invoice      0095046-IN
 8                      Invoice      0095656-IN
 9                      Invoice      0095986-IN
10                      Invoice 0096243-IN
11

12                          Invoice 0096362-IN
13                          Invoice 0096924-IN
14                          Invoice 0097253-IN
15                          Invoice 0097664-IN
16                          Invoice 0098086-IN
17                   Vermed Response
18                          Declaration of Custodian of Records May 13, 2016
19                          Holter Labs Invoices from Vermed
20                          Vermed Respond to FJG subpoena
21            Lynn Medical Records
22                   Lynn Medical FJG Subpoena March 29, 2016
23                   Lynn Medical Correspondence March 31, 2016
24                   Lynn Medical Invoice February 8, 2010
25                   Lynn Medical Invoice February 18, 2009
26                   Lynn Medical Invoice March 24, 2010
27            Lynn Medical Invoice April 5, 2006
28                   Lynn Medical Invoice February 8, 2010
29                   Lynn Medical Invoice May 21, 2009
30                   Lynn Medical Invoice June 2, 2010
31                   Lynn Medical Invoice June 14, 2005
32                   Lynn Medical Invoice June 28, 2005
33                   Lynn Medical Invoice July 9, 2007
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1                      Lynn Medical Invoice July 22, 2005
2                      Lynn Medical Invoice July 26, 2005
3                      Lynn Medical Invoice July 28, 2005
4                      Lynn Medical Invoice September 24, 2008
5                      Lynn Medical Invoice September 28, 2009
6                      Lynn Medical Invoice November 12, 2010
7                      Lynn Medical Return of Service for subpoena
8                      Lynn Medical Response to FJG subpoena
9                      Lynn Medical’s Response to HIPAA subpoena November 27, 2013
10                     Lynn Medical Equipment Transactions Spreadsheet for Holter Labs
11     Pulse Biomedical Records
12
13                     PBI Document production 04-04-2016
14     Pulse Biomedical correspondence to FGJ subpoena
15                     Pulse Biomedical Declaration of Custodian of Records 4-4-2016
16                     Pulse Biomedical FGJ subpoena with POS 3-30-2016
17                     Email Correspondence Mirando and Pulse Biomedical
18                     Pulse Biomedical Response to FGJ subpoena 4-8-2016

19
20     9. Interviews
21            Interview of Jim Cast
22            Interview of Jon Barron, Attachments
23                     Address for Software Company- Caird Technologies
24                     Flyer DR512 VX3 Model
25                     Lynn Medical Invoices
26                     Sample Device Label
27            Interview of Andrew Escobar
28            Interview of Belen Perazzo Barber
29            Interview of John Harttrup
30            Interview of Jon Barron
31            Interview of Lisa Murphy
32            Interview of Lisa Solmor
33            Interview of Marla Landis
34            Interview of Martha Bennett
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 1            Interview of Stacy Sixtos Foster
 2            Interview of Stanley Klein
 3            Interview of Ivan Polanco- Practice Manager of Optum Care Medical Group
 4            Interview of Kimberly Smith, Medical Assistant of Dr. Ruby Simpkins
 5            Stanton Crowley
 6                     Emails
 7                     Interview Notes
 8                     Interviews RE SC
 9                              Attachment Amended Complaint 9-17-2013
10                              Attachment Blue Cross payment notifications 9-17-2013
11                              Attachment Complaint
12

13                              Attachment Holter Labs Documents
14                              Attachment Immunity Agreement
15                              Interview of Stanton Crowley 9-17-13
16                              Interview of Stanton Crowley 9-23-13
17                              Attachment Contact Listing 4-11-14
18                              Attachment Inventory List 4-11-14
19                              Attachment Mednet.Heartrak 4-11-14
20                              Attachment Patient List 4-11-14
21                              Interview of Stanton Crowley 4-11-14
22                              Crowley email 5-12-14
23                              Interview of Stanton Crowley 5-14-14
24                              Interview of Stanton Crowley 11-7-14
25     11. Murrieta Medical Supply
26            Fictitious Business Name Statement Murrieta Medical Supply 3-27-14
27            Orange County Clerk Recorder Fictitious Business Name Statement Murrieta Medical
28            Supply
29     12. Request for Investigative Assistance Enrollment
30            Aetna response for enrollment documentation
31            Anthem
32                     Email correspondence from Carl Reinhardt
33                     Import from Carl Reinhardt
                                                                                                 103
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         Rebuttal
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1                       NHCAA request letter Blue Cross of CA
    2               8
                 Cigna
                    9
    3              10 Request for Enrollment Application
    4
                    11 Response to Request
    5
    6            Optum
                   12
    7
                   13 UHG response to request for enrollment documents
                    14 Request for Enrollment Documents
              13. Surveillance
                     Physical Surveillance Finzer 5-6-
                     16 Physical Surveillance Mirando
                     5-11-16 Physical Surveillance
                     Mirando 5-18-16 Physical
                     Surveillance Mirando 5-23-16




             Section 5 Production 2
              8. Declaration of Custodians – Various
                            Ally Bank 9-22-14 Declaration FGJ
                            Bank of America 9-28-15 Declaration
                            FGJ Bank of the West 4-2-14
                            Declaration FGJ Capital One 3-17-15
                            Declaration FGJ Capital One 10-20-15
                            Declaration FGJ
                            Fidelity National of Oregon 9-24-14 Declaration
                            FGJ JP Morgan Chase 10-14-14 Declaration FGJ
                            Lea Lacsoon 6-4-15 Declaration
                            Wells Fargo Bank 10-6-15 Declaration
              15. Miscellaneous Documents
                            Bank of America account RE Murrieta Medical Deposits
              16. Bank Schedules
                     Ally Bank Mirando Account 5-19-10 to 3-15-16
                     Bank of America Murrieta Medical Supply 2007-
                     2012 Bank of the West Holter Labs LLC 2010-

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             2012
             Chase
                     Holter Labs 2005 – 2013
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                         Email correspondence 1-6-16
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         US Bank Leasing
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  Vision Financial Markets
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         Home Mortgage Produced 10-15-15
  21. Miscellaneous Spreadsheets
         Mirando Assets and Summary of Bank Accounts
         USA_ 025472 Holter Labs GJ Serials
         USA_ 025473 Holter Labs Main file Serial Numbers
  24. Miscellaneous Documents
         Arrest of Michael Mirando 10/07/16
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         James Brown DMV Record
         Deliverables
                MAC Request form EDI Request for Pametto GBA
                MAC Request for EFT Request for Holter Labs
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                     Holter Labs Report Hattrup, John 4-11-11 Records
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      Cross Claims Independent
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      Permanente Claims
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      Patient Files: Insured Beneficiary Interviews
               4. Belen Perazzo 1-12-10, 1-13-10, 1-16-10, 1-19-10, 1-23-10
               5. Martha Bennett
                      HCFA 1500
                      UHG Checks – Paid Bennett
                      claims UHG claims for Bennett
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             17. Beneficiaries
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                                    Information Aetna


                                         Correspondence Information
                                                Patient Meza
                                                Patient Solmor
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                            Optum UHG
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                                    1500 HCFA Checks to Holter
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                    Patient Insurance Claims data
                            Aetna Beneficiaries Claims
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                            United Health Group Beneficiaries Claims
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                            Donah Bulasan MD
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                                    HIPAA subpoena with proof of service
                                    Medical Records Meza Murphy Service of
                                    HIPAA subpoena
                            Gregory Joy MD
                                    Declaration of Custodian
                                    HIPAA subpoena Medical
                                    Records Hattrup


                                        Service of HIPAA subpoena 3-17-15


                                 Jeffery Globus MD
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    B. Citations and Documents Independently Reviewed
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 Exhibit E – Prior Testimony
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 Exhibit F – PowerPoint Illustrations

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1

      1
          U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
      http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf

      2
          Pay to charge ratio is payment for a healthcare claim divided by the charge for the health care
      claim. At times the numerator and denominator are reversed (charge divided by payment) and
      the ratio is then called charge to reimbursement ratio (see
      http://healthaffairs.org/blog/2013/07/15/what-types-of-hospitals-have-high-charge-to-
      reimbursement-ratios/).

      3
          July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
      types-of-hospitals-have-high-charge-to-reimbursement-ratios/

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          Collected by: U.S. Department of Health and Human Services
      Archived since: Sep, 2013 HHS news and announcements from 1991+. https://archive-
      it.org/collections/3926?fc=meta_Date:2013 accessed October 5, 2017.

      5
          July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
      types-of-hospitals-have-high-charge-to-reimbursement-ratios/

      6
          Collected by: U.S. Department of Health and Human Services
      Archived since: Sep, 2013 HHS news and announcements from 1991+. https://archive-
      it.org/collections/3926?fc=meta_Date:2013 accessed October 5, 2017.

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          July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
      types-of-hospitals-have-high-charge-to-reimbursement-ratios/

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          Collected by: U.S. Department of Health and Human Services
      Archived since: Sep, 2013 HHS news and announcements from 1991+. https://archive-
      it.org/collections/3926?fc=meta_Date:2013 accessed October 5, 2017.



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      July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
  types-of-hospitals-have-high-charge-to-reimbursement-ratios/

  10
       San Francisco Spine Surgeons, LLC v. Claim Works LLC., JAMS Reference No.
  1110018697, hearing held October 2017 in San Jose, California (Ambler, Arb).

  11
       It was stipulated in these proceedings by both parties and Judge Ambler that my qualifications
  deemed me to be an expert on medical coding, billing, insurance reimbursement, and damages /
  loss calculations.

  12
       Kaiser Health News’ Phil Galewitz September 2011. Denial rates for insurance policies
  purchased in the individual market — published for the first time as a result of the provisions in
  the Affordable Care Act — finds that insurers deny coverage at different rates depending on
  geographical location and for almost any reason. For instance, a review of the 20 most populous
  states find that “denial rates routinely exceed 20 percent and often are much higher” and seem to
  contradict industry claims to the contrary.


  13
       Dichara, Jaqueline. Quantify Denial Rates for Smooth Revenue Cycle Management.
  RevCycle Intelligence. https://revcycleintelligence.com/news/quantify-denial-rates-for-smooth-
  revenue-cycle-management

  14
       August 26, 2016. Lachney, Cameron. Medical Billing Denials Are Avoidable: How to Help
  Prevent the Top 5 http://www.mckesson.com/bps/blog/medical-billing-denials-are-avoidable/

  15
       Gibson, Harold. M-Scribe Medical Billing, August 28, 2014.
  16
       Easterling, Sharon. RAC Forensics 101 Part 3: Denials Management, AHIMA.
  http://bok.ahima.org/doc?oid=103685#.Wdm7FxNSzCI




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       Easterling, Sharon. RAC Forensics 101 Part 3: Denials Management, AHIMA.
  http://bok.ahima.org/doc?oid=103685#.Wdm7FxNSzCI

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       Health iPass - Reducing the Expenses of Claim Denial Management Through Automation,”
  May 31, 2016. http://insights.healthipass.com/blog/reducing-the-expenses-of-claim-denial-
  management-through-automation

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       Gibson, Harold. M-Scribe Medical Billing. August 28, 2014. https://www.m-
  scribe.com/blog/bid/353875/Top-5-Medical-Claim-Denials-in-Medical-Billing

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       Gibson, Harold. M-Scribe Medical Billing. August 28, 2014. https://www.m-
  scribe.com/blog/bid/353875/Top-5-Medical-Claim-Denials-in-Medical-Billing

  21
       Woodstock, Elizabeth. Denial Management: Field Tested techniques that get claims paid.
  Optum.

  22
       Gibson, Harold. M-Scribe Medical Billing. August 28, 2014. https://www.m-
  scribe.com/blog/bid/353875/Top-5-Medical-Claim-Denials-in-Medical-Billing

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       Gibson, Harold. M-Scribe Medical Billing. August 28, 2014. https://www.m-
  scribe.com/blog/bid/353875/Top-5-Medical-Claim-Denials-in-Medical-Billing

  24
       According to the Mayo Clinic, Neurology department, “Autonomic nerve disorders
  (dysautonomia) refer to disorders of autonomic nervous system (ANS) function. Dysautonomia
  is a general term used to describe a breakdown or abnormal function of the ANS. The autonomic
  nervous system controls much of your involuntary functions. Symptoms are wide-ranging and
  can include problems with the regulation of heart rate, blood pressure, body temperature,
  perspiration, and bowel and bladder functions. Other symptoms include fatigue, lightheadedness,
  feeling faint or passing out (syncope), weakness, and cognitive impairment.”

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  http://cairdtech.com/Jim/FDA%20Information/HRV%20FDA%20510K/FDA%20ANS%20510
  K%205%20-%20pdf/FDA%20markup%20Software%20Validation%20&%20Verification.pdf

  26
    Summary of evidence, companion to indictment, page 19, Bates USA_025517 – provided by
  counsel
  27
       Federal Healthcare Fraud Sentencing After Obamacare: Analyzing Title 18 USC 1347
  https://www.newyorkcriminallawyer-blog.com/2014/06/federal-healthcare-fraud-sentencing-
  obamacare.html

  28
       Federal Healthcare Fraud Sentencing After Obamacare: Analyzing Title 18 USC 1347
  https://www.newyorkcriminallawyer-blog.com/2014/06/federal-healthcare-fraud-sentencing-
  obamacare.html

  29
       U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
  http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf

  30
       July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
  types-of-hospitals-have-high-charge-to-reimbursement-ratios/

  31
       Collected by: U.S. Department of Health and Human Services
  Archived since: Sep, 2013 HHS news and announcements from 1991+. https://archive-
  it.org/collections/3926?fc=meta_Date:2013 accessed October 5, 2017.

  32
       U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
  http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf

  33
       July 14, 2013. Mulestein, Health Affairs Blog. http://healthaffairs.org/blog/2013/07/15/what-
  types-of-hospitals-have-high-charge-to-reimbursement-ratios/

  34
       Collected by: U.S. Department of Health and Human Services
  Archived since: Sep, 2013 HHS news and announcements from 1991+. https://archive-
  it.org/collections/3926?fc=meta_Date:2013 accessed October 5, 2017.
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  35
       U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
  http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf

  36
       Based on email from Michael Mirando to attorney Ed Robinson forwarded to me dated
  September 22, 2017 stating 18,791 patients and approximately 34,000 claims.

  37
    San Francisco Spine Surgeons, LLC v. Claim Works LLC., JAMS Reference No.
  1110018697, hearing held October 2017 in San Jose, California (Ambler, Arb).
  38
       Id.

  39
       A lay person can easily confirm these calculations using any number of online calculators
  (provided that the confidence level is above 80% to 99%; for lower standards providing less
  quality or certainty, other calculators can be used which are referenced in this report in
  subsequent citations). One easy to use calculator is the Survey Monkey Sample size calculator
  which can be found at https://www.surveymonkey.com/mp/sample-size-calculator/

  40
       My basis for this data and calculation methods are my knowledge training education and
  experience. Specifically, these topics were covered in my education in statistical analysis at the
  University of California, Irvine as part of my economics curriculum and in my course at Stanford
  Medical School, with a focus on Biomedical Informatics in a course focused on Statistical
  Analysis for Medicine taught by Kristin L. Sainani, PhD an Associate Professor with Health
  Research and Policy at Stanford University. Sainani’s courses are Statistics in Medicine,
  Writing in the Sciences, Probability and Statistics, Discrete Data Analysis, and Longitudinal
  Data Analysis. Sainani’s work is independently quoted by industry peers in a presentation
  entitled “Basics of Statistics - Research Statistics” prepared by Jobayer Hossain, PhD and Larry
  Holmes, Jr. PhD, D.Ph., CPH in October 2008. Hossain and Holmes are employed at Nemours
  Biomedical Research. Hossain is Manager, Biostatistics Core Research Scientist, Department of
  Biomedical Research, Nemours Adjunct Associate Professor, Department of Applied Economics
  and Statistics, University of Delaware.


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  41
       For example, Raosoft provides a calculator that allows a low standard of confidence level such
  as 51%. Many online calculators will not even allow such a low level of confidence, since it is a
  statistically low standard and instead only provide the option to use confidence levels of 80% to
  95% to 99%. However if a layperson or other expert wishes to validate my calculations without
  manually performing the z-score calculations they can be checked here:
  http://www.raosoft.com/samplesize.html

  42
       For each claim and associated medical record, the result of the review / audit will either
  fraudulent or not fraudulent. Therefore the ‘answer’ to this question is skewed one way or the
  other (yes, or no).

  43
    NHelp National Health Law Program http://www.healthlaw.org/about/staff/mara-
  youdelman/all-publications/qa-defining-medical-necessity#.WL4vwhiZP5c June 24, 2004




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  44
    CMS Coverage Policy - Title XVIII of the Social Security Act, Section 1862(a)(1)(A) states
  that no Medicare payment shall be made for items or services which are not reasonable and
  necessary for the diagnosis or treatment of illness or injury.

  Title XVIII of the Social Security Act, Section 1862(a)(7). This section excludes routine physical
  examinations.

  Title XVIII of the Social Security Act, Section 1833(e) states that no payment shall be made to
  any provider for any claim that lacks the necessary information to process the claim.

  CMS Manual System, Pub 100-02, Medicare Benefit Policy Manual, Chapter 15, Sections 60
  and 80

  CMS Manual System, Pub. 100-03, Medicare National Coverage Determinations Manual,
  Chapter 1, Section 240.4

  CMS Manual System, Pub 100-04, Medicare Claims Processing Manual, Chapter 1, Sections 10
  and 30.2 and Chapter 35

  CMS Manual System, Pub. 100-08, Medicare Program Integrity Manual, Chapter 3, Section
  3.4.1.2, Chapter 10, Chapter 13, Section 13.5.142

  Code of Federal Regulations, 410.32 and 410.33

  45
       In a case involving a transgender patient “On May 11, 1979, the District Court declared that
  the policy of denying Medicaid benefits for sex reassignment surgery where it is a medical
  necessity for treatment of transsexualism is contrary to the provisions of Title XIX of the
  Social Security Act, 42 U.S.C. § 1396 (1976), and therefore violates the supremacy clause of the
  United States Constitution. It declared the relevant parts of the Iowa State Plan void, and
  permanently enjoined the administration and enforcement of the Iowa Medicaid program in a
  manner to deny benefits for medically necessary care and treatment incident to sex reassignment
  surgery or subsequent corrective surgery.”45 The 8th Circuit Court of Appeals affirmed the
  decision of the lower court.



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            In Pinneke v. Preisser, 623 F.2d 546, 550 (8th Cir. 1980) (recognizing that “the decision
            of whether or not certain treatment or a particular type of treatment is ‘medically
            necessary’ rests with the individual recipient’s physician and not with clerical personnel
            or government officials”);

  46
    Title XVIII of the Social Security Act section 1862 (a)(1)(A). This section allows coverage
  and payment of those services that are considered to be medically reasonable and necessary.

  Title XVIII of the Social Security Act section 1862 (a)(7). This section excludes routine physical
  examinations and services.
  47
    Title XVIII of the Social Security Act section 1862 (a)(1)(A). This section allows coverage
  and payment of those services that are considered to be medically reasonable and necessary.

  Title XVIII of the Social Security Act section 1862 (a)(7). This section excludes routine physical
  examinations and services.
  48
    Medicare LCD - Local Coverage Determination Independent Diagnostic Testing Facility
  (IDTF) (L35448)
  49
       http://www.medicarepaymentandreimbursement.com/2011/10/special-
  electroencephalography-eeg-cpt.html

  50
       https://www.cms.gov/Medicare/Provider-Enrollment-and-
  Certification/MedicareProviderSupEnroll/downloads/independentdiagnostictestingfacility.pdf
  51
       U.S. Court of Appeals, 9th Circuit, Opinion February 11, 2014
  http://cdn.ca9.uscourts.gov/datastore/opinions/2014/02/11/12-10045.pdf

  52
    Medicare Cost Reports. CMS.gov, https://www.cms.gov/Research-Statistics-Data-and-
  Systems/Downloadable-Public-Use-Files/Cost-Reports/
  53
       These requirements govern whether an entity or individual is qualified to provide services to
  Medicare patients rather than whether particular items or services provided by a provider are
  covered by and properly billable for payment from the Medicare program. These provisions are
  referred to by three essentially interchangeable terms. See 42 C.F.R. Subpart G, Parts 482-498.


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        •   “Conditions of participation” for hospital, skilled nursing facility and home health
            agencies; 42 C.F.R. Parts 482, 483 (Subpart B) and 484.
        •   “Conditions for coverage” for suppliers, including individual physicians and
            practitioners; See, e.g., 42 C.F.R. Part 498
        •   “Conditions for certification” for rural health clinics, 42 C.F.R. Part 491 (Subpart A), and
            clinical laboratories. See 42 C.F.R. Part 493 (CLIA certification requirements).
        •   A lapse in compliance with a COP should not, and to date has not been held to, affect the
            propriety of billing, so
        •   long as the provider retains its provider agreement (colloquially, “remains a currently-
            certified Medicare provider”)
        •   and billing privileges. Medicare Program Integrity Manual, CMS Pub. 100-08 (hereafter
            “PIM”), Chap. 3, § 3.1A
        •   (emphasis added). Some COPs, however, are also considered conditions of payment
            based on particular regulatory
        •   language or the provisions of provider agreements or provider certifications.

  54
       Conditions of Payment are statutory and regulatory provisions that specify that Medicare
  payment shall not be made unless the condition is satisfied, such as specific exclusions from
  coverage, 42 U.S.C. § 1395y, documentation requirements, 42 U.S.C. § 1395l(e), and the Stark
  self-referral prohibition. 42 U.S.C. § 1395nn. Certain other statutory and regulatory
  requirements, including some provisions, which, by their own terms, appear to be COPs may
  become Conditions of Payment based on required provider certifications or terms of provider
  agreements. See, e.g., 42 U.S.C. § 1320a-7b(b), the anti-kickback statute. See also U.S. ex rel.
  Hutcheson v. Blackstone Medical, Inc., 647 F.3d 377 (1st Cir. 2011); cf. U.S. ex rel. Mikes v.
  Straus, 247 F.3d 687 (1st Cir. 2011).


  55
       Medicare statutes are referenced here because the Centers for Medicare and Medicaid tend to
  set standards for themselves as the Federal payor, which are then adopted by other payors and for



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  medical billing statements for cash pay. Since states have phased in of Medicare standards for
  Workers Compensation billing they are applicable to this report and my opinion.

  56
       42 U.S.C. § 1395y(a)(1); 42 C.F.R. § 411.15(k)(1).


  57
       42 U.S.C. § 1395l(e) ("No payment shall be made . . . unless there has been furnished such
  information as may be necessary in order to determine the amounts due . . . for the period with
  respect to which the amounts are being paid or for any prior period").


  58
       See Case of The Inspector General V. Respondent [George Kern MD], HHS Departmental
  Appeals Board, Docket No. C-25 (CR12) (August 26, 1987) (emphasis added).

  59
       42 U.S.C. § 1320a-7(b)(11).


  60
       42 U.S.C. § 1320c-3(a)(1).

  61
       42 CFR §410.32 states that all diagnostic tests must be ordered by a physician who is treating
  the beneficiary, and test results must be used in the management of the beneficiary’s specific
  medical problem

  62
       Joseph Nichols MD Health Data Consulting in presentations to the Workgroup for Electronic
  Data Interchange (WEDI), an industry standards group that advises Federal Standards groups
  such as the HHS Office of the National Coordinator on electronic data standards in healthcare.
  Dr. Nichols reviewed the claims of all 50 state Medicaid as well as Guam and Puerto Rico during
  the transition to ICD-10 from 2013 to 2015.

  63
       AAPC (American Academy of Professional Coders) is an accepted standards education and
  certification organization for medical coder certification, especially for outpatient coding.




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  64
       State Medicaid and CHIP Income Eligibility Standards1 Expressed in Monthly Income,
  Household Size of One (For MAGI Groups, based on state decisions as of October 1, 2014)
  https://www.medicaid.gov/medicaid-chip-program-information/program-
  information/downloads/medicaid-and-chip-eligibility-levels-table_hhsize1.pdf accessed May 31,
  2016

  65
       Comparing CPT Code Payments for Medi-Cal and other Payers. Price Waterhouse Coopers,
  accessed May 31, 2016
  http://www.chcf.org/~/media/MEDIA%20LIBRARY%20Files/PDF/PDF%20C/PDF%20Compa
  ringCPTCodePayments.pdf

  66
       Centers for Medicare and Medicaid, ICN 006819 December 2015
  https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
  MLN/MLNProducts/Downloads/AmbSurgCtrFeepymtfctsht508-09TextOnly.pdf

  67
       Source: CMS, Hospital Outpatient Prospective Payment System, Partial Hospitalization
  services furnished by hospitals or Community Mental Health Centers, Ambulatory Payment
  System https://www.cms.gov/Outreach-and-Education/Medicare-Learning-Network-
  MLN/MLNProducts/downloads/HospitalOutpaysysfctsht.pdf

  68
       Source: CMS, coverage of imaging services. https://www.cms.gov/Outreach-and-Education/Medicare-
  Learning-Network-MLN/MLNProducts/downloads/Radiology_FactSheet_ICN907164.pdf

  69
       Medicare Claims Processing Manual Chapter 23 -Fee Schedule Administration and Coding
  Requirements

  https://www.cms.gov/Regulations-and-Guidance/Guidance/Manuals/downloads/clm104c23.pdf

  70
       American Medical Association http://www.ama-assn.org/ama/pub/physician-
  resources/solutions-managing-your-practice/coding-billing-insurance/cpt/about-cpt.page?



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  71
       Source: http://www.ncvhs.hhs.gov/meeting-calendar/agenda-of-the-december-9-10-2003-
  ncvhs-subcommittee-on-standards-and-security-hearing/consolidated-health-informatics-
  initiative-final-recommendation-information-sheet-billingfinancial-for-the-december-9-2003-
  ncvhs-subcommittee-on-standards-and-security-hearing/
  72
       Source: American Medical Association CPT Code Book
  73
       Excludes Medicare
  74
    Based on email from Michael Mirando to attorney Ed Robinson forwarded to me dated
  September 22, 2017 stating 18,791 patients and approximately 34,000 claims.
  75
       This citation is being provided to speak to statistical probability and error rates in expert
  opinions, not as my legal interpretations or legal conclusions. Beyond a Reasonable Doubt, US
  Legal “Beyond a Reasonable Doubt [is the] standard of proof is used exclusively in criminal
  cases, and a person cannot be convicted of a crime unless a judge or jury is convinced of the
  defendant’s guilt beyond a reasonable doubt. Precisely, if there is any reasonable uncertainty of
  guilt, based on the evidence presented, a defendant cannot be convicted. Ostensibly, this burden
  requires that a trier of fact (judge, jury, arbiter) is fully satisfied and entirely convinced to a
  moral certainty that the evidence presented proves the guilt of the defendant. There is essentially
  no room for wavering or uncertainty; the trier of fact believes the evidence to be precise,
  indubitable, and leaves one with an inescapable conclusion of certainty. Whereas, in a civil trial,
  a party may prevail with as little as 51 percent probability (a preponderance), those legal
  authorities who venture to assign a numerical value to “beyond a reasonable doubt” place it in
  the certainty range of 98 or 99 percent. In a criminal trial, the state must prove that the defendant
  is guilty, and the burden of proof is always with the state for the case in chief. The defendant,
  carrying a presumption of innocence, has no burden of proof, and need prove nothing. A
  defendant may sit mute at a criminal trial, because the state has the burden of proof to show that
  the defendant satisfied each element of the statutory definition of a crime by his or her
  action/participation or failure to act. Any evidence offered by the defense is generally directed




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  toward discrediting or undermining the state’s evidence, and does not contribute to any
  evidentiary burden. https://courts.uslegal.com/burden-of-proof/beyond-a-reasonable-doubt/

  76
       This citation is being provided to speak to statistical probability and error rates in expert
  opinions, not as my legal interpretations or legal conclusions. Jack B. Weinstein and Ian
  Dewsbury Law Probability and Risk Oxford Academic. For example, in theory, the ‘presumption
  of innocence’ should mean that, before hearing any evidence, the jury should start with the
  assumption that it is close to 0% likely that the defendant (out of all the people in the universe)
  committed the crime charged. In practice, most trier's initial anchoring assumption is probably
  considerably higher than this. Jurors will assume, to some extent, depending on their individual
  beliefs about how the criminal justice system works (and despite directions not to do so), that if
  there were no substantial evidence of guilt: (a) the prosecutors and investigators would not have
  gone forward with the case, (b) the grand jury would not have indicted and (c) the trial judge
  would not have started up the machinery of selecting a jury and holding a trial. Some jurors also
  probably have been swayed towards or away from a preliminary hypothesis of guilt or innocence
  by the jury selection process and opening statements of counsel. It is not unlikely that many
  jurors begin hearing evidence believing that it is roughly 50% probable that the defendant
  committed the offense charged, with the state having the responsibility to drive up this
  probability. https://academic.oup.com/lpr/article/5/2/167/927735/Comment-on-the-meaning-of-
  proof-beyond-a


  Exhibit E – PowerPoint Illustrations (separate document)

  Exhibit F – Prior Testimony as Provided in Federal Rule 26 (separate
  document)




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                         EXHIBIT B




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                           EXHIBIT F – Supplemental Illustrations
                                       US. v. Mirando
                           Rebuttal Expert Report Regarding Loss
                                                   Prepared by Michael F. Arrigo
                                                   marrigo@noworldborders.com
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                                                            DATE PREPARED:
                                                            OCTOBER 9, 2017



 Note: this document is considered an integral part of the Rebuttal Expert Report Regarding Loss, a 132 page document published for filing with
 the court on October 9, 2017. This Exhibit F by itself does not represent the full measure of Opinions or methods used. I specifically reserve
 the right to amend my opinions if new facts or new testimony from other experts become available to me.




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Topics
• No definitive proof that Device cannot perform medical diagnostic
  procedures
• FDA data conflicts with Government’s report
• Of the fourteen (14) steps involved in determining the veracity of
  medical claims and billing, coding data, the Government only sheds
  partial light onto four (4) of those steps.
• Other industry data tends to differ with definitions of ‘duplicate’
• Industry standards and statutes mandate that documentation must
  be reviewed to determine veracity or fraudulent claims

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Government States “Impossible” to perform
EEG test using Datrix 512 Due to Frequency
• Government based opinion on interview with one individual
• ONE witness, one page document out of 40,000 to 60,000 pages of
  material states ‘impossible’ to perform test based on frequency
• Witness testimony does not coincide with FDA filing data




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What is an FDA form 510(k)?
• A 510(K) is a premarket submission made to FDA to demonstrate that
  the device to be marketed is at least as safe and effective, that is,
  substantially equivalent, to a legally marketed device (21 CFR
  §807.92(a)(3)) that is not subject to premarket approval.
• Must, among other things state the frequency and bandwidth of the
  device




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                                               #:339




Datrix 512 Uses Same Frequency as FDA
Approved Device for EEGs
• Findings: Datrix 512 uses same frequency for ECG as other devices
  that do EEG

                                             Sample rate:                                       Sample rate:
                                             128 to 512 per                                     256 (in range
                                             channel/sec.                                       between the
                                             programmable                                       128 and 512
                                                                                                of Datrix)
                                             Bandwidth:
                                             0.05Hz to 50                                       Bandwidth:
                                             Hz                                                 0.0Hz to 50 Hz




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                                               #:340




Datrix 512 Uses Same Frequency as FDA
Approved Device for EEGs
• Findings: Datrix 512 uses same frequency for ECG as other devices that do EEG


                                            Sample rate:                                        Sample rate:
                                            128 to 512 per                                      256 (in range
                                            channel/sec.                                        between the 128
                                            programmable                                        and 512 of Datrix)

                                            Bandwidth:                                          Bandwidth:
                                            0.05Hz to 50 Hz                                     0.0Hz to 50 Hz




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                                                                                                     ID
                                                         #:341




     To Establish the Government’s Case that there is
     Fraud, a Complete Review would be Required
     • Treatment
     • Payment
     • Health Care Operations




https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/disclosures-treatment-payment-health-care-operations/index.html



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      App. 310
           Case
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                                               #:342




HIPAA Definition at 45 CFR 164.501.
• “Treatment” generally means the provision, coordination, or
  management of health care and related services among health care
  providers or by a health care provider with a third party, consultation
  between health care providers regarding a patient, or the referral of a
  patient from one health care provider to another.




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App. 311
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                                                                                             ID
                                                #:343




42 CFR 405.902 - Definitions.
• Clean claim means a claim that has no defect or impropriety
  (including any lack of required substantiating documentation) or
  particular circumstance requiring special treatment that prevents
  timely payment from being made on the claim under title XVIII within
  the time periods specified in sections 1816(c) and 1842(c) of the Act.




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App. 312
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                                                                                              ID
                                                 #:344




   American                                                                                                                 Relevance?
    Medical
  Association:                                                                                                            ALL of this
                                                                                                                        information is
 Fourteen (14)                                                                                                           necessary to
step process to                                                                                                           determine
  get paid for                                                                                                           veracity of a
   providing                                                                                                                 claim
medical services



 10/9/17                              U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss                                     10
                 Source: American Medical Association, “Prepare that Claim, taking an active approach to the claims management cycle”




 App. 313
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  Why is this relevant from a fraud                                                                                                    Provided by the Government?
                                                                                                                                                           Step 1: no
              perspective?
                                                                                                                                                           Step 2: no
1. Verify that the identity of the
                                                                                                                                                           Step 3: no
   patient                                                                                                                                                 Step 4: no
                                                                                                                                                           Step 5: no
2. Verify that provider intended to
                                                                                                                                                           Step 6: no
   render services and bill insurance
                                                                                                                                                           Step 7: no
3. Verify that the patient appeared for                                                                                                                    Step 8: no
                                                                                                                                                     Step 9: partial
   treatment
                                                                                                                                                       Step 10: no
4. Documentation of the service is
                                                                                                                                                     Step 11: partial
   what insurance companies use to                                                                                                                     Step 12: no
                                                                                                                                                     Step 13: partial
   verify the validity of a claim
                                                                                                                                                     Step 14: partial
5. Assignment of codes indicates
                                                                                                                                               (4 appeals were available
   which specific services were
                                                                                                                                                  out of 31,471 claims)
   provided

      10/9/17                                            U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss                                                  11
                                    Source: American Medical Association, “Prepare that Claim, taking an active approach to the claims management cycle”




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Why is this relevant from a fraud
                                                                                                                                    Provided by the Government?
perspective?                                                                                                                                            Step 1: no
                                                                                                                                                        Step 2: no
6. Verify that the provider collected                                                                                                                   Step 3: no
from patient for services                                                                                                                               Step 4: no
7. Verify that correct codes were used                                                                                                                  Step 5: no
that accurately reflect the diagnosis                                                                                                                   Step 6: no
and procedures; essential for                                                                                                                           Step 7: no
determining medical necessity in any                                                                                                                    Step 8: no
audit                                                                                                                                             Step 9: partial
8. Verify post delivery of services that                                                                                                            Step 10: no
the benefit coverage is there and that                                                                                                            Step 11: partial
billing has correct data                                                                                                                            Step 12: no
9. Verify that the claim was generated                                                                                                            Step 13: partial
and basis for pricing information from
                                                                                                                                                  Step 14: partial
the bill
10. Verify claim for completeness and                                                                                                       (4 appeals were available

accuracy before submission                                                                                                                     out of 31,471 claims)

        10/9/17                                       U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss                                                  12
                                 Source: American Medical Association, “Prepare that Claim, taking an active approach to the claims management cycle”




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                                                               #:347




                                                                                                                                     Provided by the Government?
                                                                                                                                                         Step 1: no
Why is this relevant from a fraud                                                                                                                        Step 2: no
perspective?                                                                                                                                             Step 3: no
                                                                                                                                                         Step 4: no
11. Verify that the claim was paid via                                                                                                                   Step 5: no
Explanation of Benefits (EOB)                                                                                                                            Step 6: no
including exact services provided,                                                                                                                       Step 7: no
patient diagnosis, date of service.                                                                                                                      Step 8: no
12. Verify claim receipt either                                                                                                                    Step 9: partial
manually or electronically (if not                                                                                                                   Step 10: no
received, cannot be a valid claim)                                                                                                                 Step 11: partial
13. Verify that the claim was paid                                                                                                                   Step 12: no
14. Verify the appeal process, if any                                                                                                              Step 13: partial
and results of the appeal.                                                                                                                         Step 14: partial

                                                                                                                                             (4 appeals were available

                                                                                                                                                out of 31,471 claims)

      10/9/17                                          U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss                                                  13
                                  Source: American Medical Association, “Prepare that Claim, taking an active approach to the claims management cycle”




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                                                                                                   Provided by the Government?
In the absence of                                                                                             Step 1: no

the 14 complete                                                                                               Step 2: no
                                                                                                              Step 3: no
steps, I was left to                                                                                          Step 4: no

assess the                                                                                                    Step 5: no

Government’s                                                                                                  Step 6: no
                                                                                                              Step 7: no
methods using                                                                                                 Step 8: no

only partial                                                                                                Step 9: partial

information for                                                                                              Step 10: no
                                                                                                           Step 11: partial
Steps 9, 11, 13, 14                                                                                          Step 12: no
                                                                                                           Step 13: partial

                                                                                                           Step 14: partial

                                                                                                       (4 appeals were available

                                                                                                         out of 31,471 claims)

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   App. 317
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United States v. Siddiqi, 959 F.2d 1167 (2nd
Cir. 1992).
• A New York physician was recently acquitted on 72 counts in a case in
  which no one -- including the government -- knew exactly what
  medical service a particular billing code covered, thus supporting the
  defendant's contention that he believed his claims were proper and
  that he did not knowingly and willfully submit false claims.


    https://www.nacdl.org/CHAMPION/ARTICLES/94sep01.htm




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App. 318
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United States v. Kline
• the court held that it was improper to instruct the jury on the government's aiding and
  abetting theory under 18 U.S.C. 2, and reversed the defendant's convictions.
• The defendant was charged with violating the False Claims Act by making and submitting
  fraudulent claims, but the government was unable to prove that it was the defendant
  who prepared and submitted the claims.
• To cure this evidentiary defect, the prosecution tendered and the court gave an
  instruction that the defendant could be convicted for aiding another employee in
  submitting the false claims. However, that employee testified that she probably made a
  mistake in submitting the claims, which she said was easy to do given the complex billing
  codes.
• The aiding and abetting statute, 18 U.S.C. 2, has two parts, the court held. The first
  requires the existence of a principal who was aided by the defendant; here, the court
  said, there is no evidence of a principal. The second part of 18 U.S.C. 2 punishes a
  defendant who causes a criminal act to be done by another; however, the indictment
  only charged that the defendant "made and presented" the false claims, and the Court
  held that the government was, therefore, not entitled to the instruction.
  https://www.nacdl.org/CHAMPION/ARTICLES/94sep01.htm
10/9/17                          U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss      16




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May 13, 2015 Email from Crowley to his
Attorney




* “Mike” is Mr. Michael Mirando in the email above




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Is it possible
Records were
altered by Jim
Cast?




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                                                #:356




Government’s Case
• Limited statistical sampling of < 10 patients and extrapolation to
  thousands of claims
• Lack of notice of guidelines by Medicare led to no audits
• Lack of notice of guidelines by private insurance led to no audits
• Arguing presumptions that favor the Government using health plan
  policies (Aetna) designed to unreasonably deny claims, paid by
  others, and
• Government ignores that Offsetting any alleged overpayment with
  the existence of underpayments or non payments

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                                                   #:357




 Government’s Patient Interviews Are Limited in Sample Size


• There are over 3,351 Aetna claims line items
  in Government’s data produced
• There are six patient interviews and two (2)                                          Based on my knowledge training, education
  are related to Aetna with supporting detail                                            and experience and prior expert work for
                                                                                          IDTFs, it is my opinion that Aetna has a
• Only six patients were interviewed                                                        history of denying claims that other
     • Belen Perazzo                                                                       insurance pays for ECG and EEG using
     • Bennett                                                                                “experimental” reason for denial
     • Hattrup
     • Lisa Meza – Aetna (not mentioned in
       Governments’ summary of Evidence)
     • Lisa Solmor - Aetna
     • Maria Landis
     • Foster – “appears to be valid,” not paid

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Aetna Policy Assumes Some Claims are Duplicated
                                                                           • Correct rejected claims and
                                                                             resubmit electronically.
                                                                           • Avoid the additional cost of
                                                                             submitting duplicate claims by
                                                                             using the Claim Status Inquiry
                                                                             to check the status of claims
                                                                             prior to resubmitting.
                                                                           • Attachments aren’t necessary.
                                                                             We’ll contact you if we need
                                                                             additional documentation.

                                                                                         Source: Aetna 23.03.892.1 B (5/13)
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                                                #:359




Aetna Policy Assumes No Documentation to Support
Claim is Necessary, UNLESS there is an audit
                                                                           • “Attachments aren’t necessary.
                                                                             We’ll contact you if we need
                                                                             additional documentation. “




                                                                                         Source: Aetna 23.03.892.1 B (5/13)
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What Happened in Holter Labs Case?
• Duplicate claims were submitted
      • Unknown by who
      • Unknown for what reason
      • Only one claim was paid
• NO audits were performed
• NO determinations were made




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        Unclear if Duplicates were
     intentional fraud or claim status
     checks that led to unintentional
               redundancy



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Government’s Patient Interviews Do Not Conclusively Demonstrate Fraud Because
Patient’s Recollection May be Inaccurate, or documentation in interview may not
completely address factual basis for coding and billing

• Patients were interviewed up to four (4) years after treatment
• Is there certainty that these patients remembered exactly what
  services were provided to them?

• Example:
      • Patient xx states “only had ECG one time”
      • Does “one time” mean one day or one episode spanning multiple days?
• Single day vs. episode is important because it establishes:
      • Whether a service was provided for and billed on a single day
      • Whether a service was provided for multiple days (>24 hour period)

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       Independent Diagnostic
     Testing Facility (IDTF) Filings




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                                                                                                  Government’s Case Does not
                                                                                                  Address Modalities for ECGs
                                                                                                    Long-Term ECG Monitoring is defined as a
                                                                                                    diagnostic procedure, which can provide
                                                                                                    continuous recording capabilities of ECG
                                                                                                    activities of the patient's heart while the patient
                                                                                                    is engaged in daily activities. These can include
                                                                                                    continuous, patient-demand or auto-detection
                                                                                                    devices. The purpose of these tests is to provide
                                                                                                    information about rhythm disturbances and
                                                                                                    waveform abnormalities and to note the
                                                                                                    frequency of their occurrence.




https://www.unitedhealthcareonline.com/ccmcontent/ProviderII/UHC/en-
          10/9/17                                               U.S. v Mirando - Arrigo Rebuttal Expert Report Regarding Loss
US/Main%20Menu/Tools%20&%20Resources/Policies%20and%20Protocols/Medicare%                                                                          34
20Advantage%20Policy%20Guidelines/External_Electrocardiographic_Recording.pdf




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                                      Michael F. Arrigo
                                marrigo@noworldborders.com +1949-633-5664
    Offices in Boston, Pittsburgh, New York, Washington DC, Nashville, Raleigh, Atlanta, Miami
             Seattle, Salt Lake City, Denver, St. Louis, Chicago, Dallas, San Francisco,
                            Palo Alto, Orange County, San Diego, Honolulu

Education
•     Harvard Law School, Cambridge MA - Studies in Bio Ethics
      the study of ethical, legal, technological and social issues in
      biology and medicine including genetic testingi
•     Stanford Medical School, Palo Alto CA - Studies in
      Biomedical Informatics and mobile health ii
•     University of Southern California, Marshall School of
      Business, Los Angeles – Bachelor of Science, Business
      Administration, 1981; studied in Entrepreneur Program which
      focuses on the management, marketing and finance of startups,
      first of its kind U.S.
•     Clinical documentation, medical coding, billing reimbursement, HIPAA
      transactions, value based care, risk adjustment (see Attachments in this CV).

Professional Affiliations

•     Medical Group Management                        •   American Society for Clinical
      Association (MGMA)                                  Pathology (ASCP)
•     Health Information Management                   •   Information Systems Audit and
      Systems Society (HIMSS)                             Control Association (ISACA)
•     American Academy of Professional                •   Volunteer, Children’s Hospital Medical
      Coders (AAPC)                                       innovation committee
•     American Health Information                     •   Guest lecturer, Contributor, Strategic
      Management Association (AHIMA)                      Financial Management Newsletter,
•     American Academy of Pain Medicine                   Healthcare Financial Management
      (AAPM)                                              Association;
•     Workgroup for Electronic Data                   •   Prior contributor, Healthcare IT News,
      Interchange (WEDI)                                  GovHealth IT, Mobile Health News,
•     Association for Clinical                            Financial Health News
      Documentation Improvement
      Specialists (ACDIS)


Additional Coursework and Training

•     Villanova University – Lean Six Sigma and Process improvement 2007
•     Wharton School, University of Pennsylvania – Leadership Strategies - 1982
•     University of Calif., Irvine – Computer Science, Statistics, Economics ‘76 – ‘78




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Legal Experience (See Separate Document for List of Cases & Opinions)

1. Retained by U.S. DOJ re: Federal investigation into medical data, Health IT / E.H.R.
   stimulus funds, False Claims Act estimated value of $900 million;
2. Certified as expert by Judge Ambler in hearing re: medical billing, coding and loss /
   damages calculations
3. Presentations before FBI, Department of Justice, and U.S. HHS Office of Inspector
   General involving federal investigation under the False Claims Act.
4. Retained by former RAND Economists and Health IT firm for testimony before Federal
   Trade Commission involving anti-trust, access to clinical data impacting billing &
   revenue cycle.
5. Retained in five white collar crime cases, alleged fraud valued at over $5 million each
6. Federal, State, written testimony in expert reports, depositions, and court appearances
   re: ACA, HIPAA, medical coding and billing, usual customary and reasonable cost of
   care, Medicaid Expansion, Medicaid waivers for disabled insureds, and ACA Qualified
   Health Plans, ERISA / Taft-Hartley Trusts, subsidies, rates and actuarial value.
7. Engaged by plaintiffs, class action attorneys, relators, defendants with experience
   across payors (including Medicare, Medicaid, social security, workers’ compensation,
   private insurance / health plans, ERISA / Taft-Hartley plans), providers (including
   hospital systems, physician groups, FQHCs, ASCs, IDTFs), patients, healthcare IT,
   (see Attachments for experience in various medical specialties).
8. User of eDiscovery tools such as Relativity for document discovery work, structured
   methods to review large case files with over 50,000 pages in complex litigation.

Industry Awards and Recognition

Arrigo, M. F. 2016 Nominee, Best Legal Blogs of 2016 for healthcare
industry sector, No World Borders, Inc.


Publications & Lectures

Arrigo, M. F. (2016) Strategic Financial Management for Healthcare
Providers: Clinical Documentation Improvement and Accuracy as a
Foundation Value Based Care. Peer review, review by clinical and business executives at
Baptist Health, a large academic medical center. Healthcare Financial Management
(HFMA). Published August 17, 2016 https://www.hfma.org/sfp/


Arrigo, M. F. (2015) Mobile Health, HIPAA Privacy and Security
Blackberry Sharpens Security with Good Technology Acquisition. Gov. Health IT



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http://www.govhealthit.com/blog/commentaryblackberry-sharpens-security-good-
technology-acquisition


Arrigo, M. F. (2015) Five Interest-Piquing Trends at HIMSS15. Gov. Health IT
http://www.govhealthit.com/news/5-interest-piquing-trends-himss15
Arrigo, M. F. (2014) Cloud and Mobile Convergence: The Regulatory View. Gov. Health IT
http://www.govhealthit.com/blog/cloud-and-mobile-convergence-regulatory-view


Arrigo, M.F. (2014) HIPAA Plain and Simple / HIPAA for Behavioral Health – Credible
Behavioral Health E.H.R. Software Users Conference, Baltimore Maryland (18 March
2014)


Arrigo, M.F. (2014) DSM 5 and ICD-10 – Credible Behavioral Health E.H.R. Software
Users Conference, Baltimore Maryland (18 March 2014)


Arrigo, M.F. (2014) Managed Care and Accountable Care for Behavioral Health – Credible
Behavioral Health E.H.R. Software Users Conference, Baltimore Maryland (18 March
2014)


Arrigo, M. F. (2011) ICD-10 financial impact vs. mortgage crisis? Gov. Health IT
 http://www.govhealthit.com/news/could-icd-10-have-big-financial-impact-mortgage-crisis



Arrigo, M. F. (2012) How a Flaw in the ACO Model Leaves Patients Out. Gov. Health IT
http://www.govhealthit.com/news/how-flaw-aco-model-leaves-patients-out


Arrigo, M. F. (2012) 10 ICD-10 Regulation Myths Demystified. Gov. Health IT
 http://www.govhealthit.com/news/10-icd-10-regulations-demystified



Arrigo, M. F. (2012) Real-time location, mobile health gain traction. Gov. Health IT
http://www.govhealthit.com/news/real-time-location-and-mobile-health-solutions-gain-traction-show-roi



Arrigo, M. F. (2013) 3 Top Priorities for CommonWell. Gov. Health IT
http://www.govhealthit.com/news/3-top-priorities-commonwell



Arrigo, M. F. (2013) Commentary: ICD-10 Arrives Early, New Claims Form. Gov. Health IT
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    http://www.govhealthit.com/news/commentary-icd-10-arrives-early-claims-CMS-coding-HIPAA-icd-9



    Arrigo, M. F. (2014) Increased Spending - Big Data, Cloud, mHealth Social. Gov. Health IT
    http://www.govhealthit.com/blog/increased-spending-and-savings-tap-big-data-cloud-mhealth-and-social



    Arrigo, M. F. (2014) Ebola: How cloud, mHealth, and ICD-10 could help. mHealth News
    http://www.mhealthnews.com/blog/ebola-how-cloud-mhealth-and-icd-10-could-help


Arrigo, M. F. (2014) How Cloud and mHealth Ease Claims Processing (also coverage of Prior
Authorization / eligibility HIPAA EDI 270/271, referral EDI 278 transaction. Gov. Health IT
http://www.govhealthit.com/news/how-cloud-and-mhealth-promise-ease-claims-processing



Arrigo, M. F. (2014) How to Get Behavioral Health Codes Right. Gov. Health IT
http://www.govhealthit.com/blog/how-get-your-behavioral-health-codes-right



Lectures, Adjunct Faculty, Conference Speaking Engagements


•   Arrigo, M. (Speaker) (2015, November 2015) Medical Device Reimbursement, FDA,
    FCC and CMS regulatory disruption and opportunities under the Affordable Care
    Act, ICD-10 and HITECH Act. BioMed Device and Wireless Device Conference, San
    Jose California


•   Arrigo, M. (Speaker) (2015, September 2015). Meaningful Use of Electronic Health
    Records, HIPAA Privacy and Security and potential damages for breaches under the
    HITECH Act as a foundation for the International Classification of Diseases from the
    World Health Organization (ICD-10) – Discussion of risks and opportunities in these two
    regulations; discrete data, quality measures, medical codes: clinical Documentation,
    clinical decision support, physician and patient engagement, HIPAA Privacy and Security
    and revenue cycle. Wolters Kluwer Corporate event presented to audience of over 1,800
    participants.


•   Arrigo, M. and Nichols J. MD - (Speakers) (2013, November). Claims Data, Clinical Data –
    Working together to Improve Clinical Documentation for International Classification of



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     Diseases from the World Health Organization (ICD-10). Workgroup for Electronic
     Data Interchange (WEDI) National Conference.


•    Arrigo, M. (Speaker) (2012, April 14). The Perfect Storm in Healthcare - How Disruptive
     Regulations and Technologies Create Risks and Opportunities for Medical Coding
     and Revenue Cycle Management. Affordable Care Act, ICD-10, CORE Operating Rules,
     and HITECH Act. American Academy of Professional Coders (AAPC) National
     Conference. Lecture conducted from Las Vegas, NV. http://news.aapc.com/icd-10-monitor-
     wish-i-were-in-las-vegas/


•    Arrigo, M. (Speaker) (2012, June 14). ICD-10: Impact on Payment Reform. Wisconsin
     Medical Society. Lecture conducted from Madison, Wisconsin. http://bit.ly/16acIDy

•    Arrigo, M. (Speaker) (2013, April 23). The Perfect Storm in Healthcare - How Disruptive
     Regulations and Technologies Create Risks and Opportunities for Medical Coding and
     Revenue Cycle Management. Affordable Care Act, ICD-10, CORE Operating Rules, and
     HITECH Act. Scripps Healthcare Summit 2013. Lecture conducted from La Jolla,
     San Diego California.

•    Arrigo, M. (Speaker) (2012, May). How ICD-10 and Payment Reform Will Change the
     Radiology Revenue Cycle. Radiology Business Management Association (RBMA),
     Orlando Florida.

•    Arrigo, M. (Speaker) (1994 - 1995). Impact of the Internet on medical and financial
     businesses, Loyola University, Los Angeles CA

•    Arrigo, M. (Speaker) (1994 - 1995). Impact of the Internet on medical and financial
     businesses, University of California, Irvine CA

2010 to present Instructor, HIPAA Privacy and Security, HITECH Act Electronic Health
Records, value based care, medical coding and billing audits, Affordable Care Act,
Best practices in HIPAA and HITECH Act Information Privacy and Security1 and Meaningful
Use, Best practices Health IT, process improvement, eligibility and coverage determinations
for value based care2 Recent courses included instruction at these venues:


     •   American Health Information Management Association 2016, Baltimore, MD
     •   JP Morgan Healthcare Conference 2015, San Francisco, CA
     •   Wolters Kluwer 2015 webcast

1
  Trained by published author in HIPAA privacy and security and advisor to CMS, HHS on Meaningful use of
Electronic Health Records, currently lead training sessions for HIPAA covered entities
2
  Lead training for pharmacists, hospitals, physicians, health IT value based care firms

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 •   Duke Life Health System 2013, Pittsburgh, PA
 •   HIMSS 2014
 •   AAPC Annual Conference 2012, Las Vegas

 Non- Litigation Consulting in Healthcare, Software, Financial Services
 2007 to Present - No World Borders – I lead a healthcare data, regulatory, and
 economic consulting firm as Managing Partner. Our business provides advisory services
 on disruptive health care regulations for hospitals, insurance companies, self-insured
 employers, and health IT companies and investors.

 Summary of Accomplishments and Experience

 I work with hospital systems, physician groups, and health IT companies, health plans,
 investors, and law firms. I was selected as an expert for a landmark Federal Trade
 Commission case regarding healthcare data, regulations and economics. I currently
 serve as managing partner of No World Borders. I am:

•    A writer and speaker quoted in Wall Street Journal, and a regular speaker with
     published works as an expert in the field.

•    Prepared by leading litigation firm in Rule 702 including applying scientific or
     specialized knowledge Federal rules (702(a)); facts (702(b)); application of principles
     and methods (702(c)); application of criteria, principles, methodology, test methods
     (amended in Daubert, 2000 - (702(d)) before FTC Commissioner.

•    An advisor to value based care companies including Medicare Advantage, Medicare
     Shared Savings Accountable Care Organizations.

•    Led investor diligence on over $7 billion in health care merger and acquisition
     transactions.

•    Trained in clinician, coder, medical billing, claims, E.H.R, hospital and practice
     management software, regulatory, usual, customary and reasonable (UCR) medical
     and prescription charges. Application of Inpatient Prospective Payment System (IPPS),
     Outpatient Prospective Payment System (OPPS), Medicare Physician Fee Schedules
     (MPFS) Part A, Part B, Physician Fee Schedules, U.S. standard wage indices,
     geographic adjustment factors (GAFs), market charges comparisons, where no
     collateral source rule is at issue, market reimbursement by health, auto, liability payors.



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•   Opinions on over $2 billion in medical reimbursements for inpatient facilities (inpatient
    prospective payment system or IPPS and DRGs, ICD-9) and ambulatory (non-facility
    using CPT codes)




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Regulatory Consulting for Health Care Provider and Healthcare I.T. Firms

I competed for, won and led these among other account engagements where large global
firms were also bidding on the business:

•   Duke Life Point Academic Medical Ctr Pittsburgh - ACO, ICD-10, Revenue Cycle
    Strategy; HCC risk adjustment for Medicare Advantage. Evaluate over $1 billion in health
    care claims for risk adjustment, audit quality using RADV methods, clinical documentation
    coding quality. Evaluate Meaningful Use compliance risk with respect to storage and
    security of discrete data from medical records, data conversion strategies, analytics
    strategies.

•   Advisory to E.H.R., Accountable Care Organizations, practice management IT
    companies - manage a team that has advised over 100 companies on Meaningful Use,
    Medicare Advantage, ACA, ICD-10 regulations. Ambulatory, acute care – MU1, MU2,
    DSM-5, CPT, ICD-9, ICD-10, clinical documentation, HIPAA, Clinical Quality Measures,
    CA Civil Code §56;

•   Nemours Children’s Hospital, Orlando Florida Meaningful Use of Electronic Health
    Records, HIPAA transactions for claims processing, HIPAA secure clinical and physical
    plant data interoperability strategy of clinical and health care claims data using enterprise
    web services solutions. Sharing of data in emergencies between clinical staff and security
    to protect pediatric patients.

•   Credible, Inc. a leading behavioral health electronic health record software vendor
    Advise regarding compliance with HIPAA Privacy and Security in general and specific
    privacy and security rules for the Behavioral Health specialty, International Classification
    of Diseases version 10 versus Diagnostic and Statistical Manual of Mental Disorders, Fifth
    Edition (DSM 5), Accountable Care Organizations and Managed Care for Behavioral
    Health.




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Regulatory Consulting for Health Plan, Self-Insured Employer Regulations
I competed for, won and led these among other account engagements where large global
firms were also bidding on the business:


    •   Excellus Blue Cross Blue Shield – Rochester New York. Lead consulting
        engagement to remediate health plan enrollment process and TriZetto Facets Claims
        system. Rescue project from off-budget, off plan and restore to on time on budget.


    •   Blue Cross Blue Shield / Triple – S (Salud Puerto Rico) – Lead implementation of
        TriZetto QNXT claims system including all process models, software implementation
        and project management office.


    •   Preferred Care – Florida - Medicare Advantage HEDIS 5-Star Ratings, provider
        network clinical data, Utilization Management, Coordination of Benefits, Case
        Management and claims processing, chart review quality audits and analytics, risk
        adjustment using HCC and ICD-9 coding, RADV audit methods, RAPS file analytics.


    •   United Healthcare, Florida - Medicare Advantage HEDIS 5-Star Ratings, provider
        network clinical data, Utilization Management, Coordination of Benefits, Case
        Management and claims processing using HCC and ICD-9 coding, RADV audit
        methods, RAPS file analytics.


    •   Public Employees Health Plan – Salt Lake City Utah – Advise and assess re: new
        medical coding and medical policy management remediation to comply with ICD-10
        which impacts medical policy plan design, actuarial processes, covered amounts,
        utilization management, eligibility, referrals, covered amount and other factors.


    •   Regence BlueCross BlueShield, Seattle, Salt Lake, Portland - HITECH Act,
        HIPAA 5010, ICD-10 processes, DRGs, Ambulatory claims, Ancillary Services, and
        IT architecture to enable these capabilities which impacts medical policy plan design,
        actuarial processes, covered amounts, utilization management, eligibility, referrals,
        covered amount calculations and other factors.




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    •   Walmart – largest self-insured non-military employer globally – advice regarding
        ERISA Plans, Taft-Hartley Trusts, Minimum Essential Coverage, HIPAA insurance
        claims transactions, CORE operating rules, ICD-10, Affordable Care act business
        and regulatory issues and underlying systems and process issues for the largest self-
        insured employer in the world.


    •   TennCare – Tennessee Medicaid and TN Insurance Exchange eligibility



    •   Citra Health Solutions, Jacksonville FL – Advisor to CEO. Advise leadership
        regarding value based care, HIPAA privacy and security, meaningful use, strategic
        partnerships and acquisitions for Medicare Advantage and Accountable Care market.
        Focus on Value Based Pricing, Medicare Advantage Risk Adjustment using HCCs;
        population health, patient and physician engagement and quality reporting.


Investor Diligence - $4 billion in Health IT M&A transactions

Selected as advisor, investor diligence on large healthcare mergers and acquisitions.
    •   London PE Firm - pre-IPO cloud security business for healthcare.

    •   Kleiner Perkins Caufield & Byers, Silicon Valley – work with founding partners of
        VC that funded Google, Netscape, Amazon, Amgen, Intel, Sun Microsystems on
        largest cloud healthcare investment in Medicare Advantage and Accountable Care
        population health management and analytics

    •   In-Network and Out of Network medical charges, 340B Drug discount provider



    •   NY PE Firm – diligence on $500 million acquisition of Medicare Administrative
        Contractor (MAC) electronic data connectivity and services company. Evaluate
        financial projections and growth potential, capabilities regarding claims status, new
        EDI standards, medical policy plan design, actuarial processes, covered amounts,
        utilization management, eligibility, referrals, covered amount calculations and other
        factors.




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Medical Device, Pharmaceutical Regulatory Compliance
    Abbott Labs, Medical Optics Div. (formerly Advanced Medical Optics) - Regulatory
    Affairs, FDA Compliance – led global complaint handling roll out (US, UK, EU, Asia) of
    pharmacovigilance solution supporting FDA Adverse event reporting rules, National
    Drug Codes (NDCs), HCPCS, formularies, and health insurance coverage
    determinations for pharmaceuticals. Consulted to Optics division on global FDA
    Adverse Event reporting system, pharmacovigilance system for medical devices and
    pharmaceuticals.

    Led hardware and software development team through IQ/OQ/PQ process (IQ stands
    for Installation Qualification. OQ is Operational Qualification and PQ is Performance
    Qualification. Before you even get to IQ, OQ, PQ, if you're acquiring a new piece of
    equipment, you'll need design specifications that define exactly what's in that piece of
    equipment) for FDA approval for medical device.



Prior Experience

October 2002 to February 2007 – First American / CoreLogic - SVP eCommerce –
Banking solutions $8 billion firm. Led one of the largest most complex Sarbanes Oxley IT
audits in the U.S. according to attorneys and accounting firm. Led roll out of single platform
eCommerce solution to integrate Wells Fargo, JP Morgan Chase, Bank of America and other
transactions for mortgage loan origination (credit, valuation, tax, flood, title, etc.), closing,
securitization.

2002 to October 2003 – Fidelity - SVP eCommerce – Banking solutions $12 billion firm

May 2000 to 2002 – Citrix Systems – President & CEO (Erogo, a SaaS Cloud medical and
internet billing company) Built cloud SaaS internet and medical billing company from $500k to
$10 million in revenue and investment by Citrix

June 1997 to October 1999 to 2000 Axway / Worldtalk, Silicon Valley – VP Marketing for a
secure email and Cloud / Internet of Things (IoT) rules based interoperability company.

June 1997 to October 1999 - Heidrick & Struggles, Silicon Valley – President & CEO,
LeadersOnline – Hired by premier executive search firm to build and lead an online
recruiting business to diversify and assist with IPO. Set strategy acquired assets led launch of



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Internet recruiting business as portion of IPO prospectus (S-1) and road show with Goldman
Sachs, adding $100 million to market cap of Heidrick at IPO.


September 1981 – May 1997 – Smith Tool, Oracle, HP, Symantec, Intel, ParcPlace
Systems, Borland, Ashton-Tate – Silicon Valley, Southern California, Boston – roles from
analyst to Product Manager, VP Marketing and Sales, Corporate Development. Built a
company from $2 million to $50 million buyout, owner of $350 million P&L and brand re-
launch, turn around.




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                                     CV ATTACHMENT 1
                        Healthcare Transactions and Processes
            to Support Claims, Care Coordination and Financial Value of Care

       Health Care Processes – Health Plans

   •   Value Based Care Reporting for Medicare Part C and Medicare Shared Savings
       Plan Accountable Care Organizations including: HEDIS, MSSP 33 measures, HCC
       coding, risk adjustment, risk corridors, RADV and RAC audits, compliance platforms
   •   Payor - provider contracting – Mr. Arrigo leads a team that has over 30 years of
       health care provider and health insurance contract negotiation experience for
       hospitals, clinics and diagnostic services providers. Mr. Arrigo and his team
       have advised 18 hospitals and clinics, four medical device and pharmaceutical firms,
       two healthcare IT firms, and two four insurance firms as well as CMS in all 50 states
       on new regulatory impacts. He and his team have advised on over 2,000 contracts.
   •   Explanation of benefits – Mr. Arrigo’s team advises health plans on the revisions in
       EOBs that must be made to comply with new laws and regulations such as ICD-10.
   •   Actuarial & Underwriting – Mr. Arrigo and his team advise health plans on shifts in
       coverage determinations and medical policy based on the Affordable Care Act, ICD-
       10, CORE Operating rules and other regulations.
   •   Coverage determination planning and policy, IT systems supporting new regulations.
   •   Claims processing metrics – pass through rates, manual vs. electronic claims
       adjudication and Utilization Management (UM) rates.
   •   Payor - provider contracting – Mr. Arrigo leads a team that has over 30 years of
       health care provider and health insurance contract negotiation experience for
       hospitals, clinics and diagnostic services providers. Mr. Arrigo and his team
       have advised 18 hospitals and clinics, four medical device and pharmaceutical firms,
       two healthcare IT firms, and two four insurance firms as well as CMS in all 50 states
       on new regulatory impacts. Over time he and his team have advised on over 2,000
       contracts.

Health Care Processes and IT – Hospitals, Clinics Physicians and Other Providers

  •    Readmissions metrics
  •    Clinical documentation, coding, claims reimbursement
  •    Admission and discharge processes and metrics
  •    Revenue cycle management and metrics (DNFB – discharged not final billed, etc.)




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                                            CV ATTACHMENT 2
Private Payor, ACO, IDN, Medicare (Part A, B, C, D), Health IT Experience
      Additional Experience with Health Systems Providers
      ICD-10, HIPAA 5010, HIPAA Privacy and Security, Clinical Quality Measures Consulting Expert Work
  Feather River Hospital -
  http://www.frhosp.org                                      Selma Community Hospital -
                                                             http://www.adventisthealthcv.com
  Frank R. Howard Memorial Hospital -
  http://www.howardhospital.com                              Sonora Community Hospital -
                                                             http://www.sonoramedicalcenter.org
  Glendale Adventist Medical Center -
  http://www.glendaleadventist.com                           St. Helena Hospital -
                                                             http://www.sthelenahospital.org
  Loma Linda University and Loma
  Linda Medical Center -                                     Ukiah Valley Medical Center -
  http://www.llu.edu/llumc/                                  http://www.uvmc.org

  San Joaquin Community Hospital -                           White Memorial Medical Center -
  http://www.sjch.us                                         http://www.whitememorial.com

  Additional Experience with Health Plans

  ICD-10, HIPAA 5010, HIPAA Privacy and Security, Clinical Quality Measures Consulting
  Expert Work
     • Blue Cross Blue Shield of                      • Blue Cross Blue Shield of
        Oregon                                            Washington State
     • Blue Cross Blue Shield of Utah                 • CareFirst Blue Cross – Mid-
     • Public Employees Health Plan of                    Atlantic Region
        Utah                                          • BCBS of Tennessee –
     • Blue Cross Blue Shield of Idaho                    Chattanooga, TN

  Over ten Value Based Care Organizations (Accountable Care Organizations or ACOs
  and Medicare Advantage / Part C Plans including Essence Health Plan St. Louis, United
  Healthcare and Preferred Care Partners.




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                                          CV ATTACHMENT 3
Investor Transactions and Diligence
                                                                              Enterprise Value
            Investor                         Target Company
                                                                                 ($millions)
    Confidential PE fund                                                         Over $500
                                Provided opinions re coding for diagnostic
                                                                                   million
                                medical devices and their FDA approval
                                process relating to Independent
                                Diagnostic Testing Facility (IDTF). Opinion
                                re: Fair Market Value (FMV) of medical
                                directors; risk assessment of professional
                                component (PC) and technical component
                                (TC) for EEG and EKGs
    Confidential PE fund        Advise regarding Medicare Secondary            $2.0 billion +
                                Payor health care data, regulations,
                                valuation structure for inpatient and
                                outpatient medical claims
    Confidential $4 billion     Ability Networks (leading Medicare claims          $550
    PE fund, New York           technology infrastructure)
    Confidential $4 billion     Health Port, an electronic release of              $120
    PE fund, New York           HIPAA information service provider
    PE fund, confidential,      Confidential ePCR (electronic patient care      Confidential
    west coast                  record) EMS (emergency management
                                system) platform
    $300 million specialty      Orange Health (now Citra Health) (Value             $25
    PE fund, New York           based care for ACOs, MA plans)
    $300 million specialty      MZI, a health care claims processing                $25
    PE fund, New York           software vendor
    Kleiner Perkins Caufield    Lumeris, an Essence Global Holdings Co.            $600
    & Byers, Menlo Park CA      (Value based care for ACOs, MA plans)
    Large Private Equity        Covisint, a spin out of Compuware (cloud           $450
    firm, London                user access mgmt.)
    U.S. Private Equity firm,   Evaluation of Diabetic population insulin           TBD
    San Francisco               initiation and titration mobile technology
                                for glycemic control compared with
                                standard clinical practices.
    U.S. Private Equity firm    Drug formulary business, impact of              Confidential
                                specialty reimbursement in
                                endocrinology, hematology and
                                dermatology and new drug discoveries


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   Public Debt Investor      Top 10 E.H.R. software co. debt offering       confidential
   Confidential              Confidential healthcare analytics co.             $280
   Confidential              Confidential hospital revenue cycle                $190
                             management (RCM) business
   Confidential              Confidential Electronic Data Interchange           $150
                             claims co. health insurance
   Confidential              Genetic Testing and Precision Medicine             $300
   Confidential              Health system with multi-site hospital,           $1,000
                             physician group, clinic diagnostic imaging
   Confidential              Health IT solutions: Drug Dispensary           confidential
                             automation for oral and Intravenous Anti-
                             Emetic Drugs for Chemotherapy
                             Chemotherapeutic Regimen
   Confidential              Pharmacy Benefit Management (PBM)                  $600
                             business
   Confidential              Independent Diagnostic Testing Facility            $250
                             (IDTF) that provides EEG and EKG services
                                 Total Enterprise Value ($millions)          $7.7 Billion




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                                  CV ATTACHMENT 4 (page 1 of 2)
Affordable Care Act, Medicaid, Social Security, Insurance Exchange,
Benefits Determination and Orthotics Reimbursement
Experience with regulations, technology and requirements for systems supporting 15 State
HHS Medicaid insurance Exchange eligibility systems including these business requirements,
which in turn provide state-by-state eligibility for Affordable Care Act insurance mandates:

Types of Exchanges and Enrollee Characteristics:
§ Federal (HHS) Exchanges “Federally-Facilitated Marketplace” (“FFM”) which are being
   used in states such (FL, GA, NC, SC, VA, AL, MS, MO, AR, LA, OH, PA, IL, OK, MT, UT,
   ND, SD, NE) and provider contracting
§ State Based Exchange (“SBEs”) and state-by-state variances (CA, WA, ID, CO, KY, MN,
   NY, VT, RI, CT, MA, DE, MD, DC)
§ State MMIS – Medicaid Management Information Systems, which provide some of the
   eligibility technology platform for the Exchanges

Eligibility Process, Technology for State Health and Public Welfare
§ Request for insurance, pre-existing conditions under Affordable Care Act
§ 42 CFR MAGI – Modified Adjusted Gross Income (U.S. Citizenship, criminal and State
   Residency, household size and FPL % [see FPL])
§ FPL percentage – percent of Federal Poverty Level
§ TANF – Temporary Assistance to Needy Families (formerly AFDC) / The Personal
   Responsibility and Work Opportunity Reconciliation Act of 1996 (Public Law 104-193)
   and TEFRA
§ SNAP – Supplemental Nutrition Assistance Program (formerly food stamps)
§ Medicaid – free and low-cost health care to low income families
§ CHIP – Children’s Health Insurance Program (Medicaid for kids)
§ Women, Infants & Children (WIC) – nutritional supplement for pregnant women, infants
   and children (until school age)
§ Section 1619(b) of the Social Security Act re: Social Security beneficiaries, Medicaid
   eligibility.

Durable Medical Equipment, Prosthetics, Orthotics, Supplies (DMEPOS)
Generally familiar with 280 classifications of HCPS and specifically:
1. Alarm Device                                    12. Passive Motion Exercise Device
2. Ambulatory Traction Device                      13. Power Mobility Devices
3. CPAP Device                                     14. Reaching/Grabbing Device
4. Dynamic Flexion Devices                         15. Repair of Prosthetic Device
5. EMG Device                                      16. Repair/Modification of Augmentative
6. Foot Off Loading Device                             Communicative System or Device
7. Monitoring Feature/Device                       17. Skin Piercing Device
8. Ocular Prosthetics                              18. Speech Generating Device
9. Oral Device to Reduce Airway                    19. Standing Devices/Lifts
    Collapsibility                                 20. Stimulation Devices
10. Orthopedic Devices                             21. TMJ Device and Supplies
11. Pain Management                                22. Ventricular Assist Devices


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State HHS Eligibility Systems and Jurisdictions
        Jurisdiction                        State Systems and Processes
           Alaska         Eligibility Information System (EI)
           Arizona        Arizona Technical Eligibility Computer System (AZTECS)
           Georgia        SHINES, COMPASS, Vitale Events, Medicaid Data Broker
            Hawaii        Hawaii Automated Welfare Information System (HAWI)
           Kansas         Kansas Automated Eligibility & Child Support Enforcement
                          System (KAECSES)
          Louisiana       Medicaid Eligibility Data System (LA MEDS)
       Massachusetts Mass 21st Century Disability Policy (MA-21)
         Minnesota        MAXIS – state, county eligibility for public assistance, health
                          care; exchanges data with Medicaid Management Information
                          System (MMIS), MN Employment and Economic Development,
                          MN Dept. of Finance, and US Social Security Admin
         Mississippi      Mississippi Applications Verification Eligibility Reporting
                          Information and Control System (MAVERICS)
        Pennsylvania      COMPASS – health care, cash, long-term, home, supplemental
                          nutrition (SNAP) eligibility
        Rhode Island      INRhodes and UHIP data and functions for the Family
                          Independence Program, Food Stamps, Child Support
                          Enforcement, Medicaid Eligibility, Child Care, Public Assistance
       South Carolina Family Independence Financial System (FIFN)
         Tennessee        TennCare and SSI (Supplemental Security Income Under Social
                          Security Administration)
          Vermont         ACCESS
        Washington        Automated Client Eligibility Determination System (ACEDS)
              DC
          Wyoming         EPICS (Eligibility Payment Information Computer System)




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                                            CV ATTACHMENT 5
Meaningful Use of Electronic Health Records
Mr. Arrigo manages a team that has worked with over 50 electronic medical records vendors
and health care providers regarding achieving software certification for Meaningful Use (MU)
under the HITECH Act as well as MU implementations, attestations, and audit defense v.
CMS, OIG and CMS Auditors
Six of the Top 10 Electronic Health Record Companies – Athenahealth, Cerner, Epic,
McKesson, NextGen; assessed five mid-tier E.H.R. companies with respect to Meaningful
Use, HIPAA and Information Safeguards compliance.


Meaningful Use (MU) is composed of a complex list of Objectives, including HIPAA privacy,
Personal Health Information Safeguards, Clinical Quality Measures (CQMs), clinical decision
support (CDS), transitions of care, data portability, auditable events, patient engagement,
and other measures. Mr. Arrigo has opined as an Expert regarding MU provides opinions
and guidance on all of the following factors:

•    Authorized Testing and Certifications Bodies (ATCBs) and processes
•    Eligible Hospital (EP) and Eligible Provider (EP) attestations and audit defense under
     Medicare and Medicaid in Civil and Criminal defense cases.
•    Data quality check on numerators and denominators in live data vs. attestation reporting.
•    Stimulus funds, OIG, CMS auditors
•    HHS OCR, HIPAA breaches, State CMIA breaches and stimulus eligibility
•    Modular and Complete E.H.R. certifications
•    Discrete data structures
•    HIPAA Privacy and Security Assessments as a Component of MU and the
     Administrative, Physical, Technical Safeguards of HITECH Act as well as Operational
     Policies, Procedures and Documentation and HIPAA overlapping requirements.
•    Clinical workflow for both acute care and ambulatory E.H.R.s
•    Rollout Phase I, II of E.H.R. implementation in Emergency and Radiology departments
•    Medication dispensing modules
•    Standardized the implementation process and used as quality control while contracted to
     U.S. HHS / ONC to educate Regional Extension Centers providing national education
     and quality standards that were adopted by ONC.




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•    Standardized at the highest benchmarking level so that every implementation met the
     same criteria.


Team Qualifications

•    Served as co-chair of Critical Access Hospital boot camp for U.S. HHS for hospital E.H.R.
     implementations across the country
•    Experience training the implementation process for RECs, co-chaired the committee that
     built the curriculum for a proper curriculum
•    Served as E.H.R. advisors for the American Society of Oncologists, and American Gastro
     Institute standardized institute
•    E.H.R. contract negotiation process Value Added Reseller (VAR) selection
•    Hospital, Critical Access Hospital, Federally Qualified Health Centers, and Community
     Hospital (Medicare and Medicaid stimulus)
•    Published authors in Meaningful Use and HIPAA
•    Advised U.S. Department of Justice regarding E.H.R., §495.6 Meaningful use objectives
     and measures for EPs (physicians), eligible hospitals, and Critical Access Hospitals.
•    Attestation processes including compliance with

         a. computerized provider order entry (CPOE) for medication orders

         b. drug-drug and drug-allergy interaction checks, and “The EP, EH, or CAH has
            enabled and implemented the functionality for drug-drug and drug-allergy
            interaction checks for the entire EHR reporting period.”

         c. maintain an up-to- date problem list of current and active diagnoses

         d. Generate and transmit permissible prescriptions electronically (eRx) and access to
            external formularies

         e. medication information as structured data

         f. maintain Active Medication allergy list

         g. patient demographics, vital signs, smoking status, quality measures, patient
            education, clinical decision support, syndromic surveillance, immunization records,
            and transitions of care

         h. Patient access to records via web or mobile portal


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Meaningful Use Stage 1:
                                                       Meaningful Use Stage 2:

Eligible professionals:
                                                       Eligible professionals:
•   13 required core objectives
                                                      •   17 core objectives
•   5 menu objectives from a list of 9
                                                      •   3 menu objectives that they select from
•   Total of 18 objectives
                                                          a total list of 6

Eligible hospitals and CAHs:                          •   Total of 20 objectives
                                                       Eligible hospitals and CAHs:
•   11 required core objectives
                                                      •   16 core objectives
•   5 menu objectives from a list of 10
                                                      •   3 menu objectives that they select from
•   Total of 16 objectives
                                                          a total list of 6
                                                      •   Total of 19 objective




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                                      CV ATTACHMENT 6
Healthcare Business Transactions, Supporting HIPAA X12 Electronic
Transactions

   45 CFR Part 162 Health Insurance Reform; Modifications to the Health Insurance
               Portability and Accountability Act (HIPAA); Final Rules


          1. Health Care Eligibility Benefit Inquiry and Response – EDI 270/271
          2. Health Care Claim Status Request / Response – EDI 276/277
          3. Health Care Services Request for Review / Response (Prior Auth.) – EDI 278
          4. Payroll deductions for premiums – EDI 820
          5. Benefit enrollment and maintenance – EDI 834
          6. Health care claim: Payment / Advice – EDI 835,
          7. Health Care Claim: institutional, professional / dental –
                  a. EDI 837, Pharmacy claim (NCPDP),
                  b. Coordination of Benefits (COB) and third-party liability
                  c. Fraud waste and abuse analytics and Special Investigative Unit (SIU)



Modifications to § 162.1102, § 162.1202, § 162.1302, § 162.1402, § 162.1502, § 162.1602,
§ 162.1702, and § 162.1802 to adopt the ASC X12 Technical Reports Type 3 (TR3), Version
005010 (Version 5010) reporting of clinical data, enabling the reporting of ICD–10–CM
diagnosis codes and ICD–10–PCS procedure codes




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Revenue Cycle Management, Clinical Documentation and Coding
Processes
       Lead team that implements hospital system assessments for ICD-10 and CPT coding
                              compliance and quality, including:

CDI (Clinical Documentation Improvement) strategy and alignment between HIM department,
coders, nursing, physicians. Benefits of coder-physician collaboration, and securing results
in improved coding. Engage case managers to focus on CDI trends, work with physicians
that are the largest admitters. Understanding of key processes including:

   Patient intake

   Patient assessment

   Documentation of care
   Insurance coverage determination
   Discharge activities
   Provider communications
   Referrals
   Prior authorizations
   Coding
   Charge capture, super bills
   Billing
   Revenue collection
   Vendor impacts
   EHR and other system readiness to support clinical documentation improvement
   IT plans
   Impact on concurrent initiatives
   Reporting

   Quality improvement efforts

   Payor readiness and processes; medical policy assumptions for contracting

   Institutional Review Board (IRB) impact review for ICD-10

      Data warehouse and business intelligence “retooling” of analytics required.
   National Correct Coding Initiative (NCCI), Modifiers, Bundling and Unbundling
   Criteria According to Centers for Medicare and Medicaid




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                      CV ATTACHMENT 8 – Drug Pricing Practices
Experience using analytics to identify UCR (Fair Market Value) in
Pharmaceutical Pricing

  •   Re-Defining AWP                                   •   Mail-Order Schemes
  •   % Factor                                          •   Leveraging Captive Facility
  •   NDC price reporting                               •   Multiple MAC Lists
  •   Mark-Ups & Price Spreads                          •   Drug Switching
  •   Backroom Processor Schemes                        •   Drug Repackaging
  •   Rebate Schemes                                    •   Fraudulent Plan Design
  •   Flat, Access, Market Share                        •   Zero Cost Scripts
  •   Rebate Disguising                                 •   Higher Than Logic
  •   Rebate Pumping                                    •   Pocketing Refunds, Reversals and
  •   Re-Defining “Brand” and “Generic”                     Returns
  •   Formulary Steering                                •   Payor Account Crediting Tricks
  •   Pre-Authorization Schemes                         •   Specialty Drug Issue
  •   Clinical Rules & Protocols




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                                           CV ATTACHMENT 9
  HIPAA Privacy Rule and HIPAA Security Rule, HITECH Act Information
           Safeguards and State Statutes in WA, CA, NV, NY, MA, FL
             Lead team that assesses and advises regarding industry best practices and
          implementation of HIPAA Privacy and Security as well as HITECH Act, including:


 Security best practices for HIPAA Covered Entities
 HHS Security Standards:
     1. Administrative Safeguards
     2. Physical Safeguards
     3. Technical Safeguards
     4. Organizational Policies and Procedures and Documentation Requirements
 Opinions regarding but not limited to:
     •   “Breach” under the Privacy Rule, including but not limited to, 45 C.F.R. § 164.402.
     •   “Business Associate” under the Privacy Rule, including but not limited to, 45 C.F.R. §
         160.103.
     •   “Covered Entity” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
     •   “Designated Record Set” under the Privacy Rule, including but not limited to, 45 C.F.R. §
         164.501.
     •   “Disclosure” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
     •   “Electronic Protected Health Information” or “ePHI” under the Privacy Rule, including but
         not limited to, 45 C.F.R. § 160.103.
     •   “Individual” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
     •   “Minimum Necessary” under the Privacy Rule, including but not limited to, 45 C.F.R. §§
         164.502(b) and 164.514(d).
     •   “Privacy Rule” Standards for Privacy of Individually Identifiable Health Information at 45
         C.F.R. Part 160 and Part 164, Subparts A and E.
     •   “Protected Health Information” or “PHI” in 45 C.F.R. §§ 160.103 and 164.501, and is the
         information created or received by BA
     •   “Required by Law” in 45 C.F.R. § 164.103.
     •   “Security Incident” shall have the meaning given to such term under the Security Rule,
         including but not limited to, 45 C.F.R. § 164.304.
     •   “Security Rule” 45 C.F.R. Part 160 and Part 164, Subparts A and C.
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     •   “Subcontractor” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.
     •   “Unsecured Protected Health Information or PHI” under the Privacy Rule, including but
         not limited to, 45 C.F.R. § 164.402.
     •   “Use” under the Privacy Rule, including but not limited to, 45 C.F.R. § 160.103.




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          CV ATTACHMENT 10 Rural Health Centers (RHCs), Critical Access Hospitals
                         (CAHs), Federally Qualified Health Centers (FQHCs)
 Section 10501(i)(3)(B) of the Affordable Care Act
 Rural Health Clinics Act (P.L. 95-210)
 •    Use of grants under TRICARE program under chapter 55 of title 10, United States
      Code for administrative programs.
 •    All-Inclusive Rate Reimbursement (AIRR)
 •    Prospective Payment System (PPS)
 •    CMS 222 financial reports for RHCs and FQHCs and basis for reports supported by
      clinical documentation and medical coding
 •    Baseline Practitioner Productivity Standards
 •    Historical perspective regarding Benefits Improvement and Protection Act of 2000
      (BIPA) and State Medicaid program reimbursement RHCs (In lieu of cost-based
      reimbursement, Medicaid shifted RHCs to a PPS methodology)
 •    Industry best practices and guidelines and compliance to U.S. HHS / Health
      Resources and Services (HRSA) standards including:


                                          STATUTE
          Needs Assessment                Section 330(k)(2) of the PHS Act
     1.
                                          Section 330(k)(3)(J) of the PHS Act
          Required and Additional         (Section 330(a) of the PHS Act)
     2.
          Services                        (Section 330(h)(2) of the PHS Act)
          Staffing Requirement            (Section 330(a)(1), (b)(1)-(2), (k)(3)(C), and (k)(3)(I) of
     3.
                                          the PHS Act)
          Accessible Hours of             (Section 330(k)(3)(A) of the PHS Act)
     4.
          Operation/Locations
          After Hours Coverage            (Section 330(k)(3)(A) of the PHS Act and 42 CFR Part
     5.
                                          51c.102(h)(4))
          Hospital Admitting Privileges   (Section 330(k)(3)(L) of the PHS Act)
     6.
          and Continuum of Care
          Sliding Fee Discounts           (Section 330(k)(3)(G) of the PHS Act, 42 CFR Part
     7.
                                          51c.303(f)), and 42 CFR Part 51c.303(u))
          Quality                         (Section 330(k)(3)(C) of the PHS Act, 45 CFR Part 74.25
     8.
          Improvement/Assurance Plan      (c)(2), (3) and 42 CFR Part 51c.303(c)(1-2))


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         Key Management Staff             (Section 330(k)(3)(I) of the PHS Act, 42 CFR Part
   9.
                                          51c.303(p) and 45 CFR Part 74.25(c)(2),(3))
         Contractual/Affiliation          (Section 330(k)(3)(I)(ii), 42 CFR Part 51c.303(n), (t)),

   10.   Agreements                       Section 1861(aa)(4) and Section 1905(l)(2)(B) of the
                                          Social Security Act, and 45 CFR Part 74.1(a) (2))
         Collaborative Relationships      (Section 330(k)(3)(B) of the PHS Act and 42 CFR Part
   11.
                                          51c.303(n))
         Financial Management and         Section 330(k)(3)(D), Section 330(q) of the PHS Act and
   12.
         Control Policies                 45 CFR Parts 74.14, 74.21 and 74.26)

   13.   Billing and Collections          (Section 330(k)(3)(F) and (G) of the PHS Act)
         Budget                           (Section 330(k)(3)(D), Section 330(k)(3)(I)(i), and 45 CFR
   14.
                                          Part 74.25)
         Program Data Reporting           (Section 330(k)(3)(I)(ii) of the PHS Act)
   15.
         Systems
         Scope of Project                 (45 CFR Part 74.25)
   16.
         Board Authority                  (Section 330(k)(3)(H) of the PHS Act and 42 CFR Part
   17.
                                          51c.304)
         Board Composition                subsection (g), (h), (i), or (p). (Section 330(k)(3)(H) of the
   18.
                                          PHS Act and 42 CFR Part 51c.304)
         Conflict of Interest Policy      (45 CFR Part 74.42 and 42 CFR Part 51c.304(b)).
   19.




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                  CV ATTACHMENT 11 - Clinical Documentation, Coding, Billing,
                                         Reimbursement Training

     1. National Correct Coding (NCCI)                17. Dietetics and Nephrology, insulin
        claims edits, Sept 2012.                          DME billing for diabetes, December
     2. Ambulance billing fees and trauma                 2015, AHIMA
        triage and State, Federal CDC                 18. Liens, balance billing, subrogation
        trauma activation criteria Sept 2012.             seminar, 2014
     3. Behavioral health, November 2013iii           19. Affordable Care Act ‘metal’ plans,
     4. Cardiology, November 2013                         Medicaid expansion, Federal
     5. Family practice and internal                      Poverty Level guidelines on cost of
        medicine, November 2013                           care, 2014
     6. Obstetrics, November 2013                     20. Coding and reimbursement for Pain
     7. Oncology, November 2013                           Management, December 2015;
     8. Urology, November 2013                            Outpatient physical, occupational,
     9. Orthopedics, November 2013                        and speech therapy, ambulance and
     10. General Surgery, and Dental,                     non-emergency transportation,
        November 2013                                     January 2016viii
     11. Plastic Surgery, November 2013               21. Valuing episodes of Care: a)
     12. HCC, risk adjustment, November                   episodic, b) bundled payments, c)
        2013iv                                            value based payment / risk
     13. DRG calculations, ICD-10, IPPS,                  adjustments, d) episode groupers,
        OPPS payment systems November                     methodologies, e) PBM / pharmacy
              v
        2013                                              charges, f) costs associated with
     14. Diagnostic Imaging & Nuclear                     complications, g) prospective,
        Medicine (PET-Scans) September                    retrospective, and predictive
        2014vi                                            modeling; h) claims adjudication in
     15. Medical Auditing, including focus on             episodic processes, ACOs, MAOs,
        anesthesiology, pathology,                        fiscal intermediaries, PROMETHIUS
        evaluation management, radiology,                 analytics payment model for risk
        chemotherapy, psychotherapy,                      adjustment, comorbid factors and
        physical therapy, modifiers, medical              cohorts, data required to produce
        necessity. November 2015vii                       episodic care analysis; June 2016ix
     16. Dermatopathology diagnosis
        relevant to medical specialty, 2016

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                  CV ATTACHMENT 12 – Medical / Laboratory Test Fees

Opinions regarding economic value and medical necessity (based on the diagnosis of a
licensed medical professional or retained medical expert provided to me as a precursor to
rendering my opinion) as determined in payor medical policies and coverage determinations
for medical laboratory test that can be used to detect, diagnose, or monitor diseases,
disease processes, and susceptibility to disease or predisposition based on genetics. Areas
of expertise include:


   1. diagnosis (associated diagnosis codes are an important indicator of medical necessity
       as determined in payor medical policies and coverage determinations) and billing
       codes including:
          a. ICD-10-CM which is U.S. standard from October 1, 2015 forward
          b. ICD-9-CM – for dates of service prior to October 1, 2015
          c. CPT – for outpatient procedures (for example 8500 - Blood count; blood smear,
              microscopic examination with manual differential WBC count)
          d. NCCI – National Correct Coding Initiative to verify whether bundled procedures
              and other factors are acceptable
   2. overview of the test
   3. utility - when/why/how the test is used
   4. diseases the test is often used to detect or monitor as this pertains to coding and
       billing and economic value of the test in a specific geographic market or based on
       national standards, as well as:
          a. specimen collection methods/procedures (for example, whole blood collection)
          b. testing methodology (for example, hematology)
          c. usual turnaround time (for example, days elapsed time)
          d. reference ranges for test results (normal, abnormal, male / female values etc.)
          e. additional or related tests


NOTE: Interpretation of tests is performed by a licensed medical professional and if that
interpretation is provided to me in patient medical record(s), it may be useful in opinions
regarding payer determinations or economic value. I do not give medical opinions.


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       CV ATTACHMENT 13 – Ambulance, Trauma Activation Fees, Anesthesiology

Industry best practices and guidelines for determining economic value and medical necessity
(which may be based on the diagnosis of a licensed medical professional or retained medical
expert provided to me as a precursor to rendering my opinion) as determined in payor
medical policies and coverage determinations

Ambulance Fees

   1. Patient’s condition - medically indicated / contraindicated
   2. Medical Necessity as determined by CMS
   3. Use of licensed personnel as a determinant of fees
   4. Non-covered ambulance services
   5. Transportation to or from one hospital or medical facility to another hospital or medical
      facility, skilled nursing facility, or free-standing dialysis center in order to obtain
      medically necessary diagnostic or therapeutic services
   6. Mileage
   7. Waiting time
   8. Necessary equipment and supplies as determinant of fees
   9. Supplies (bundled / unbundled, Date of Service and applicable standards)


Trauma Activation Fees


   •    CDC Guidelines for Field Triage of Injured Patients: Recommendations of the
        National Expert Panel on Field Triage
   •    County and Provider standards for Triage and documentation for Trauma Activation

Anesthesiology Fees

   1. Time unit intervals, or fraction thereof, starting from the time the physician begins to
        prepare the patient for induction and ending when the patient may safely be placed
        under post-operative supervision and the physician is no longer in personal
        attendance. Actual time units will be paid and are not to be rounded.
   2. Base Units and their values are described by industry regulatory and standards
        bodies
   3. Anesthesia Conversion Factors for geographic adjustments
   4. Industry best practices for billing and coding



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      CV ATTACHMENT 14 – Staff and Operational Policies for Healthcare Providers
                  Certification Review Process Guidelines and Best Practices:
             Health Care Staffing Services Certification, Personnel File Review, Joint
                                    Commission Standards 3:

1. Current licensure, certification, or registration required by the state, the firm, or customer
     from primary sources
2. Education and training associated with residency or advanced practice, experience, and
     competency appropriate for assigned responsibilities
3. Clinical work history/references
4. Initial and ongoing evaluation of competency
5. Information on criminal background per law, regulation, and customer requirements
6. Compliance with applicable health screening and immunization requirements established
     by the firm or customer
7. Information on sanctions or limitations against an individual’s license is reviewed upon
     hire, and upon reactivation or expiration.
8. For individuals who are practicing as Licensed Independent Practitioners, in addition to
     the aforementioned requirements, the firm performs the following according to law,
     regulation, and firm policy: Voluntary and involuntary relinquishment of any license or
     registration is verified and documented
9. Voluntary and involuntary termination of hospital medical staff membership is verified and
     documented
10. Any evidence of an unusual pattern or an excessive number of professional liability
     actions resulting in a final judgment against the applicant is investigated and documented
11. Documentation that the staff person has received orientation from the organization




3
 For a health care organization to participate in and receive payment from the Medicare or Medicaid
programs, it must meet the eligibility requirements for program participation, including a certification
of compliance with the Conditions of Participation (CoPs) or Conditions for Coverage (CfCs), which
are set forth in federal regulations. The certification is based on a survey conducted by a state
agency on behalf of the federal government, the Centers for Medicare & Medicaid Services (CMS) or
a national accrediting organization, such as The Joint Commission, that has been approved by CMS
as having standards and a survey process that meets or exceeds Medicare’s requirements. Health
care organizations that achieve accreditation through a Joint Commission deemed status survey are
determined to meet or exceed Medicare and Medicaid requirements.

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      CV ATTACHMENT 15 – Medical Device Approvals for Specific Purpose, Embedded
     Systems Development and Testing for Market, Pharmacovigilance for FDA Adverse
                                              Event Reporting


I.         A 510(k) premarket submissions to FDA to demonstrate that device to be marketed
           safe and effective, that is, substantially equivalent, to a legally marketed device (21
           CFR 807.92(a)(3)) that is not subject to Premarket approval (PMA):

II.        Device predicates as it pertains to FDA approval for specific purpose

           •        intended use
           •        technological characteristics vs. predicate;
           •        technological characteristics and the information submitted to FDA

                o does not raise new questions of safety and effectiveness
                o demonstrates that device is at least as safe, effective as predicate


III.       Audits of healthcare providers and claims with respect to approved devices matched
           to medically necessary procedures:

           a. Frequencies and bandwidths applicable to cardiac and brain diagnostic monitoring
              (ECG, EKG, EEG) and applicable medical procedure codes
           b. Independent Diagnostic Testing Facility form CMS-855B device inventories
           c. CPT codes matched to devices, procedure billing timelines

IV.        Performance Qualification (PQ), IQ (Installation Quality), Operational Qualification
           (OQ)
           a. Led embedded systems software team
           b. Coordinated regulatory affairs work, liaison regarding IQ/OQ/PQ process




i
 Bioethics is the study of ethical, legal, and social issues raised by advances in biology and medicine including
Paternalism and Genetic Testing for Disease.



ii
     Although the name ‘health informatics’ only came into use in about 1973 (Protti 1995) it is a study
that is as old as healthcare itself. It was born the day that a clinician first wrote down some
impressions about a patient’s illness, and used these to learn how to treat their next patient. The
world is aging and there are increasing numbers of people with chronic disease; it is recognized that



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the only sustainable option is planning and delivery of healthcare through technology innovation.
Biomedical Informatics seeks to discern the difference between data, information, knowledge and
wisdom by increasing sharing and comprehension. Professor Enrico Coiera of the Macquarie
University argues that health informatics is the logic of healthcare. Dr. Mark Musen MD PhD
Professor, Medicine - Biomedical Informatics Research at Stanford points out that that digital
information has made knowledge infinitely larger for clinicians, and they are now are in a knowledge
management crisis – getting the right information at the right time is the challenge.
iii
      Training delivered by MD, board certified orthopedic surgeon and AHIMA certified trainer who advised CMS in
all 50 states, AHIMA certified inpatient coder and chart auditor, AAPC certified outpatient coder and chart
auditor
iv
      Used in Medicare Part C (Medicare Advantage “MAO”) Accountable Care (ACO) organizations
v
      Training delivered by MD, board certified orthopedic surgeon who advised CMS in all 50 states
vi
      Training delivered by Radiology Certified Coder (RCC), Certified Interventional Radiology Cardiovascular
Coder (CIRCC), Certified Professional Coder (CPC) credentialed instructor
vii
       American Academy of Professional Coders (AAPC)
viii
       Training delivered by National Association of Rehabilitation Providers (NARP) trainer
ix
      Health Care Incentives Improvement Institute, HC3i




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                         EXHIBIT D




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            Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator




               Michael F. Arrigo Expert Witness Litigation Experience

                      Cases Where Expert has Provided Testimony

                                          October 9, 2017




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                   Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator

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       •    (R) U.S. and California ex rel. Julie Macias v. Pacific Health et al ..................................... 3
       •    (P) Jenee Hill on behalf of herself and all others v United Healthcare Insurance .... 4
       •    (P) Confidential v. Confidential in matter before Federal Trade Commission .......... 4
       •    (D) U.S. Attorney General v. Confidential Hospital System in Ohio ................................ 5
       •    (‘R) United States Ex. Rel. Manijeh Nikakhtar MD v. Mission City, Nick Gupta.......... 5
       •    (D) United States Ex. Rel. v. Michael Mirando and Holter Labs ........................................ 6
       •    (P) Allstate v Confidential Defendants .......................................................................................... 6
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       •    (P) HITECH Medical Consulting v. NextCare ............................................................................ 7
       •    (D) SF Spine v. Claimworks JAMS Reference No. 1110018697 ........................................ 8
       •    (D) Billrite billing solutions, Inc. Spine and & Nerve Diagnostic Center. ..................... 8
       •    (D) McDermott v. Children’s Hospital of Philadelphia ......................................................... 9
       •    (P) Graewingholt et al v St. Josephs’ Health System ........................................................... 10
       •    (D) Confidential Plaintiff v. Pasadena School District ....................................................... 11
       •    (P) R.D., vs. Providence Health Services et al ........................................................................ 12
       •    (D) Confidential Plaintiff (Jane Doe) v. Brigham and Women’s Hospital. ................. 13
       •    (P) Jane Doe vs United Medical Center and Innovative Staffing Solutions. .............. 14
       •    (P) Jessica Umstead, Plaintiff v. Mercy Hospital, Cedar Rapids Iowa ......................... 15
       •    (P) Jacqueline Krouse v. Avera Health and Chris Krouse ................................................. 16
       •    (P) FT v. Children’s Mercy Hospital ........................................................................................... 17
       •    (D) Paulette Diaz, et al, vs. MDC Restaurants, LLC et al; ..................................................... 21
       •    (D) Natalie Torres v Pocatello Children and Adolescent Clinic, et al., ........................ 21
       •    (D) Bradley Welding v Franscali and Orthopedic Associates of Northern Illinois .... 22
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       •    (D) Rose v. Herfy's and Lee.............................................................................................................. 27
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       •    (D) Tamie Lobin v. J.B. Hunt Transport, Inc. and Roosevelt Allen.................................... 30
       •    (P) Medical Acquisition Company, Inc. v. Southwest Law Center et al .......................... 31




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              Key: (P) = retained by plaintiff, (D) = retained by defense (R) = retained by Relator

   Federal Cases
   •   (R) U.S. and California ex rel. Julie Macias v. Pacific Health et al
   Case CV-12-00960 RSWL Expert report July 2017. Provide an opinion of the amount of
   damages for both Medicare Part A and Part B and Medi-Cal based on potential fraud,
   improper patient referrals and anti-kickback violations, cost report fraud, and claims
   submitted for services provided by physicians and clinical staff for a free-standing
   psychiatric hospital and a hospital that was designated as a Disproportionate Share
   Hospital (‘DSH’). Basis of opinions: analysis of over 1 million claim files, patient
   records and supporting documents, use of industry best practices and guidelines; The
   U.S. Department of Health and Human Services Centers for Medicare and Medicaid
   (CMS) views health care providers as vital in protecting the integrity of the Medicare
   Program by submitting accurate claims, maintaining current knowledge of Medicare
   billing policies, and ensuring all documentation required to support the medical need for
   the service rendered is submitted when requested by the MAC. Medical Necessity
   standards, “In addition to correct claims completion, Medicare coverage and payment is
   contingent upon a determination that an item or service:

   • Meets a benefit category;
   • Is not specifically excluded from coverage; and
   • Is reasonable and necessary.1




   1 Medicare Billing: 837I and Form CMS-1450, source: U.S. Department of HHS, Centers

   for Medicare and Medicaid. https://www.cms.gov/Outreach-and-Education/Medicare-
   Learning-Network-MLN/MLNProducts/Downloads/837I-FormCMS-1450-
   ICN006926.pdf



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   •       (P) Jenee Hill on behalf of herself and all others v United Healthcare Insurance

       United States District Court, Central District of California, Southern Division. Case
       SACV15-00526 DOC (RNBx). Declaration March 6, 2017 in support of Plaintiff’s
       reply to opposition to renewed motion to certify case as a class action. Opinions
       regarding the function of Utilization Management best practices and regarding health
       plan industry best practices, generally accepted industry standards and customary
       guidelines followed by health plans in the normal course of business processes, and
       information technology with respect to UHIC’s ability to identify members for which it
       has denied requests for prior authorization for a surgical procedure associated with CPT
       medical code 22857, health plan H-Plan identifiers, and Medical Loss Ratio reporting.

       •    (P) Confidential v. Confidential in matter before Federal Trade Commission

       Preparation for litigation filings in California, New York, Florida, Texas State
       Attorneys General - Estimates of financial impact on U.S. health population under fee
       for service Medicine and health insurance reimbursement rates under both fee for
       service medicine and risk adjusted value based care, and how rates are set based on
       Computer Assisted Coding and the Affordable Care Act. Litigants are two of the largest
       healthcare firms in America with market capitalizations of over $10 billion. Medical
       coding and economics healthcare expert consultant for landmark litigation; worked
       directly with former RAND Economists, Jonathan Schiller at Boies Schiller and
       Flexner LLP re provider ICD-9, CPT and ICD-10 medical coding and billing as
       provided for in 45 CFR 162.1002 that adopted the ICD-10-CM and ICD-10 PCS code
       sets as HIPAA standards. Prepared for expert testimony which counsel anticipated
       would go before Commissioner Brill or Ramirez regarding functions of encoder
       software, computer assisted coding, Meaningful Use of Electronic Health Records
       under the ARRA HITECH Act, access to data as precursor to computer assisted coding,
       anti-trust and macroeconomics of care in health plans based on data interoperability;
       consideration of IT switching costs, payor-provider contracting practices and




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     economics; preparation for expert report and Daubert hearing; case settled and sealed.
     Expert report. Due to the terms of the settlement agreement, the case is sealed and I am
     not permitted to disclose the names of the litigants.

     •   (D) U.S. Attorney General v. Confidential Hospital System in Ohio

     Prepare and deliver testimony before AUSA, OIG, HHS and FBI re: investigation into
     Meaningful Use of Electronic Health records (ONC certification of software and CMS,
     Medicaid Attestations) to defend client against potential litigation related to False
     Claims Act.

            o 45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
              certification criteria (Meaningful Use)
            o HIPAA Privacy and Security Assessment
            o 31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems,
              processes and people to maintain accurate records.


     •   (‘R) United States Ex. Rel. Manijeh Nikakhtar MD v. Mission City, Nick Gupta

     CV 12-3692-PSG (SHX) - United States District Court, Central District of California.
     Expert report 2015. Opinion re: industry best practices and guidelines to comply with
     Section 10501(i)(3)(B) of the Affordable Care Act, and whether data reporting under
     the ACA is also a financial matter of reimbursement for both CMS / Medicare and
     California State Medi-Cal during the transition from the All-Inclusive Rate
     Reimbursement (AIRR) to a new Prospective Payment System (PPS) for Federally
     Qualified Health Centers (FQHC) and any differences in reimbursement based on
     national and regional standards and unit of work measures called Relative Value Units
     (RVUs). Evaluation of Freedom of Information Act (FOIA) obtained materials
     regarding FQHC compliance to U.S. HHS / Health Resources and Services (HRSA)
     standards and Medicare Part C reimbursement under risk adjustment scenarios.
     Evaluation and management (E&M), pathology, medication management fees and other
     coding and billing regulations and industry best practices. Patient population includes
     skilled nursing, behavioral health, ambulatory settings.




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       •     (D) United States Ex. Rel. v. Michael Mirando and Holter Labs – CASE NUMBER
            CR 16-0215 - United States District Court, Central District of California. Opinion
            re: Damages calculations. Expert report March 2016. Damages hearing August
            2017. Independent Diagnostic Testing Facility (IDTF), use of FDA Approved
            devices for ECG and EEGs, associated CPT codes, patient charts, government
            methodologies. Damages calculations for potential sentencing and restitution.
            Examination of FDA 510(k) forms, frequency sampling rates vs. comparable
            marketed devices for ECG and EKG. Statistical sampling of patient charts,
            projected accuracy in Government’s methodology compared to sample sizes
            required for 95% to 99% certainty (‘beyond reasonable doubt’) vs. 51% ‘reasonable
            degree of certainty.’ Produce analytics of claims data, patient referrals for damages
            calculations. Medical procedures included:

            95812 - Electroencephalogram (EEG) extended monitoring; 41-60 minutes
            95813 - Electroencephalogram (EEG) extended monitoring; greater than 1 hour
            95816 - Electroencephalogram (EEG); including recording awake and drowsy
            95819 - Electroencephalogram (EEG); including recording awake and asleep
            95822 - Electroencephalogram (EEG); recording in coma or sleep only
            95827 - Electroencephalogram (EEG); all night recording
            95950 - Monitoring for identification and lateralization of cerebral seizure focus,
            electroencephalographic (e.g., 8 channel EEG) recording and interpretation, each 24
            hours
            95951 - Monitoring for localization of cerebral seizure focus by cable or radio, 16
            or more channel telemetry, combined electroencephalographic (EEG) and video
            recording and interpretation (e.g., for presurgical localization), each 24 hours
            95953 - Monitoring for localization of cerebral seizure focus by computerized
            portable 16 or more channel EEG, electroencephalographic (EEG) recording and
            interpretation, each 24 hours, unattended.



   •       (P) Allstate v Confidential Defendants

   Damages report November 2015. Michigan retained as expert to evaluate nationwide
   diagnostic imaging reimbursement damages for professional component (PC) and




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   technical component (TC) as well as RVUs focusing on Magnetic Resonance Imaging
   (MRI) Usual, Customary and Reasonable pricing, CPT coding and billing and resulting
   charges, and supporting clinical data - Criteria for determining reasonable charges 45
   CFR §405.502; Michigan State automobile insurance (no-fault). No case filed at time of
   expert report.

   State Cases

   •    (D) San Francisco Spine Surgeons, LLC v. Claim Works LLC.
        JAMS Reference No. 1110018697, hearing held October 2017 in San Jose, California
        (Ambler, Arb). Deposition and testimony at hearing. Loss / damages calculations
        opinions in a dispute between a health care provider and billing company. Analysis of
        thousands of lines of claim data using industry best practices to determine reliability
        of the data for damages / loss calculations. Opine re: duties of health care provider
        and billing company based on knowledge training education and experience, industry
        best practices and guidelines and U.S. H.H.S. Office of Inspector General (OIG)
        guidance for third-party billing relationships. Prepare rebuttal to expert on proper
        medical coding, billing and loss / damages calculations. Certified as an expert by
        Judge ambler, stipulated to by counsel for both litigants.


   •    (P) HITECH Medical Consulting v. NextCare

       Case No. CV2015-00435D Superior Court of the State of Arizona, County of Maricopa.
       Trial November 2016. Breach of contract, Unjust Enrichment, Contractual Bad Faith
       involving consulting firm’s implementation of Electronic Health Records in an effort to
       comply with the ARRA HITECH Act of 2009, Meaningful Use, and HIPAA Standards.
       Retained to educate attorneys and ultimately the trier of fact regarding the Electronic
       Health Records, HITECH, and HIPAA, what the implementation and compliance
       process is, meaningful use core measures and menu measures, quality reporting,
       meaningful use audits, false information and risks of false claims act. Explain what
       patient engagement, smoking status, inoculations, clinical decision support patient




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     education materials are and why relevant to compliance with Meaningful Use. Discuss
     certification process for Electronic Health Records and billing with respect to medical
     diagnosis, medical procedures and associated medical codes. Discuss role of U.S. HHS
     Centers for Medicare and Medicaid, Office of National Coordinator, Regional
     Extension Centers in achieving Meaningful Use. Opinions regarding implementation
     best practices, whether HITECH Med Consulting met best practices, attestation
     attempts, failures, and success rates as reported by U.S. HHS / CMS and why this is
     relevant. Some relevant statutory requirements of the case involving my testimony
     included but were not limited to:

     •   45 CFR §170.314 (subsections); 45 CFR §170.304 electronic health record
         certification criteria (Meaningful Use)
     •   HIPAA Privacy and Security Assessments and HITECH Act to ensure the privacy
         and security and safeguarding of information.
     •   Accuracy of clinical information
     •   31 U.S.C. § 3729. (a) False Claims Act with respect to IT systems, processes and
         people to maintain accurate records.

     •   (D) SF Spine v. Claimworks JAMS Reference No. 1110018697

         Rebuttal expert regarding damages in a dispute between a physician practice and
         their outsourced medical billing company regarding damages, industry best
         practices for medical billing companies and the duties of health care providers in
         facilitating and maximizing billing reimbursements with third party billing
         companies. Basis in addition to knowledge training education and experience
         including U.S. HHS OIG Guidelines for third party billing companies, claims
         processing and denials, reasons for denials and whether those denials are likely
         caused by billing company or provider. Deposition testimony June12, 2017.
         Arbitration June 2017.

     •   (D) Billrite billing solutions, Inc. Spine and & Nerve Diagnostic Center.




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        34-2014-00166608 SUPERIOR COURT OF THE STATE OF CALIFORNIA
        COUNTY OF SACRAMENTO- serve as expert consultant regarding billing practices
        and HIPAA Privacy and Security practices in a case involving outsourced medical
        billing. Opinions regarding 45 CF § 164.402(1) definition of Breach, exclusions for
        good faith and inadvertent disclosures; 45 CFR 160.103(4)(3) definition of HIPAA
        Covered Entity and duties; policies and procedures to address security incidents. This
        includes (i) identifying and responding to suspected or known security incidents, (ii)
        mitigating, to the extent practicable, harmful effects of security incidents that are
        known to the covered entity, and (iii) documenting security incidents and their
        outcomes. (See 45 CFR 164.308(a)(6).) obtain satisfactory assurances to protect ePHI
        (164.314(a)); HITECH Act of 2009, a BA's disclosure, handling and use of PHI must
        comply with HIPAA Security Rule and HIPAA Privacy Rule mandates. Industry best
        practices and guidelines regarding Business Associates, Business Associate
        Agreements. Deposition February 2017.

    •    (D) McDermott v. Children’s Hospital of Philadelphia
    In the State of Pennsylvania, County of Philadelphia, Case December 2014 term, NO.
    003103. Declaration 2016. Opinions regarding alleged $9.8 million in damages as future
    medical expenses covered generally under insurance and specifically under ACA plans,
    Medicaid and Medicaid waivers and under what conditions they would be covered.
    Review deposition testimony of opposing counsel’s healthcare economist, medical
    experts and consider Affordable Care Act and the policies of insurance available under
    the ACA through the New Jersey or Pennsylvania Insurance Exchanges, Medicaid
    expansion, Federal Poverty Level (FPL) calculations, as well as dual eligible Medicare
    and Medicaid post age 65, Medicaid under a §1915(c) of the Social Security Act, Home
    and Community-Based Services Waiver Medicare-Medicaid Coordinated Plan (MMCP),
    Minimum Essential Coverage (MEC) and Essential Health Benefits (EHB), analysis as
    described in New Jersey Law (case venue is Pennsylvania, at the time of this update the
    court has determined it will be heard under New Jersey Law). Evaluate metal plan
    coverage by actuarial value, and cost sharing subsidies to estimate maximum out of



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    pocket for lifetime of patient. Compare Life Care plans and prescribed medical services
    to those covered in State Benchmark Plans. Determine applicability of Prohibition of
    Preexisting Condition Exclusions (45 CFR § 147.108) and disabilities. Discuss impact of
    ACA on companion laws and standards that cover disabled individuals and workplace
    accommodations for essential job functions, such as Rights and Responsibilities under
    Section 504 and the Americans with Disabilities Act (ADA) and the Olmstead Plan
    (including duties of ‘Covered Entities’ aka “HIPAA Covered Entities” which means,
    health care providers, payors and others). Section 1557 of the Patient Protection and
    Affordable Care Act (ACA), regulations regarding people with disabilities with respect to
    available benefits. Section 1557 is intended to “…ensure that an individual is not
    excluded from participating in, denied benefits because of, or subjected to discrimination
    as prohibited under Section 504 of the Rehabilitation Act of 1973 (disability).


    •    (P) Graewingholt et al v St. Josephs’ Health System
        Judicial Council Coordinated Proceeding No. 4716 Master Class Action Complaint in
        Superior Court of the State of California, County of Orange - class action before
        Honorable Kim G. Dunning, 8 Dep’t CX 104; filed conditionally under seal per CRC
        2.551 class action litigation related to HIPAA privacy and security breach involving $8
        billion health system, disclosures under HIPAA Privacy and Security, California
        Confidentiality of Medical Information Act (CA Civil Code §56 et seq.) Opinions: laws,
        best practices and procedures for privacy and security, duty to keep records protected,
        ICD-9, DRG, CPT coding, and pricing, and economic impact. Third party FOIA
        discovery with CMS, OIG, OCR, related contractors, ARRA HITECH Act and
        Meaningful Use attestations and payments. Review of 31,000 patient records for CMIA
        medical data stored in Meditech, including diagnosis codes, problem lists, lab data,
        BMI and other HIPAA PHI. Statutes and best practices including:
             •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
                 (subsections),
             •   45 CFR §164.410 (subsections), notification by a business associate
             •   45 CFR §164.502 (subsections), Uses and disclosures of protected health



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                 information
             •   45 CFR 164.512 - Uses and disclosures for which an authorization or
                 opportunity to agree or object is not required, especially § 164.512(j)(1) Uses
                 and disclosures to avert a serious threat to health or safety and §
                 164.512(j)(2-4) Use or disclosure not permitted.
             •   45 CFR §170.314 (subsections); electronic health record certification criteria
                 (Meaningful Use)
             •   31 U.S.C. § 3729. (a) False Claims Act;
             •   California Confidentiality of Medical Information Act (CA Civil Code §56 et
                 seq.)
             •   ARRA HITECH Act reporting procedures and documentation, attestations and
                 stimulus funds eligibility based on evaluation of over 33 measures,
                 information safeguards, operating procedures. Expert Report 2015.

             •   Cost expenditures based on HITECH Act Final Rule, HIPAA Final Rule in
                 support of counsel’s damages theories.


    •    (D) Confidential Plaintiff v. Pasadena School District
        BC 457 096 Superior Court of the State of California for the County of Los Angeles.
        HIPAA privacy and security, disclosures under HIPAA Privacy and Security.
        Opinions: laws, best practices and procedures for privacy and security, duty to keep
        records protected, whether there is a duty to disclose records. Relevant statutes and best
        practices include: 45 CFR 164.512 - Uses and disclosures for which an authorization or
        opportunity to agree or object is not required, especially § 164.512(j)(1) Uses and
        disclosures to avert a serious threat to health or safety and § 164.512(j) (2-4) Use or
        disclosure not permitted (Tarrasoff standard). Deposition, 2015.




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     •   (P) R.D., vs. Providence Health Services et al,

    14-2-33747-7 SEA in The Superior Court of the State of Washington in and for the
    County of King – HIPAA privacy and security breach involving alleged unauthorized
    breach of HIV diagnosis at multi-billion-dollar health system, disclosures under HIPAA
    Privacy and Security. Examine EPIC EMR and Onbase electronic health record
    Meaningful Use compliance according to industry best practices and guidelines.
    Opinions: laws, best practices and procedures for privacy and security, duty to keep
    records protected, related contractors, ARRA HITECH Act and Meaningful Use
    attestations and security best practices. Potential citations of statutes and cases including:
           •   HIPAA Privacy and Security (45 CFR §162.1002 45 CFR §164.308
               (subsections)),
           •   45 CFR §164.410 (subsections), notification by a business associate
           •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
               information
           •   45 CFR §170.314 (subsections); electronic health record certification criteria
               (Meaningful Use)
           •   31 U.S.C. § 3729. (a) False Claims Act;
           •   ARRA HITECH Act reporting procedures and documentation, attestations and
               stimulus funds eligibility based on evaluation of over 33 measures,
               information safeguards, operating procedures.
           •   Joint Commission standards for healthcare staffing firms, Medicare and
               Medicaid eligibility Conditions of Participation (CoPs) or Conditions for
               Coverage (CfCs)
           •   Wash. Admin. Code § 246-455-080 Security and Release of Reported
               Hospital Patient Discharge Data




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                      (2) … security and system safeguards to prevent and detect unauthorized
                      access, modification, or manipulation of individually identifiable health
                      information. Accordingly, the safeguards will include:
                               (a) Documented formal procedures for handling the information;
                               (b) Physical safeguards to protect computer systems and other
                               pertinent equipment from intrusion;
                               (c) Processes to protect, control and audit access to the
                               information;
                               (d) Processes to protect the information from unauthorized access
                               or disclosure when it is transmitted over communication networks;
                               (e) Processes to protect the information when it is physically
                               moved from one location to another;
                               (f) Processes to ensure the information is encrypted when:
                               (i) It resides in an area that is readily accessible by individuals who
                               are not authorized to access the information (e.g., shared network
                               drives or outside the agency data centers);
                               (ii) It is stored in a format that is easily accessible by individuals
                               who are not authorized to access the information (e.g., text files
                               and spreadsheets);
                      o Wash. Rev. Code § 70.02.170 Civil remedies – Declaration 2016.


    •     (D) Confidential Plaintiff (Jane Doe) v. Brigham and Women’s Hospital.
        C.A. No. 2014-0007-B Suffolk Superior Court, Massachusetts. Evaluate whether best
        practices in HIPAA Privacy and Security were used to prevent HIPAA privacy breach.
        Opinions: laws, best practices and procedures for privacy and security, duty to keep
        records protected. Third party FOIA discovery with CMS, OIG, OCR, related
        contractors, ARRA HITECH Act and Meaningful Use attestations patient portal
        security best practices. Potential citations of statutes and cases including:
           •   Massachusetts State Statute: Standards for the Protection of Personal




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             Information of Residents of the Commonwealth, as set forth in M.G.L. c. 93H
             and 201 C.M.R. 17.00, et seq HIPAA Privacy and Security (45 CFR §162.1002
             45 CFR §164.308 (subsections)),
         •   45 CFR §164.502 (subsections), Uses and disclosures of protected health
             information
         •   45 CFR §170.314 (subsections); electronic health record certification criteria
             (Meaningful Use)
         •   Declaration 2016


     •   (P) Jane Doe vs United Medical Center and Innovative Staffing Solutions. Case
         No. 2015 CA 003716 B in Superior Court for the District of Columbia. Opinions
         regarding industry best practices and guidelines for health care providers and the
         Certification Review Process / Health Care Staffing Services Certification
         Personnel File Review. Joint Commission standards for healthcare staffing firms,
         Medicare and Medicaid eligibility Conditions of Participation (CoPs) or Conditions
         for Coverage (CfCs). Declaration 2016.

         1. Current licensure, certification, or registration required by the state, the firm, or
             customer from primary sources
         2. Education and training associated with residency or advanced practice,
             experience, and competency appropriate for assigned responsibilities
         3. Clinical work history/references
         4. Initial and ongoing evaluation of competency
         5. Information on criminal background according to law, regulation, and customer
             requirements
         6. Compliance with applicable health screening and immunization requirements
             established by the firm or customer
         7. Information on sanctions or limitations against an individual’s license is
             reviewed upon hire, and upon reactivation or expiration. For
         8. individuals who are practicing as Licensed Independent Practitioners, in



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             addition to the aforementioned requirements, the firm performs the following
             according to law, regulation, and firm policy: Voluntary and involuntary
             relinquishment of any license or registration is verified and documented
          9. Voluntary and involuntary termination of hospital medical staff membership is
             verified and documented
          10.        Any evidence of an unusual pattern or an excessive number of
             professional liability actions resulting in a final judgment against the applicant
             is investigated and documented
          11.        Documentation that the clinical staff person has received orientation from
             the organization


     •   (P) Jessica Umstead, Plaintiff v. Mercy Hospital, Cedar Rapids Iowa
    In the Iowa District Court in and for Linn County. No. LACV 086191. Declaration 2017.
    Opinions – whether Mercy Hospital, Cedar Rapids (“Mercy”) is a HIPAA Covered Entity
    (“CE”) and is subject to Federal and state regulations, including the HIPAA Privacy and
    Security Rules and the ARRA HITECH Act and Administrative Safeguards, Physical
    Safeguards, Technical Safeguards, Documented Organizational Policies, Procedures,
    whether Workforce member of a CE, has duties under the both HIPAA and the HITECH
    Act Safeguards, CE policies and training protocols, corrective actions, information access
    controls, and supervision of its workforce. Patients reasonable expectation that their
    sensitive Protected Health Information (“PHI”) will be kept private, damages that are
    commonly awarded to patients whose PHI accessed or are released without authorization,
    Mercy’s policies and procedures are in direct conflict with statutes, industry best
    practices and guidelines to protect PHI. Whether Mercy was met standards mandated by
    Behavioral Health Unit. 42 CFR Part 2 and Iowa Code 228 which provides specific
    protection from disclosure of mental health information and requires that upon disclosure,
    the patient is notified that an unauthorized disclosure of mental health information is
    unlawful, and that civil damages and criminal penalties may be applicable to the
    unauthorized disclosure of mental health information, corrective action including




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    Workforce member sanctions. See § 164.308(a)(1)(ii)(A) ) and SANCTION POLICY §
    164.308(a)(1)(ii)(C). Violation of the Minimum Necessary Standard. (See 42 CFR
    164.502(b)); Failure to detect, prevent and correct security violations. §164.308(a)(1),
    2013 HIPAA Omnibus Final Rule, Access Control Standard provided for in §
    164.312(a)(1) by failing to ensure access controls only provided the minimum necessary
    access. Whether Electronic Health Record system was not configured to perform an
    Automatic Logoff per §164.312(a)(2)(iii)) duty to mitigate harm but failed to do so. (See
    45 C.F.R. § 164.402 (Subpart D) and whether there was a violation of Iowa Code Section
    22.7 regarding confidentiality of medical records and Iowa Code 228 regarding
    protection from disclosure of mental health information.
    •   (P) Jacqueline Krouse v. Avera Health and Chris Krouse
    Case 15-3083 State of South Dakota, County of Minnehaha, Second Judicial Circuit.
    Declaration 28th of February 2017, Deposition May 2017. Opinions – whether Avera
    Hospital, Cedar Rapids (“Avera”) is a HIPAA Covered Entity (“CE”) and is subject to
    Federal and state regulations, including the HIPAA Privacy and Security Rules and the
    ARRA HITECH Act and Administrative Safeguards, Physical Safeguards, Technical
    Safeguards, Documented Organizational Policies, Procedures, whether Workforce
    member of a CE, has duties under the both HIPAA and the HITECH Act Safeguards, CE
    policies and training protocols, corrective actions, information access controls, and
    supervision of its workforce. Patients reasonable expectation that their sensitive Protected
    Health Information (“PHI”) will be kept private, damages that are commonly awarded to
    patients whose PHI accessed or are released without authorization, Avera’s policies and
    procedures are in direct conflict with statutes, industry best practices and guidelines to
    protect PHI. Whether Avera was met standards mandated by Behavioral Health Unit. 42
    CFR Part 2 Workforce member sanctions. See § 164.308(a)(1)(ii)(A) ) and SANCTION
    POLICY § 164.308(a)(1)(ii)(C). Violation of the Minimum Necessary Standard. (See 42
    CFR 164.502(b)); Failure to detect, prevent and correct security violations. §
    164.308(a)(1), 2013 HIPAA Omnibus Final Rule, Access Control Standard provided for
    in § 164.312(a)(1) by failing to ensure access controls only provided the minimum




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    necessary access. Whether Electronic Health Record system was not configured to
    perform an Automatic Logoff per §164.312(a)(2)(iii)) duty to mitigate harm but failed to
    do so. (See 45 C.F.R. § 164.402 (Subpart D).


    •   (P) FT v. Children’s Mercy Hospital

    Case No.: 1616-CV01466. Deposition April 2017. Opinions and basis:
    Principles Statutes Industry Best Practices and Guidelines
    1. The HIPAA Breach Notification Rule, 45 CFR §§ 164.400-414, requires HIPAA
        covered entities and their business associates to provide notification following a
        breach of unsecured protected health information.
        a. A breach is, generally, an impermissible use or disclosure under the Privacy Rule
           that compromises the security or privacy of the protected health information. An
           impermissible use or disclosure of protected health information is presumed to be
           a breach unless the covered entity or business associate, as applicable,
           demonstrates that there is a low probability that the protected health information
           has been compromised based on a risk assessment of at least the following factors:
                i. The nature and extent of the protected health information involved,
                    including the types of identifiers and the likelihood of re-identification;
               ii. The unauthorized person who used the protected health information or to
                    whom the disclosure was made;
              iii. Whether the protected health information was actually acquired or viewed;
                    and
               iv. The extent to which the risk to the protected health information has been
                    mitigated.
    2. Provider’s compliance to HIPAA Privacy and Security Rules and the HITECH Act
        related to the breach, including
                    a. Providers’ Security Incident Procedures provided for in §
                          164.308(a)(6) i ii




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                   b. Provider’s methods for conducting a Breach Evaluation regarding
                       access of Plaintiff medical records iii
                   c. Provider’s Response and Reporting results of the Breach Evaluationiv
                       regarding access of Plaintiff’s medical records provided for in §
                       164.308(a)(6)(ii)v
                   d. Provider’s identification of any for failures to follow industry best
                       practices and guidelines to obtain reasonable assurances vi and a
                       Business Associate Agreement from any subcontractors jointly
                       responsible for maintaining any breached system(s).vii viii ix
    3. Prior reports and complaints against Provider regarding improper access to patients’
       medical records;
    4. American Recovery and Reinvestment Act (ARRA) Health Information Technology
       for Economic and Clinical Health Act (HITECH) related issues, including compliance
       with associated federal rules and regulations;
                   a. Provider’s Risk Analysis, Risk Management, x Sanction Policy and
                       Information System Review, and annual updates to the Risk Analysis
                       xi xii xiii
                                     in general for the year prior, the year of, and the year after the
                       breach.
                   b. Provider’s Information Systems Activity Review
                       (§ 164.308(a)(1)(ii)(D)xiv
                   c. Provider’s findings from Risk Analysis, specifically:xv
                              i. What security measures were used to protect ePHI during
                                     transmission?
                             ii. Did the risk analysis identify scenarios that may result in
                                     modification to ePHI by unauthorized sources during
                                     transmission?
                   d. Provider’s audit controls under § 164.312(b) that monitor access of
                       electronic         protected    health    information       (ePHI) xvi including
                       implementation of hardware, software, and/or procedural mechanisms




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                      that record and examine activity in information systems that contain or
                      use electronic protected health informationxvii specifically:
                            i. What audit control mechanisms were reasonable and
                                appropriate to implement so as to record and examine activity
                                in information systems that contain or use ePHI?
                           ii. What are the audit control capabilities of information systems
                                with ePHI?
                          iii. Did the audit controls implemented allow the organization to
                                adhere to policy and procedures developed to comply with the
                                required          implementation             specification           at        §
                                164.308(a)(1)(ii)(D) for Information System Activity Review?
                  e. Access Control Standard § 164.312(a)(1) – enabling authorized users
                      to access the minimum necessary information needed to perform job
                      functions. xviii
                  f. Information Access Management provided for in § 164.308(a)(4)xix
                  g. Person or Entity Authentication provided for in § 164.312(d) xx
                  h. Provider’s compliance with Security Awareness and Training
                      including Security Reminders, Log-in Monitoring provided for in §
                      164.308(a)(5). xxi
                  i. Workforce Security as provided for in § 164.308(a)(3) xxii
                 j. Authorization           and     Supervision         as     provided       for         in   §
                      164.308(a)(3)(ii)(A) xxiii Specifically:
                            i. Are detailed job descriptions used to determine what level of
                                access the person holding the position should have to ePHI?
                           ii. Who has or should have the authority to determine who can
                                access ePHI, e.g., supervisors or managers?
                          iii. Are there similar existing processes used for paper records that
                                could be used as an example for the ePHI?




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                   k. Workforce          Clearance       Procedure        as    provided       for    in   §
                                                xxiv
                       164.308(a)(3)(ii)(B)
                             i. Are there existing procedures for determining that the
                                  appropriate workforce members have access to the necessary
                                  information?
                            ii. Are the procedures used consistently within the organization
                                  when determining access of related workforce job functions?
                   l. Termination Procedures as provided for in § 164.308(a)(3)(ii)(C) xxv
                             i. Do      the    termination       policies      and    procedures      assign
                                  responsibility for removing information system and/or physical
                                  access?
                            ii.   Do the policies and procedures include timely communication
                                  of termination actions to insure that the termination procedures
                                  are appropriately followed?


    5. Documentation of Provider’s policies and procedures demonstrating compliance
       during the calendar year of the breach with Joint Commission Health Care Staffing
       Services Certification (HCSS) xxvi including:
                   a. that the staff person has received orientation from the organization.
                   b. initial and ongoing evaluation of competency
    6. Information technology related issues, including how the electronic health record
       system or supporting systems at rest (i.e. hospitals Longitudinal Medical Record
       System (‘LMR’) or Clinical Data Repository (‘CDR’) and integrated patient portal
       and/or Provider’s medical records storage system(s) work, including security and
       monitoring features, access limitations, and notification procedures regarding
       improper access;
    7. Provider’s knowledge regarding access of Plaintiff’s medical records, including what
       records were accessed, the length of time or number of times they were accessed, what
       information was viewed, and the investigation Provider performed; [Massey




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        deposition stated no actions taken, no follow up with the Police, no mitigation, no
        anti-identity theft offering to Plaintiff]
    8. Provider’s knowledge regarding training that is required or conducted for temporary
        or permanent medical records IT staff, reviewers such as coders and auditors, and
        clinical staff.


    •   (D) Paulette Diaz, et al, vs. MDC Restaurants, LLC et al;
    Case A 701633. Deposition 2016. Department XV class action complaint in the Eighth
    Judicial District Court in and for Clark County, State of Nevada. Served as rebuttal expert
    in a case concerning what constitutes “health insurance,” qualified health insurance plans,
    and those expenses covered generally under insurance and specifically under ACA plans,
    Medicaid and Medicaid waivers and under what conditions they would be covered.
    Apply national perspective to health insurance coverage under The Nevada
    Administrative Code§ 608. and §608.104, Nevada Labor Commissioner's regulations and
    opinions regarding the convolution of the Act, and a review of specific benefits offered
    by an employer of minimum wage workers in comparison to national industry best
    practices and guidelines in respect to the Patient Protection :md Affordable Care Act
    (''ACA"), including Medicaid Expansion in Nevada, Minimum Essential Coverage
    ("MEC"), out-of-pocket limits, and Federal Poverty Level (FPL) guidelines. Areas of
    testimony also included the tenets of cost-sharing subsidies and minimum essential
    coverage (MEC), benchmark plans, generally, as well as within federal laws such as the
    Health Insurance Portability and Accountability Act of 1996 (HIPAA), Employee
    Retirement Income Security Act of 1974 (ERISA) and related issues, including Taft-
    Hartley trusts and Centers for Medicare and Medicaid (CMS).


    •   (D) Natalie Torres v Pocatello Children and Adolescent Clinic, et al.,

    Case CV-2013-1553. Declaration 2015. District Court of Sixth Judicial District of the
    State of Idaho, Bannock County. Expert opinion re: future medical expenses and those
    expenses covered generally under insurance and specifically under ACA plans, Medicaid



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    and Medicaid waivers and under what conditions they would be covered. Review
    deposition testimony of opposing counsel’s healthcare economist, medical experts and
    consider Affordable Care Act and the policies of insurance available under the ACA
    through the Idaho Exchange, as well as Medicaid under a §1915(c) of the Social Security
    Act, Home and Community-Based Services Waiver Medicare-Medicaid Coordinated
    Plan (MMCP), as described in Idaho Law (IDAPA 16.03.17). Determine applicability of
    Prohibition of Preexisting Condition Exclusions (45 CFR § 147.108), Medicare
    Expansion and Health Insurance Exchanges.


    •   (D) Bradley Welding v Franscali and Orthopedic Associates of Northern Illinois
    In the State of Illinois in the Circuit Court of the 17th Judicial Circuit Winnebago
    County, Illinois Case 12 L 323. Expert report 2016. Expert opinion re: accuracy of data
    for future medical expenses including pain management modalities (Ketamine Infusions,
    Continuous Epidural Spinal Infusion, Continuous Spinal Cord Stimulator, Dorsal Root
    Ganglia Stimulator) and supporting medical durable medical equipment (DME) pain
    management device (s). Review deposition testimony of opposing counsel’s healthcare
    economist, medical experts and consider Affordable Care Act and the policies of
    insurance available under the ACA through the Illinois Exchange, Medicaid expansion,
    Federal Poverty Level (FPL) calculations, as well as dual eligible Medicare and Medicaid
    post age 65, Medicaid under a §1915(c) of the Social Security Act, Home and
    Community-Based Services Waiver Medicare-Medicaid Coordinated Plan (MMCP) for
    disabled insureds as described in Illinois Law. Opinion regarding subrogation under the
    Affordable Care Act. Evaluate “metal plan” (bronze, silver, etc.) coverage by actuarial
    value, and cost sharing subsidies to estimate maximum out of pocket for lifetime of
    patient. Condition Exclusions (45 CFR § 147.108).


    •   (P) Giraldo v. Canta and Groceryworks.com et al

    Case CGC-15-544893 Superior Court of California, County of San Francisco. Expert
    report, 2016, trial appearance August 2016. Rebuttal expert regarding whether emergency



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    medical fees including Trauma Activation, ambulance transportation (including mileage,
    supplies, other fees) are reasonable customary and necessary according to industry best
    practices and guidelines. Specifically, evaluate the documentation by an emergency
    response team and whether it supports U.S. Centers for Disease Control (CDC)
    Guidelines for Field Triage of Injured Patients: Recommendations of the National Expert
    Panel on Field Triage, 2011; Federal Interagency Committee on Emergency Medical
    Services (FICEMS), established by Public Law 109-59, and section 10202 (18)
    California Health and Safety Code § 1371.4 a provision of the Knox-Keene Act. Provide
    geographic market analysis of usual customary and reasonable (UCR) fees for
    orthopedic, pain management, medical device (s) and supplies, medication, behavioral
    health, rehabilitation medical expenses; ICD-9 diagnosis, CPT outpatient procedures,
    HCPCS medical supplies, ambulance fee medical coding.

    •   (P) UCLA Medical Center v. Blue Cross Blue Shield

    Arbitration with AAA case no. 722013001112. Expert report, 2015. Pre-arbitration
    expert consultant for mediation with JAMS reference number 1200051271. Provide
    expert opinion on role of Medicare Administrative Contractors (MACs) in providing
    reimbursement rates and the historical pricing guidance and usage of nuclear medicine
    codes. Provide expert opinion on reimbursement for Technical Component (TC) and
    Professional Component (PC) as well as Relative Value Units (RVUs) of diagnostic
    imaging services primarily used for Oncology (Nuclear Medicine, PET-Scan) based on
    specific services by CPT code.


    •   (P) Rhodes v Renown

    CV14-02054 in the Second Judicial District Court of the State of Nevada in and for the
    County of Washoe. Expert report 2015. Patient financial services, Medical coding, usual
    customary and reasonable (UCR) cost of care and documentation of necessity for
    outpatient obstetrics surgical procedure and CPT codes, medical device (s) and supplies.
    Applicable State Statutes include: Uninsured patient discount (NRS 439B.260); Federal




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    statutes and best practices: Fair and Accurate Credit Transactions Act (“FACTA”) Fair
    Credit Reporting Act (FCRA). FACTA §312(a), (FACTA§312(c), FCRA §623(e)(1)),
    FCRA §623(a)(8)); Ability of patients as consumers to dispute information with
    companies that report to credit bureaus; Affordable Care Act ( not for profit hospitals
    required to offer community benefit in exchange for its tax-exempt status2 (see Rev. Rul.
    69-545, 1969-2 C.B. 117.))

    •      (P) John D. Thomson v. HMC Group, Torrance Medical Center

    Et al. CV13 - 03273 D M G United States District Court, Central District of California.
    Expert report and deposition 2015. Expert opinion regarding hospital facility revenues
    for use in cost benefit analysis, damages calculations for surgical suites based on industry
    best practices and statutes associated with damages related to intellectual property rights
    litigation. Evaluation of revenues attributable to surgical suites based on Inpatient
    Prospective Payment System (IPPS) and Outpatient Prospective Payment System (OPPS)
    using defendant provided materials as well as government sources from HHS / CMS.
    Demonstrated expertise in statutory mandates such as Diagnosis Related Groupings
    (DRGs), ICD-9, ICD-10 and CPT codes. Applicable statutes include: Section 1886(d) of
    the Social Security Act and Title Tax Equity and Fiscal Responsibility Act of 1982
    (TEFRA) P.L. 98–21, Approved April 20, 1983, 42: Public Health Part 412, Criteria for
    determining reasonable charges 45 CFR §405.502, 42 CFR 412.2(c)(5) ). § 412.2 “Basis
    of payment” and 42 CFR 412.60 - DRG classification and weighting factors provides the
    method to calculate DRGs.




    2
        “Examples illustrate whether a nonprofit hospital claiming exemption under section 501(c)(3) of
    the Code is operated to serve a public rather than a private interest; Revenue Ruling 56-185
    modified.” – IRS.gov/pub/irs-tege/rr69-545.pdf (see Rev. Rul. 69-545, 1969-2 C.B. 117.)2




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    •   (D) Joann Hilton v. USA Logistics Carriers, LLC and Jose Juan Soto-Estrada

    Case No. C879214-J, in the 430th District Court of Hidalgo County, Texas. Expert
    report and deposition 2014. Usual customary and reasonable fees, coding and billing and
    resulting charges including CPT, MRI, CPT, ED, ambulance, emergency room (including
    explanation to court of Level 1, Level 2, Level 3, Level 4, Level 5 ED visits), trauma
    activation fees, cost of ER and OR per minute, spinal fusion procedure (orthopedic
    surgical), medical device (s) including surgical screws, surgical screws, supplies,
    chiropractic, pharmacy (NDC codes for medication), pain management, physical therapy,
    and other procedures; duty to mitigate costs, ambulance and non-emergency
    transportation costs, three-day payment rule 42 CFR 412.2(c)(5); evaluate potential
    merits for U.S.C. § 3729. ICD-9, CPT, DRG, HCPCS and hospital revenue coding, duty
    to mitigate damages under Texas statutes, Section 1886(d) of the Social Security Act and
    Title 42: Public Health Part 412—Prospective Payment Systems for Inpatient Hospital
    Services; subrogation issues.

    •   (D) Raul Martinez v. Lee Ill Young

    BC489656, Superior Court of the State of California for the County of Los Angeles,
    Central District. Expert report 2015. Determination of Usual Customary and Reasonable
    (UCR) cost of care medical bills including spinal fusion surgery for orthopedics, and
    diagnostic imaging medical specialties. Evaluate codes and episodic groupings (DRGs),
    ICD-9, CPT for inpatient days, ambulatory procedures, rehabilitation, surgical
    procedures, supplies and device costs, Section 1886(d) of the Social Security Act and
    Title 42: Public Health Part 412—Prospective Payment Systems for Inpatient Hospital
    Services. Patient’s duty to mitigate medical costs.

    •   (D) Jorge Uribe v. City of Maywood and Andrew Serrata

    J.S.I.D. File 10-0416 L.A.S.D. URN 010-00058?3199-055 Los Angeles County District
    Office Bureau of Fraud and Corruption Prosecutions Justice System Integrity Division.
    Determination of Usual Customary and Reasonable (UCR) cost of care for approximately
    $500,000 in medical bills including surgery for internal injuries caused by gunshot



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    wounds – trauma activation fees, ambulance transportation, cardiology, orthopedics,
    pathology / lab tests and interpretations, and diagnostic imaging medical specialties
    including CT and MRI, room charges, operating room minutes, medications, anesthesia,
    evaluation and management (E&M). Evaluate codes and episodic groupings (DRGs) for
    inpatient days, ambulatory procedures, rehabilitation, surgical procedures, supplies and
    device costs, duty to mitigate damages. Relevant statutes, industry standards and best
    practice: Section 1886(d) of the Social Security Act and Title 42: Public Health Part
    412—Inpatient Prospective Payment System (IPPS) for Hospital Services and customary
    rehabilitation charges and reimbursement.



    •   (D) Billrite v Vinay M. Reddy, MD, Spine & Nerve Diagnostic Center.

    34-2014-00166608 SUPERIOR COURT OF THE STATE OF CALIFORNIA COUNTY
    OF SACRAMENTO. Expert report August 2016. Deposition February 2017. Provide
    opinion regarding industry best practices and guidelines for outsourced medical billing
    for pain management, electromyogram (“EMG”) which are used for among other medical
    applications, advanced pain management, diagnostics such as Nerve Conduction Studies
    (NCS), Epidural Steroid Injection (ESI) and Urine Toxicology Studies for a health care
    provider and whether medical coding and billing was being performed in compliance
    with industry best practices and guidelines. Evaluate whether proper coding in
    compliance with California Workers’ Compensation Reform Senate Bill 863 (SB 863)
    and the National Correct Coding Initiative (NCCI) which provides for guidelines on
    proper bundling of services (and, flags incorrectly unbundled services which may be due
    to fraud or up coding). Evaluate claims under California Workers’ Compensation and
    California SB 863 which standardized Workers’ Compensation based on Medicare billing
    rules; Medical Treatment Utilization Schedule (MTUS) which focus on reducing costs
    and utilization for procedures including chronic pain treatment, neck / upper back
    procedures, elbow disorders, forearm, wrist, hand, low back, knee procedures, cost of
    surgical screws and medical device (s).




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    •   (D) Rose v. Herfy's and Lee

    NO. 15-2-14145-7 SEA Superior Court of the State of Washington for King County.
    Expert report and deposition September 2016. Evaluate over $1.5 million in medical bills
    including orthopedic procedures, medical device (s) and supplies rehabilitation and
    skilled nursing billings. Perform regional analysis for Seattle metropolitan area on usual
    customary and reasonable charges from other providers; prepare declaration and expert
    report December 2016, Deposition January 2016. Opinions, basis: OPPS and CPT, APC
    codes, IPPS, DRG inpatient procedures, skilled nursing billing, rehabilitation, orthopedic
    supply, national and regional pricing; customary charge rates when there is a collateral
    source rule. Opine on the usual customary and reasonable cost of care in the Seattle
    market regarding over $1.2 million in medical bills. Billings spanned several years and
    geographic locations. Billings were for several medical specialties including inpatient,
    outpatient, skilled nursing and rehabilitation. Over 4,400 pages of documentation on
    medical supplies, rehabilitation after hospital discharges, etc. including:

        1. Ambulance transportation                               11. Inpatient payment rules
        2. Ambulatory Surgery Center                              12. Medications including AWP and
           (ASC) payment models including                             PBM fees (Tizanidine / muscle
           APCs                                                       relaxant, enoxaparin, pravastatin,
        3. Anesthesiology including                                   insulin,
           anesthesia monitoring time                             13. Operating room time and charges
        4. Blood gas procedures                                   14. Orthopedic surgery and physician
                                                                      bills
        5. Cardiology
        6. CT Scans                                               15. Outpatient payment rules and
                                                                      physician fee schedules
        7. Emergency medicine
                                                                  16. Pain management and pain
        8. Evaluation and Management                                  specific medications and
           (E&M) physician encounters                                 procedures (Ketamine, Morphine,
        9. Home care / home care self-care                            Oxycodone, spinal stimulators)
           education                                              17. Pathology including blood and
        10. Injections                                                other laboratory tests




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        18. Physical Therapy                                      22. Trauma activation fees
        19. Recovery / rehab room time and                        23. Vascular procedures
            charges
                                                                  24. Wheelchairs and other medical
        20. Surgical room time and charges                            supplies
        21. Surgical screws related to                            25. X-Rays
            orthopedic surgery



    •   (D) Derkack v. Boyd

    NO. 15-2-18391-5 KNT SUPERIOR COURT OF THE STATE OF WASHINGTON
    FOR KING COUNTY. Expert declaration September 29th, 2016. Evaluate over $1.5
    million in medical bills including orthopedic procedures, medical device (s) and supplies
    rehabilitation and skilled nursing billings. Perform regional analysis for Seattle
    metropolitan area on usual customary and reasonable charges from other providers;
    prepare declaration and expert report December 2016, Deposition January 2016.
    Opinions, basis: OPPS and CPT, APC codes, IPPS, DRG inpatient procedures, skilled
    nursing billing, rehabilitation, orthopedic supply, national and regional pricing;
    customary charge rates when there is a collateral source rule. Opine on the usual
    customary and reasonable cost of care in the Seattle market regarding over $1.2 million in
    medical bills. Billings spanned several years and geographic locations. Billings were for
    several medical specialties including inpatient, outpatient, skilled nursing and
    rehabilitation. Over 4,400 pages of documentation on medical supplies, rehabilitation
    after hospital discharges, etc. including:

        1. Ambulance transportation                               4. Blood gas procedures

        2. Ambulatory Surgery Center                              5. Cardiology
           (ASC) payment models including                         6. CT Scans
           APCs
                                                                  7. Emergency medicine evaluation
        3. Anesthesiology including                                    and management (E&M)
           anesthesia monitoring time                                  physician encounters including



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          Level I (CPT 99281) Level II                           14. Orthopedic surgery and physician
          (CPT 99282), Level III (CPT                                 bills
          99283) Level IV (CPT 99284)                            15. Outpatient payment rules and
          Level V (CPT 99285) and
                                                                      physician fee schedules
          correlating Ambulatory
                                                                 16. Pain management and pain
          Procedure Codes (APCs) based
                                                                      specific medications and
          on possible interventions and
                                                                      procedures (Ketamine, Morphine,
          potential symptoms / patient
                                                                      Oxycodone, spinal stimulators)
          conditions.
                                                                 17. Pathology including blood and
       8. Evaluation and Management
                                                                      other laboratory tests
          (E&M) physician encounters post
          admission, post discharge                              18. Physical Therapy

       9. Home care / home care self-care                        19. Recovery / rehab room time and
          education                                                   charges

       10. Injections                                            20. Surgical room time and charges

       11. Inpatient payment rules                               21. Surgical screws related to
                                                                      orthopedic surgery
       12. Medications including AWP and
          PBM fees (Tizanidine / muscle                          22. Trauma activation fees
          relaxant, enoxaparin, pravastatin,                     23. Vascular procedures
          insulin,
                                                                 24. Wheelchairs and other medical
       13. Operating room time and charges                            supplies

                                                                 25. X-Rays




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    •   (D) Tamie Lobin v. J.B. Hunt Transport, Inc. and Roosevelt Allen.
    AAA Arbitration No: 01-16-0000-0480. Expert report March 13, 2017. Deposition
    March 13, 2017. Arbitration August 2017. Review the medical billing, medical and other
    relevant documents and provide an opinion based on the usual customary and reasonable
    charges for the bills provided to me for Plaintiff’s past care in 2014 – 2017 in Dallas,
    Texas; opinion of the maximum out of pocket cost (meaning the costs borne by the
    Plaintiff rather than insurance) of care for the Plaintiff if receiving medical benefits as a
    disabled person from Texas Medicaid, Medicaid Waivers and programs for those with
    disabilities, and an opinion of the maximum out of pocket cost of care for the Plaintiff if
    receiving medical benefits from an Affordable Care Act (ACA) qualified health plan, or a
    conforming Taft-Hartley labor management trust fund “grandfathered” health plan under
    the ACA. Based on the life care plan from Plaintiff, provide an opinion based on the
    criteria above regarding future costs of care, including Medicare coverage on and after
    age 65, and conduct a market study in Dallas, Texas to confirm with reasonable certainty
    whether Plaintiff has access to covered benefits for her medical costs, and whether
    contracted health care providers are easily accessible within a 25-mile radius of his home
    who offer care for his insured benefits. Basis included Inpatient Prospective Payment
    Rule (IPPS), Outpatient Prospective Payment Rule, DRG, CPT code values, Medicare
    Geographic Adjustment Factors (GAF), Medicaid reimbursement and claims, clinical
    documentation in support of claims.




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    •     (P) Medical Acquisition Company, Inc. v. Southwest Law Center et al
    Case number BC585918 Superior Court of the State of California, County of Los
    Angeles. Deposition July 2015. Review the medical billing, medical and other relevant
    documents and provide an opinion based on the usual customary and reasonable charges
    for the bills provided to me for Plaintiff’s past care in in the Los Angeles, Orange
    County, and San Francisco Core Based Statistical Areas (CBSA) markets; (meaning the
    costs that should be borne by the Plaintiff rather than insurance). Counsel provided
    specific instructions: “…in the Katiuzhinsky, case, the court dealt with the uninsured
    plaintiff treated on liens. There the appellate court refused to speculate about factoring or
    future lien write downs and found that the plaintiff was not prevented from recovering the
    full amount of bills as long as they were legitimately incurred and plaintiff remained
    responsible for the full amount.” Counsel also explained that, “… in the Bermudez, case,
    the court again dealt with the plaintiff with no medical insurance. There it found the
    billed amounts relevant and admissible in the uninsured context, subject to plaintiff’s
    burden of proof that they are reasonable and customary.” Applied a methodology that
    reviews charges, which is defined as “The dollar amounts a provider sets, or ‘bills’ for
    services rendered ...” Basis included, Outpatient Prospective Payment Rule, DRG, CPT
    code values, Medicare Geographic Adjustment Factors (GAF), whether medical
    procedures were unbundled using the National Correct Coding Initiative (NCCI) which
    uses software algorithms to compare combinations of medical procedure CPT billing
    codes, place of service, date of service to identify disallowable unbundling, Medically
    Necessary procedures (basis NCCI) which can be employed using software algorithms to
    compare combinations of medical procedure CPT billing codes and diagnosis codes to
    identify those medical procedures that may be un-necessary.




    i
        The Security Final Rule defines “security incident” in §164.304 as “the attempted or



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    successful unauthorized access, use, disclosure, modification, or destruction of
    information or interference with system operations in an information system.

    ii
          (a) A covered entity must, in accordance with § 164.306:
     (6)(i) Standard: Security incident procedures. Implement policies and procedures to
    address security incidents.
     (ii) Implementation specification: Response and Reporting (Required).
    Identify and respond to suspected or known security incidents; mitigate, to the extent
    practicable, harmful effects of security incidents that are known to the covered entity; and
    document security incidents and their outcomes.

    iii
          The HIPAA Final Rule also known as “HIPAA Omnibus Rule” provides Covered
    Entities make a determination of whether PHI was “compromised” based on a four factor
    breach evaluation (See 45 CFR Parts 160 and 164 modifications to the HIPAA Privacy,
    Security, Enforcement, and Breach Notification Rules Under the Health Information
    Technology for Economic and Clinical Health Act and the Genetic Information
    Nondiscrimination Act; Other Modifications to the HIPAA Rules; Business Associate
    and Business Associate Agreement published January 25, 2013 and effective March 26,
    2013).

    iv
          The HIPAA Security Rule requires covered entities to implement policies and
    procedures to address security incidents. This includes (i) identifying and responding to
    suspected or known security incidents, (ii) mitigating, to the extent practicable, harmful
    effects of security incidents that are known to the covered entity, and (iii) documenting
    security incidents and their outcomes. (See 45 CFR 164.308(a)(6).)

    v
          “Identify and respond to suspected or known security incidents; mitigate, to the extent
    practicable, harmful effects of security incidents that are known to the covered entity; and
    document security incidents and their outcomes.”

    vi
          § 164.308(b)(4) provides, “Document the satisfactory assurances required by paragraph


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    (b)(1) [the Business Associate Contracts and Other Arrangements] of this section through
    a written contract or other arrangement with the business associate that meets the
    applicable requirements of §164.314(a) [the Organizational Requirements].


    vii
           Since the April 14, 2003 HIPAA Privacy Rule deadline, Covered Entities have been
    required to obtain satisfactory assurances (164.314(a)) that the business associate will
    appropriately safeguard health information. A covered entity that violates satisfactory
    assurances will be in non-compliance with the standards and requirements (164.314(a)).

    viii
           The HIPAA Omnibus Rule makes a Business Associate’s subcontractor a “Business
    Associate.” Prior to the Rule, a business associate was responsible for getting “reasonable
    assurances” from its subcontractors that the subcontractors would comply with the
    provisions of the applicable business associate agreement. After the Rule, a Business
    Associate must enter into a Business Associate Agreement with each of its subcontractors.
    Because the subcontractor is a “Business Associate,” the subcontractor must also comply
    with the Security Rule and some provisions of the Privacy Rule, including entering into
    a business associate agreement with each of its subcontractors.


    Importantly, the Final Rule reaffirms that regardless of whether a Business Associate
    Agreement exists, one is deemed to be a business associate from the moment that person
    or entity creates, receives, maintains, or transmits PHI on behalf of a covered entity or
    another business associate.


    45 CFR 160.103(4)(i) – Definitions provides that an entity including subcontractor for a
    CE is considered a HIPAA Business Associate (BA) if it “…creates, receives, maintains,
    or transmits [PHI] for a function or activity regulated by [HIPAA]” on behalf of a CE.

    ix
          The BAA must meet certain standards. 45 CFR 164.504 (e)(1)(i) Standard: Business
    associate contracts provides:
    (i) The [BAA] contract or other arrangement required by§ 164.502(e)(2) must meet the


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    requirements of paragraph (e)(2), (e)(3), or (e)(5) of this section, as applicable.

    x
         § 164.308(a)(1)(ii)(B) Risk Management is a required implementation specification. It
    requires an organization to make decisions about how to address security risks and
    vulnerabilities. The Risk Management implementation specification states that covered
    entities must: “Implement security measures sufficient to reduce risks and vulnerabilities
    to a reasonable and appropriate level to comply with §164.306(a).”

    xi
           The Office for Civil Rights (OCR) of the Department of Health and Human
    Services (HHS) issued on May 7, 2010, Security Rule Draft Guidance on Risk Analysis.
    This was the first in a “series of guidance documents [that] will assist organizations in
    identifying and implementing the most effective and appropriate administrative, physical,
    and technical safeguards to protect the confidentiality, integrity, and availability of
    electronic protected health information. The materials will be updated annually, as
    appropriate.”

    xii
           The required risk analysis and risk management processes at §§ 164.308(a)(1)(ii)(A) &
    (B) are designed to provide a foundation to guide and assist the Covered Entity to make
    informed decisions regarding which security measures to implement

    xiii
           § 164.308(a)(1)(ii)(A) The Risk Analysis implementation specification requires
    covered entities to: “Conduct an accurate and thorough assessment of the potential risks
    and vulnerabilities to the confidentiality, integrity, and availability of electronic protected
    health information held by the covered entity.” Suggested best practices include
    examining: “What are the human, natural, and environmental threats to information
    systems that contain EPHI? “

    xiv
           § 164.308(a)(1)(ii)(D) The Security Management Process standard also includes the
    Information System Activity Review implementation specification. This required
    implementation specification states that covered entities must:
    “Implement procedures to regularly review records of information system activity, such


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    as audit logs, access reports, and security incident tracking reports.”
    The information system activity review enables covered entities to determine if any EPHI
    is used or disclosed in an inappropriate manner.

    xv
          § 164.312(e)(2)(i) provides, “Implement security measures to ensure that electronically
    transmitted electronic protected health information is not improperly modified without
    detection until disposed of.”

    xvi
            § 164.312(b) provides that a covered entity must consider its risk analysis and
    organizational factors, such as current technical infrastructure, hardware and software
    security capabilities, to determine reasonable and appropriate audit controls for
    information systems that contain or use EPHI.

    xvii
            § 164.312(b) provides “Implement hardware, software, and/or procedural mechanisms
    that record and examine activity in information systems that contain or use electronic
    protected health information.”

    xviii
            The Security Rule defines access in § 164.304 as “the ability or the means necessary
    to read, write, modify, or communicate data/information or otherwise use any system
    resource. (This definition applies to “access” as used in this subpart, not as used in subpart
    E of this part [the HIPAA Privacy Rule]).” Access controls provide users with rights
    and/or privileges to access and perform functions using information systems,
    applications, programs, or files. Access controls should enable authorized users to access
    the minimum necessary information needed to perform job functions. Rights and/or
    privileges should be granted to authorized users based on a set of access rules that the
    covered entity is required to implement as part of § 164.308(a)(4), the Information Access
    Management standard under the Administrative Safeguards section of the Rule.

    xix
           “Implement policies and procedures for authorizing access to electronic protected
    health information that are consistent with the applicable requirements of subpart E of
    this part [the Privacy Rule].” Restricting access to only those persons and entities with a


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    need for access is a basic tenet of security. By implementing this standard, the risk of
    inappropriate disclosure, alteration, or destruction of EPHI is minimized. Covered entities
    must determine those persons and/or entities that need access to EPHI within their
    environment.

    xx
          “Implement procedures to verify that a person or entity seeking access to electronic
    protected health information is the one claimed.”

    xxi
           § 164.308(a)(5) provides that these are industry best practices.
    xxii
            Covered Entities must: “Implement policies and procedures to ensure that all members
    of its workforce have appropriate access to electronic protected health information, as
    provided under [the Information Access Management standard], and to prevent those
    workforce members who do not have access under [the Information Access Management
    standard] from obtaining access to electronic protected health information.”

    xxiii
            Where the Authorization and/or Supervision implementation specification is a
    reasonable and appropriate safeguard for a covered entity, the covered entity must:
    “Implement procedures for the authorization and/or supervision of workforce members
    who work with electronic protected health information or in locations where it might be
    accessed.” Authorization is the process of determining whether a particular user (or a
    computer system) has the right to carry out a certain activity, such as reading a file or
    running a program. Implementation of this addressable implementation specification will
    vary among covered entities, depending upon the size and complexity of the workforce,
    and the information systems that contain EPHI.”

    xxiv
            Covered entities need to address whether all members of the workforce with
    authorized access to EPHI receive appropriate clearances. Where the Workforce
    Clearance Procedure implementation specification is a reasonable and appropriate
    safeguard for a covered entity, the covered entity must:
    “Implement procedures to determine that the access of a workforce member to electronic



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    protected health information is appropriate.”
    In other words, the clearance process must establish the procedures to verify that a
    workforce member does in fact have the appropriate access for their job function. A
    covered entity may choose to perform this type of screening procedure separate from or
    as a part of the authorization and/or supervision procedure.

    xxv
          Where the Termination Procedures implementation specification is a reasonable and
    appropriate safeguard for a covered entity, the covered entity must:
    “Implement procedures for terminating access to electronic protected health information
    when the employment of a workforce member ends or as required by determinations made
    as specified in paragraph (a)(3)(ii)(B) [the Workforce Clearance Procedure] of this
    section.”
    Termination procedures must be implemented to remove access privileges when an
    employee, contractor, or other individual previously entitled to access information no
    longer has these privileges. Whether the employee leaves the organization voluntarily or
    involuntarily, procedures to terminate access must be in place.

    xxvi Joint Commission, a private group that inspects and accredits nearly 90 percent of the


    nation's hospitals published The Joint Commission Certification Review Process Guide :
    Staffing Services, 2011 – jointcommission.org The process is voluntary but is considered
    an important benchmark of quality and safety for insurers and patients. In order for a
    health care organization to participate in and receive payment from the Medicare or
    Medicaid programs, it must meet the eligibility requirements for program participation,
    including a certification of compliance with the Conditions of Participation (CoPs) or
    Conditions for Coverage (CfCs), which are set forth in federal regulations. The
    certification is based on a survey conducted by a state agency on behalf of the federal
    government, the Centers for Medicare & Medicaid Services (CMS) or a national
    accrediting organization, such as The Joint Commission, that has been approved by CMS
    as having standards and a survey process that meets or exceeds Medicare’s requirements.
    Health care organizations that achieve accreditation through a Joint Commission deemed


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    status survey are determined to meet or exceed Medicare and Medicaid requirements.
    Source:
    https://www.jointcommission.org/facts_about_federal_deemed_status_and_state_re
    cognition/




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